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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------------X
                                                                    :
In re:                                                              : Chapter 11
                                                                    :
96 WYTHE ACQUISITION LLC,                                           : Case No. 21-22108 (RDD)
                                                                    :
                                    Debtor.                         :
                                                                    :
------------------------------------------------------------------ X

                          LENDER’S OBJECTION TO MOTION TO
                         QUASH RULE 2004 SUBPOENAS [ECF NO. 90]

        Benefit Street Partners Realty Operating Partnership, L.P.1 (“Benefit Street” or “Lender”)

objects to The Williamsburg Hotel BK LLC’s (“Hotel Manager”) motion to quash Benefit

Street’s Rule 2004 subpoenas [ECF No. 90] (“Motion”).

                                    PRELIMINARY STATEMENT

                 1.       The Court is already familiar with Benefit Street’s efforts to take discovery

relating to the PPP loan. It has seen the Debtor’s efforts, at every stage, to resist producing

responsive documents.         At first, the Debtor sought to quash all discovery relating to the

receivership in toto. In a series of discovery conferences, the Court ordered the Debtor to produce




1
 Benefit Street is a wholly owned subsidiary of Franklin Resources, Inc. that, together with various subsidiaries,
operates as Franklin Templeton.



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bank statements. When those revealed suspicious transfers, the Court required the Debtor to

explain them. When the Debtor provided only partial explanations, the Court required the loan

applications be produced. When the Debtor claimed it could not provide a list of the employees

on which the PPP loan application had been based, the Court authorized Rule 2004 discovery of

the Hotel Manager.

               2.      Now, the Hotel Manager – which is controlled by the very same people who

control the Debtor – objects to that Rule 2004 discovery in toto. Trying to continue the runaround

that the Debtor began, the Hotel Manager argues that Benefit Street’s Rule 2004 subpoenas (one

for documents and one for a 30(b)(6) deposition), should be quashed because (i) the Debtor has

already produced information not sought by the subpoenas in this case and the foreclosure action,

(ii) the PPP and EIDL loans are obligations of the Hotel Manager, not the Debtor, and therefore

have no bearing on this case, and (iii) Rule 2004 is limited to discovery related to the Debtor, not

third parties such as the Hotel Manager. Like those before them, these arguments have no merit.

               3.      The subpoenas seek discovery that directly relates the operations and

conduct of the Hotel Manager, not the Debtor. They were authorized by the Court specifically

because the Debtor claimed it had produced all the documents it had. It is irrelevant that the PPP

loan was made to the Hotel Manager and is not a direct liability of the estate. The Hotel Manager’s

conduct in connection with the PPP loan bears directly on its fitness to continue as the Hotel’s

manager and to collect and hold Hotel revenues (and Benefit Street’s cash collateral) outside the

estate.

               4.      More importantly, Live Oak Bank has actually responded to Benefit Street’s

subpoena and the documents it has produced underscore the relevance of the discovery. Live

Oak’s production includes documents reflecting that the Hotel Manager (through the Debtor’s




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principals) made material misrepresentations to the bank in the PPP loan application, submitted

tax returns in which the Hotel Manager appears to have claimed the Hotel’s revenues as its own,

diverted the PPP loan proceeds from the Hotel’s operating accounts, and obtained forgiveness of

the loan based on payroll and utility payments funded largely from the revenues of the Hotel rather

than the PPP loan proceeds.

               5.      These materials demonstrate that it is high time that the Hotel Manager was

required to make a full production as well. The motion to quash should be denied.

                                        BACKGROUND

               6.      The Court has conducted multiple discovery conferences on Benefit Street’s

attempts to obtain discovery from the Debtor concerning the PPP and EIDL loans and is familiar

with the issues. After the Debtor claimed that it had no access to certain loan documentation, the

Court invited Benefit Street to investigate these issues through Rule 2004 discovery of the Hotel

Manager. Benefit Street then served two subpoenas for Rule 2004 discovery on the Hotel

Manager, which are attached as Exhibit A and Exhibit B.

               7.      Given its fiduciary role as an agent of the Debtor, one might expect that if

the Hotel Manager’s conduct was blameless, it would voluntarily produce information to

demonstrate that. It has, instead, done the opposite, and attempted to shut down all discovery.

Live Oak Bank, however, has responded to Benefit Street’s subpoena. What follows is a

description of those documents as well as others the Debtor has produced.

The Hotel Manager Obtains a PPP Loan

               8.      More than seven weeks after the appointment of the Receiver, on April 14,

2020, the Hotel Manager applied to Live Oak Bank for a PPP loan of over $1.26 million. The

application was signed by Toby Moskovits, as CEO of the Hotel Manager. See PPP Loan




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Application by The Williamsburg Hotel BK LLC (“Exhibit C”). Ms. Moskovits certified that the

proceeds of the loan would be used “to retain workers and maintain payroll or make mortgage

interest payments, lease payments, and utility payments,” each of which are also identified on the

first page of the application as the “purpose of the loan.” Id. at 1, 2. The Hotel Manager

represented that it had 130 employees, see id. at 1, and in support of its application submitted a

payroll report listing members of the Hotel staff, including the staff of the Hotel’s restaurant. The

report identified these workers as employees of the Hotel Manager, not the Debtor. See Paychex

Paycheck Protection Program Data for 1/1/2019 – 12/31/19 (“Exhibit D”).

                9.      The PPP loan application was made by the Hotel Manager, but expressly

indicates that entity’s “DBA or Tradename” is “The Williamsburg Hotel.” See Ex. C at 1. The

application required the Hotel Manager to attach an addendum identifying any business owned by,

or under common management with, it or its owners. Addendum A to the application identifies

three affiliates, but does not identify the Debtor. See id. at 5. In the application, Ms. Moskovits,

who owns 50% of both the Debtor and the Hotel Manager, falsely certified that this addendum

was “true and accurate in all material respects,” and acknowledged the potential for criminal

liability if this statement was incorrect. Id. at 2.

                10.     The omission of the Debtor from the application was obviously material.

The Debtor was the owner of the Hotel, had borrowed $68 million to complete it and assigned all

of its rents and revenues to the lender. At the time of the application, it was a defendant in a

foreclosure action in which a receiver had been appointed for the Hotel. Ms. Moskovits was a

defendant in the same action and obviously knew these facts. Had the Hotel Manager disclosed

the existence of 96 Wythe Acquisition LLC to the PPP lender, however, the PPP lender might have

discovered the foreclosure and not have made the PPP loan.




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                 11.   In fact, this is precisely what happened when the Hotel Manager applied for

a second PPP loan in the amount of $2 million in February 2021. There, the Hotel Manager again

submitted an addendum of affiliates that omitted the Debtor. The loan was initially approved, but

at the last minute, the Debtor sought to change the account into which the loan proceeds would be

deposited (perhaps because it knew the Master Account used in this bankruptcy). That change

triggered a risk review in which the bank discovered a news article describing the Debtor’s filing

of this bankruptcy case. On February 25, 2021 – two days after the Petition Date in this case – the

bank wrote to the Hotel Manager declining to make the loan. In support of this decision, it stated:

        It has come to our attention that the Borrower’s beneficial owners – Toby
        Moskovits and Yechial Michael Lichtenstein – are also co-owners of 96 Wythe
        Acquisition, LLC, an entity that recently filed bankruptcy on February 23, 2021 in
        connection with the Williamsburg Hotel property. This entity is not disclosed on
        the SBA Form 2483 [the PPP loan application] or Live Oak Bank’s Addendum A
        for the first draw PPP loan, nor was it disclosed on the application for the Proposed
        Loan. Upon further investigation of the beneficial owners, there were significant
        outstanding liens and judgment indicated against Ms. Moskovits and Mr.
        Lichtenstein.
        Based on the foregoing, this letter is to notify you that Lender declines to issue the
        Proposed Loan.
See Letter from Live Oak Bank to The Williamsburg Hotel BK LLC, dated Feb. 25, 2021

(“Exhibit E”).

The Hotel Manager Diverts the PPP Loan Proceeds

                 12.   In April 2020, however, the Debtor’s existence (and Ms. Moskovits’ false

statements) were not discovered and the first PPP loan was approved. On April 18, 2020, the Hotel

Manager entered into a loan agreement with Live Oak Bank under which Live Oak Bank agreed

to provide the Hotel Manager with $1,438,000 in PPP funds (“PPP Loan Agreement”)

(“Exhibit F”). As part of this agreement, the Hotel Manager expressly represented and warranted

that:


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        all information provided to Lender, including, without limitation, all financial
        information regarding the Borrower’s and the Operating Company’s, if any,
        financial condition, is accurate to the best of its knowledge and that Borrower and
        Operating Company, if any, has not withheld any material information. 2
See Ex. F at § 3.2 & Exhibit A ¶ E (emphasis added).
                 13.     The state court receiver order was entered seven weeks before the PPP loan

application and provided that “all Defendants and those acting through them be enjoined and

restrained from . . . entering into any management, brokerage or leasing agreement, franchise

agreement or any other contract or agreement . . . whether written or oral, that is not terminable on

thirty days’ notice, absent consent of [Benefit Street].” See Order Appointing a Receiver in a Non-

Residential Mortgage Foreclosure Action at 5 (“Receiver Order”) (“Exhibit G”). Ms. Moskovits

was a defendant in the state foreclosure action and the Hotel Manager was a contractual agent of

the Debtor. The terms of the PPP Loan Agreement do not allow for termination on thirty days’

notice. The Hotel Manager’s entry of the PPP Loan Agreement thus violates the injunction in the

Receiver Order. See id. Despite this, there is no evidence that the Hotel Manager ever informed

the Receiver (or the lender) about the PPP loan, let alone sought or received authority to obtain it.

Indeed, when asked by the Court at the June 28 hearing, the Receiver was unaware that any PPP

loan (or other loan) had been obtained. 6/28/21 Hr’g Tr. at 13:20-22. To this day, it is unclear

how the Hotel Manager, acting in good faith, could have failed to inform the Receiver (who stood

in the shoes of the Debtor) of the potential to obtain a PPP loan or chosen to seek such a loan in

its own name, rather than as agent for the Debtor – especially when that loan was premised upon

the Hotel’s operations.




2
 Without further discovery, it is not clear what is meant by the reference to an Operating Company. On its face,
however, this language suggests that the PPP bank was contracting with the owner of the Hotel and not a hotel
management company. If accurate, this would make the Hotel Manager’s misrepresentations all the more material.



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                 14.    On April 21, 2020, Live Oak Bank wired $1,438,000 in PPP loan proceeds

to account number ending in -2855 at Bank of America (“Hotel Master Account”). See Bank of

America Business Advantage Checking Preferred Rewards statement for account ending in -2855,

for April 1, 2020 to April 30, 2020, at 3 (“Exhibit H”). This account was denominated the “Master

Account” for “The Williamsburg Hotel BK LLC DBA The Williamsburg Hotel.” Although the

Hotel Master Account appears to have been used to collect revenues of the Hotel and pay Hotel

operating expenses, two days later, the Hotel Manager removed the full amount of the loan

proceeds from that account and transferred them to a checking account number ending in -0102 at

Bank of America (“Unidentified Account”). Id. at 6. These transactions are reflected below:




See id at 3, 6. Despite Benefit Street’s requests, neither the Debtor nor the Hotel Manager have

identified the holder or the purpose of the Unidentified Account. This uncertainty leaves open the

possibility that the account is not held by either entity, but by another, as yet unidentified, affiliate

of the Debtor.

                 15.    In both the PPP loan application and in the PPP Loan Agreement, the Hotel

Manager represented and agreed that

        The funds will be used to retain workers and maintain payroll or make mortgage
        interest payments, lease payments and utility payments as specified in the Paycheck
        Protection Program Rule. If the funds are knowingly used for unauthorized


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        purposes, the federal government may hold borrower and loan applicant legally
        liable, such as charges for fraud.
Ex. C at 2; Ex. F at 8, Exhibit A to the PPP Loan Agreement. The Hotel Manager appears to have

used a payroll administration service, Paychex, to pay the employees. Payments to Paychex, which

include amounts dedicated to payroll (as well as taxes, garnishments and other payroll-associated

items), were made from account number -2703 at Bank of America (“Hotel Payroll Account”),

which was formally denominated as the Hotel Manager’s “payroll account.” See Bank of America

Business Advantage Checking Preferred Rewards statements for account ending in -2703, for the

periods from April 1, 2020 through October 31, 2020 (“Exhibit I”). Between April and October

of 2020, the Hotel Manager deposited almost $2 million in the Hotel Payroll Account to fund

payments to Paychex and small ad hoc payments directly to individuals. See id. The great majority

of these deposits were transferred directly from the Hotel Master Account – an account in which

the Hotel Manager received Hotel revenues and paid operating expenses. As reflected in the

following chart, during the same period, $357,624.53, or less than a quarter of the total payroll

funding, was funded into the Hotel Payroll Account from the Unidentified Account in 33 separate

transfers:




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                 16.      There is no evidence that any transfers were made from the Unidentified

Account into the Hotel Master Account to support the payment of other operating expenses of the

Hotel. Based on the available evidence, therefore over $1.08 million in PPP loan proceeds were

not used to pay the Hotel’s payroll or other operating expenses.3 It is unknown whether any of

that amount remains which could be used to defray appropriate Hotel operating expenses today.

The Hotel Manager Obtains Forgiveness of the PPP Loan

                 17.      On February 28, 2021 – five days after this case was filed – Ms. Moskovits,

on behalf of the Hotel Manager – signed an application for forgiveness of the PPP loan. See PPP

Loan Forgiveness Application, dated Feb. 28, 2021 (“Exhibit J”). The application asserted that

the Hotel Manager had made payroll payments of $1,474,497.33 and business utility payments of

$94,071.69. On the basis of these payments, it sought forgiveness of the entire PPP loan balance.

                 18.      In support of the application, the Hotel Manager appears to have submitted

account statements from the Payroll Account for the period from April through October 2020.

See Ex. I. As explained above, less than a quarter of these of the amounts funded to the Payroll

Account even arguably came from proceeds of the PPP loan.

                 19.      Similarly, to support its claim of utility payments, the Hotel Manager

submitted evidence of wire transfers from the Hotel Master Account to Con Edison and National

Grid. See Bank of America Transaction Details for Payments to Consolidated Edison Energy

(“Exhibit K”); Bank of America Transaction Details for Payments to National Grid (“Exhibit L”).

These payments are reflected in the following chart, and there is no evidence these payments were

funded from the Unidentified Account:




3
 The Hotel Manager bank account statements produced to date do not reveal transfers from the 0102 to other of the
Hotel Manager’s accounts, including the 2855 Master Account.



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               20.       As part of the application for forgiveness of the PPP loan, Ms. Moskovits

certified, on behalf of the Hotel Manager, that:

                        “the dollar amount for which forgiveness is requested . . . was used to pay
                         costs that are eligible for forgiveness (payroll costs to employees, business
                         mortgage interest payments, business rent or lease payments, or business
                         utility payments);”

                        “The [Hotel Manager] has accurately verified the payments for eligible
                         payroll and nonpayroll costs for which the [Hotel Manager] is requesting
                         forgiveness;” and

                        “The information provided in this application and the information provided
                         in all supporting documents and forms is true and correct in all materials
                         respects.”

Ex. J at 2.
               21.       There is no evidence that the Hotel Manager submitted information to the

bank in connection with its forgiveness application that the Hotel Manager had:

                        removed the full $1,438,000 in PPP loan proceeds from the Hotel Master
                         Account almost immediately after its receipt and transferred to an
                         unidentified account;




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                        transferred only $357,624.53 to the Hotel Manager’s Hotel Payroll Account
                         to fund payroll expenses;

                        transferred no money from the Unidentified Account to the Hotel Master
                         Account to pay the claimed utility expenses or any other expenses; and

                        offered no evidence that it had used the remaining $1.08 million of the PPP
                         loan proceeds transferred to the Unidentified Account for a purpose
                         mandated by the PPP and CARES Act.

               22.       Based on the application and materials submitted, on March 11, 2021, Live

Oak Bank forgave the PPP loan.

The Hotel Manager’s Subsequent PPP Loan Application

               23.       In early 2021, the Hotel Manager applied for a second draw PPP loan, this

time in the amount of $2 million. As explained earlier, after Live Oak Bank discovered the Hotel

Manager’s deceptions concerning the Debtor’s existence and bankruptcy, it declined to make the

loan. Before that, on February 24, 2021 – the day after this case was filed – the bank emailed

Ms. Moskovits and Mr. Lichtenstein a detailed list of questions concerning, among other things,

their involvement in the bankruptcy, the nature of the Hotel Manager’s business, the Hotel

Manager’s relationship to the Debtor, and whether there was a Hotel management arrangement in

place. See Email Chain between Live Oak Bank and Toby Moskovits and Yechial Michael

Lichtenstein, dated Feb. 24, 2021, at 2-3 (“Exhibit M”).

               24.       Ms. Moskovits responded two hours later, stating that the Hotel Manager

was a “management company that has employed during the past 4 years between 90 and at some

times 200 people.” Id. at 2. She was at pains to claim that the Hotel Manager “is a stand alone

business that has no connection to the ownership of the building at 96 Wythe Avenue.” Id. Instead,

she claimed that the Hotel Manager was “a hotel brand” that planned to open a second hotel and

was “in talks with other hotel owners about managing their hotels.” Id. While acknowledging the

entities’ common ownership, she portrayed the Debtor as merely owning the Hotel building. “The


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[Hotel Manager] has not declared bankruptcy and it’s [sic] operations remain unaffected by the

filing of 96 Wythe Acquisition.” Id.

                 25.      A few hours after that, Mr. Lichtenstein also responded to emphasize that

“[i]f you look at the first PPP Loan that the [Hotel Manager] received, all of it went to pay people’s

salaries and to cover payroll. None of it went for other purposes.” Id. at 1. “The legal proceedings

of an unrelated entity, [the Debtor], which has no connection to the management nor to the 90

employees [sic] living wages in any way at all, should not influence whether the [Hotel Manager]

employees will continue to have employment and earn a living.” Id. These statements are hard to

square with the Debtor’s representations in the first day affidavit [ECF No. 8] and cash collateral

motion [ECF No. 4], both filed within a week of these comments, that it operated the Hotel and it

employed the Hotel’s staff. See ECF No. 8 ¶ 3; ECF No. 4 ¶ 2.

                 26.      At the bank’s request, the Hotel Manager submitted what purported to be

copies of the Hotel Manager’s 2019 and 2018 Form 1065 partnership income tax returns. These

returns state that the Hotel Manager claimed gross revenues and receipts of $20,034,954 in 2019

and $15,117,101 in 2018. See 2019 Form 1065 U.S. Return of Partnership Income for The

Williamsburg Hotel BK LLC at 1 (“Exhibit N”); 2018 Form 1065 U.S. Return of Partnership

Income for The Williamsburg Hotel BK LLC at 1 (“Exhibit O”).4 Strangely, these amounts

precisely equal the revenue that the Debtor’s schedules indicate the Debtor collected in 2019 and

virtually equal the revenue it earned in 2018. 5 ECF No. 31, at 24. Although it is easy to understand

why the Hotel Manager might want to demonstrate to the bank that it had substantial revenues not


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  It is unclear whether these tax documents are authentic. The returns purport to have been prepared by an accounting
firm, but are not signed by the firm, only by Ms. Moskovits. Both are also dated the same day they were submitted to
the bank, which seems oddly coincidental. Benefit Street has subpoenaed the returns directly from the accounting
firm to assess this possibility.
5
 The Form 1065 for 2018 shows total revenues and receipts for the Hotel Manager of $15,117,101. In 2018, the
Debtor claims it had gross revenues of 15,117,524, or $423 more than the Hotel Manager claimed.



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implicated by the Debtor’s bankruptcy, it is less clear how the Hotel Manager, which managed

only a single hotel and was entitled to a maximum fee of 3% of gross revenues could have had

revenues precisely equal to 100% of the revenue of the Debtor’s Hotel. See Assignment of Hotel

Management Agreement and Subordination of Hotel Management Fees, dated December 13, 2017,

at § 6(c) (“Exhibit P”) (capping Hotel Manager’s fees to 3% of gross rents collected). Nor is it

clear how the Hotel Manager could have claimed any fee revenues in 2019 when Benefit Street’s

Loan was in default throughout the year and the Hotel Manager’s right to any fees was expressly

subordinated. See id. § 6(a) (subordinating Hotel Manager’s fees after event of default).

                                         ARGUMENT

               27.    The Hotel Manager – which has never sought to meet or confer with Benefit

Street about the subpoenas except to ask for an extension of time – now seeks a blanket order

quashing all subpoenas in toto and relieving it of any obligation to provide discovery. Such relief

is warranted, it claims because (i) the Debtor has already produced information not sought by the

subpoenas in this case and the foreclosure action, (ii) the PPP and EIDL loans are obligations of

the Hotel Manager, not the Debtor, and therefore have no bearing on this case, and (iii) Rule 2004

is limited to discovery related to the Debtor, not third parties such as the Hotel Manager. None of

these contentions has merit.

               28.    First, contrary to the Hotel Manager’s suggestion, Benefit Street’s

subpoenas do not seek information already produced by the Debtor. Rather, they expressly seek

information about loans obtained by the Hotel Manager (Document Requests 1-3; 30(b)(6) Topics

5-8); the Hotel Manager’s use of proceeds from those loans (Document Request 4; 30(b)(6) Topics

6, 9-10); the Hotel Manager’s operations and employees (Document Requests 5-7; 30(b)(6) Topics

1-4), and the Hotel Manager’s bank accounts (Requests 8-9; 30(b)(6) Topics 9-10). See Exs. A




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and B. Indeed, Benefit Street served the subpoenas only after the Debtor claimed that it had

produced all of the materials in its possession concerning the PPP and EIDL loans. 7/20/21 Hr’g

Tr. at 8:25-9:6. In addition, as Benefit Street would have informed the Hotel Manager, had it

bothered to meet and confer before filing its Motion, Benefit Street will agree that the Hotel

Manager need not produce documents already produced by the Debtor.

               29.    Second, while the PPP and EIDL loans may be obligations of a non-debtor

affiliate, that does not render those topics irrelevant to the estate. The Hotel Manager currently

manages the operations of the Debtor and its conduct in that role is therefore of great concern to

the stakeholders of the estate. For example, the Debtor has only recently requested that the Court

authorize the Hotel Manager to continue to collect Hotel revenues and hold them in non-debtor

accounts in its own name. Obviously, if the Hotel Manager has previously obtained PPP or EIDL

loans or forgiveness of such loans based upon misrepresentations, or misused or diverted PPP loan

proceeds for purposes other than those for which they were borrowed, that is directly relevant to

its fitness to manage the Hotel’s operations. The subpoenas served by Benefit Street seek

documents and testimony concerning precisely these issues.

               30.    As explained above, moreover, the documents previously produced by the

Debtor and Live Oak Bank provide a sound basis to investigate these matters. These documents

indicate that the Hotel Manager made misrepresentations to Live Oak Bank in two separate PPP

loan applications (the second of which the Debtor never disclosed). Indeed, they suggest that the

Hotel Manager may have continued to seek a PPP loan even after this case was filed. See Ex. M.

They further indicate that the Hotel Manager sought these loans to pay payroll and utility

obligations of the Hotel, not some other business. Despite this, the Hotel Manager removed $1.438

million in PPP loan proceeds from its master account and moved them to an unidentified account.




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It subsequently sought forgiveness of the PPP loan based on payments largely made or funded

from the bank accounts it managed for the Hotel, not the account into which it had transferred the

PPP loan proceeds.

               31.       Finally, contrary to the Hotel Manager’s suggestion, Benefit Street’s

subpoenas aim to address significant questions about the Hotel Manager’s behavior which are

directly relevant to the estate. Among these are:

                        Did the Hotel Manager use the PPP and EIDL loan proceeds for the
                         purposes intended or improper purposes?

                        Did the Hotel Manager withhold PPP loan proceeds, causing the Receiver
                         to use Hotel revenues to fund payroll and utility expenses, leaving
                         insufficient funds to pay almost $2 million in real property taxes?

                        Did the Hotel Manager transfer PPP or EIDL loan proceeds to affiliates or
                         its equity holders in violation of PPP rules?

                        Did the Hotel Manager, in claiming Debtor’s revenues on its tax returns,
                         misappropriate Hotel revenues or any tax benefits that should have accrued
                         to the debtor?

               32.       If the Hotel Manager has misused the proceeds of government loans or

improperly transferred government loan proceeds to affiliates or equity holder, that bears directly

on the continued fitness to manage the Hotel. Given that the Hotel Manager is controlled by the

same insiders who control the Debtor and their direct involvement in the PPP loan process,

moreover, these issues also bear directly on the management of the estate itself. Of course,

depending on what the investigation shows, the estate may have claims against the Hotel Manager

or others for mismanagement or other breach of duty.




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                                        CONCLUSION

               33.    For the foregoing reasons, the Court should deny the Hotel Manager’s

Motion and grant Benefit Street such other and further relief as may be just and proper.

Dated: September 3, 2021
       New York, New York

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                               EXHIBIT A
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                                      UNITED STATES BANKRUPTCY COURT
  Southern
  _________________________________________             New York
                                            District of _________________________________________
      96 Wythe Acquisition LLC
In re __________________________________________
                                    Debtor
                                                                                              21-22108 (RDD)
                                                                                     Case No. _____________________
          (Complete if issued in an adversary proceeding)
                                                                                             11
                                                                                     Chapter ___________
_________________________________________
                                    Plaintiff
                         v.                                                          Adv. Proc. No. ________________
__________________________________________
                                  Defendant

         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS OR TO PERMIT
         INSPECTION OF PREMISES IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)

  To:   The Williamsburg Hotel BK LLC
        ________________________________________________________________________________________
                                                          (Name of person to whom the subpoena is directed)

     Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
  documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
  material: %**"&55&(,*)"%(,*)6.*"$"&0)"&((1/2&07-0+"(1635"13)*3"&65,13-8-0+"5,-4"%6'21*0&#

  PLACE                                                                                                      DATE AND TIME
 Kramer Levin Naftalis & Frankel LLP, 1177 Avenue of the Americas, New York, NY 10036                        August 16, 2021
      Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
  other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
  may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.
  PLACE                                                                                                      DATE AND TIME




          The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
  attached e Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
  subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not
  doing so.

        August 2, 2021
  Date: _____________
                                    CLERK OF COURT

                                                                                    OR
                                    ________________________                                     /s/ P. Bradley O'Neill
                                                                                            ________________________
                                    Signature of Clerk or Deputy Clerk                           ,QQLOKBVWP PFDK>QROB

  The name, address, email address, and telephone number of the attorney representing (name of party)
  ____________________________
   Benefit Street Partners Realty Operating Partnership, L.P. , who issues or requests this subpoena, are:

  P. Bradley O'Neill, 1177 Avenue of the Americas, New York, NY 10036, boneill@kramerlevin.com, 212.715.7583
                                                         Notice to the person who issues or requests this subpoena
  If this subpoena commands the production of documents, electronically stored information, or tangible things, or the
  inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on
  the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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                                                 SCHEDULE A

         Benefit Street Partners Realty Operating Partnership, L.P.1, by and through its undersigned

counsel, hereby submits this Schedule A to the subpoena directed to The Williamsburg Hotel BK

LLC, dated August 2, 2021 (“Subpoena”):

                                                DEFINITIONS

         The uniform definitions referenced in Rule 26.3 of the Local Rules of the United States

District Courts for the Southern and Eastern Districts of New York (“Local Rules”), as

incorporated by Rule 7026-1 of the Local Bankruptcy Rules for the Southern District of New York

(“Local Bankruptcy Rules”), apply to this Subpoena. The following additional definitions apply

and shall be construed in the broadest sense permitted by the Federal Rules of Civil Procedure, the

Federal Rules of Bankruptcy Procedure, the Local Rules, and the Local Bankruptcy Rules.

         1.       “Debtor” means 96 Wythe Acquisition LLC, including its predecessors or

successors, assignees, prior or current parents, partners, subsidiaries, affiliates or controlled

companies, and each of their prior or current officers, directors, employees, agents, advisors,

attorneys, or other parties purporting to act on its behalf.

         2.       “Debtor Account” means any bank account held by or for the benefit of the Debtor.

For the avoidance of doubt: (a) a bank account held by the Debtor for the benefit of the Hotel

Manager is both a Debtor Account and a Hotel Manager Account; and (b) a bank account in which

Hotel revenues were collected or out of which Hotel expenses were paid is a Debtor Account.

         3.       “EIDL” refers to the SBA’s Economic Injury Disaster Loan program.

         4.       “EIDL Loan” refers to the loan of approximately $150,000 received by the Hotel

Manager in July 2020 under the EIDL.


1
 Benefit Street is a wholly owned subsidiary of Franklin Resources, Inc. that, together with various subsidiaries
operates as Franklin Templeton.
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       5.      “Hotel” means The Williamsburg Hotel, located at 96 Wythe Avenue, Brooklyn,

New York 11249.

       6.      “Hotel Manager” means The Williamsburg Hotel BK LLC, including its

predecessors or successors, assignees, prior or current parents, partners, subsidiaries, affiliates or

controlled companies, and each of their prior or current officers, directors, employees, agents,

advisors, attorneys, or other parties purporting to act on its behalf.

       7.      “Hotel Manager Account” means any bank account held by or for the benefit of

the Hotel Manager. For the avoidance of doubt: (a) a bank account held by the Hotel Manager for

the benefit of the Debtor is both a Hotel Manager Account and a Debtor Account; and (b) a bank

account in which Hotel revenues were collected or out of which Hotel expenses were paid, by or

on behalf of the Hotel Manager, is a Hotel Manager Account.

       8.      “Live Oak Bank” means Live Oak Banking Company, including its predecessors

or successors, assignees, prior or current parents, partners, subsidiaries, affiliates or controlled

companies, and each of their prior or current officers, directors, employees, agents, advisors,

attorneys, or other parties purporting to act on its behalf.

       9.      “PPP” refers to the SBA’s Paycheck Protection Program.

       10.     “PPP Loan” refers to the loan of approximately $1,438,000 received by the Hotel

Manager in April 2020 under the PPP.

       11.     “SBA” means the United States Small Business Administration, including its

predecessors or successors, assignees, and each of their prior or current officers, directors,

employees, agents, advisors, attorneys, or other parties purporting to act on its behalf.




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       12.     “Treasury” means the United States Department of the Treasury, including its

predecessors or successors, assignees, and each of their prior or current officers, directors,

employees, agents, advisors, attorneys, or other parties purporting to act on its behalf.

       13.     “You” or “Your” means the Hotel Manager.

                                         INSTRUCTIONS

       1.      You are requested to produce all responsive Documents in Your possession,

custody, or control, wherever located, including without limitation, those in the custody of You

and Your affiliates.

       2.      If any part of the following requests cannot be responded to in full, please respond

to the extent possible, specifying the reason(s) for your inability to respond to the remainder and

stating whatever information or knowledge you have relating to the portion to which You do not

respond.

       3.      If there are no Documents responsive to any particular request, please state so in

writing.

       4.      Where any copy of any Document whose production is sought herein, whether a

draft or final version, is not identical to any copy thereof, by reason of alterations, notes, comments,

initials, underscoring, indication of routing, or other material contained thereon or attached thereto,

all such non-identical copies are to be produced separately.

       5.      If any Document requested was previously in Your possession, custody, or control

and has been lost or destroyed or otherwise disposed of, You are requested to submit in lieu of any

such Document a written statement (i) describing in detail the nature of the Document and its

contents, (ii) identifying the person(s) who prepared or authored the Document and, if applicable,

the person(s) to whom the Document was sent, (iii) specifying the date on which the Document




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was prepared or transmitted, and (iv) specifying the date on which the Document was lost or

destroyed, and if destroyed, the conditions of and reasons for such destruction and the person(s)

requesting and performing the destruction.

       6.      All Documents shall be produced in TIFF format with OCR images. All Documents

shall be produced with metadata, including but not limited to the date created/sent, author,

recipients, cc-copies, and bcc-blind copies. Benefit Street reserves the right to request that

Documents be produced in their native format.

       7.      A request for any Document shall be deemed to include a request for any and all

transmittal sheets, cover letters, exhibits, enclosures, or attachments to such Document, in addition

to the Document in its full and unexpurgated form.

       8.      Documents should be produced in the manner they are kept in the ordinary course

of business. Documents attached to each other should not be separated.

       9.      If any Document is withheld or not produced under a claim of privilege, immunity,

or otherwise, identify in writing the basis upon which the asserted privilege, immunity, or other

reason for non-disclosure is claimed, in accordance with terms and conditions to be agreed upon

by the parties or ordered by the Bankruptcy Court.

       10.     If only a part of a Document is protected by any privilege or immunity, the

Document shall be produced with only the privileged matter redacted.

       11.     The following document requests are to be deemed continuing in nature. In the

event You become aware of or acquire additional information relating or referring to any of the

following document requests, such additional information is to be promptly produced.

       12.     Unless otherwise indicated, the relevant time period for each request is January

2020 through the date of production.




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                             DOCUMENTS TO BE PRODUCED

        1.     All Documents concerning the PPP Loan or the EIDL Loan.

        2.     All Documents concerning the Hotel Manager’s applications for or receipt of the

PPP Loan and the EIDL Loan, including all documents submitted to Live Oak Bank or the SBA

in connection with such applications.

        3.     All Documents concerning the repayment or forgiveness of the PPP Loan or the

EIDL Loan, including all documents submitted to Live Oak Bank or the SBA in connection with

such repayment or forgiveness.

        4.     Documents sufficient to show the use of proceeds from the PPP Loan and the EIDL

Loan.

        5.     Documents sufficient to show the Hotel Manager’s officers, members, equity

holders, and employees, including their positions, responsibilities and compensation.

        6.     Documents sufficient to show the Hotel Manager’s operating expenses, including

payroll, mortgage/lease, and utilities expenses.

        7.     Documents sufficient to show the nature and extent of the services the Hotel

Manager provided to parties other than the Hotel and the Debtor.

        8.     Documents sufficient to identify all Hotel Manager Accounts.

        9.     All statements for each account into which the proceeds of the PPP Loan or the

EIDL Loan were transferred or deposited.




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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
                                                               :
In re:                                                         :
                                                               : Chapter 11
96 WYTHE ACQUISITION LLC,                                      :
                                                               : Case No. 21-22108 (RDD)
                                    Debtor.                    :
                                                               :
-------------------------------------------------------------- X

           ORDER PURSUANT TO BANKRUPTCY RULE 2004 AND 9016
    AUTHORIZING DISCOVERY OF THE HOTEL MANAGER AND LIVE OAK BANK

        Upon the motion, dated July 28, 2021 (“Motion”), of Benefit Street Partners Realty

Operating Partnership, L.P.1 (“Benefit Street”), for an order pursuant to the Federal Rules of

Bankruptcy Procedure 2004 and 9016 directing document production by and an examination of

the Hotel Manager and document production by Live Oak Bank related to the PPP and EIDL

Loans; and the Court having jurisdiction over the Motion pursuant to 28 U.S.C. §§ 157(a)-(b) and

1334(b); and venue being proper in this District pursuant to 28 U.S.C. §§ 1408 and 1409; and the

Motion being a core proceeding pursuant to 28 U.S.C. § 157(b); and no additional notice being

required except as provided herein; and, after due deliberation the Motion having established good

and sufficient cause for the relief granted herein; now, therefore,

IT IS HEREBY ORDERED THAT:

        1.       Benefit Street is authorized pursuant to Fed. R. Bankr. P. 2004 to conduct

examinations of and compel document production by the Hotel Manager and Live Oak Bank

(“Rule 2004 Parties”), relating to Benefit Street’s investigation of the PPP and EIDL Loans,




1
 Benefit Street is a wholly owned subsidiary of Franklin Resources, Inc. that, together with various subsidiaries,
operates as Franklin Templeton.



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including the Rule 2004 Topics,2 in each case with document production to be limited to a period

reasonably related to the PPP and EIDL Loans;

           2.        Benefit Street is authorized, pursuant to Fed. R. Bankr. P. 2004(c) and 9016, to

serve (a) document and deposition subpoenas to the Hotel Manager and (b) document subpoenas

to Live Oak Bank (each, a “Rule 2004 Examination Request”), in the forms annexed hereto as

Exhibits 1, 2, and 3;

           3.        Not later than fourteen (14) days after the service of a Rule 2004 Examination

Request for documents, the corresponding Rule 2004 Parties shall produce the documents

(including electronically stored information) in their possession, custody or control referenced in

such Rule 2004 Examination Request, to be delivered to the offices of Benefit Street’s counsel,

Kramer Levin Naftalis & Frankel LLP, 1177 Avenue of the Americas, New York, NY 10036;

           4.        Not later than fourteen (14) days after the service of a Rule 2004 Examination

Request for oral examination under oath, the Hotel Manager shall designate and produce a

company representative for oral examination under oath by counsel for Benefit Street on such date

and time, and means, and at such location (including over remote means such as Zoom) as may be

designated in writing by counsel to Benefit Street;

           5.        Benefit Street’s rights are reserved to request additional examinations or documents

under Bankruptcy Rule 2004 based on any information that may be revealed as a result of the

discovery obtained under this Order;

           6.        The production and examination required are subject to any applicable privilege;

provided, that if production of a document required to be produced is withheld under an asserted




2
    Capitalized terms stated herein shall have the definitions set forth in the Motion, unless otherwise indicated.



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privilege, the party asserting privilege with respect to such document shall provide a proper

privilege log to the Benefit Street’s counsel at the time of document production hereunder; and

       7.      This Court retains jurisdiction over all matters arising from or related to

implementing this Order.

Dated: White Plains, New York
       July 30, 2021


                                             /s/Robert D. Drain
                                             THE HONORABLE ROBERT D. DRAIN
                                             UNITED STATES BANKRUPTCY JUDGE




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                                EXHIBIT B
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B2540 (Form 2540 – Subpoena for Rule 2004 Examination) (12/15)
                                                               Pg 30 of 189
                                   UNITED STATES BANKRUPTCY COURT
               Southern
 _______________________________________                New York
                                         District of ___________________________________________

In re __________________________________________
      96 Wythe Acquisition, LLC                                            Case No. _____________________
                                                                                     21-22108 (RDD)
                                  Debtor
                                                                           Chapter ______________
                                                                                   11



                                           SUBPOENA FOR RULE 2004 EXAMINATION

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      ************************   ''$
                                                (Name of person to whom the subpoena is directed)


   Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at an examination
under Rule 2004, Federal Rules of Bankruptcy Procedure. A copy of the court order authorizing the examination is attached"
PLACE                                                                                          DATE AND TIME

Zoom video conference hosted by Veritext                                                      August 24, 2021 at 10:00 A.M.
601 Lexington Ave., Floor 55, New York, NY 10022                                              (EDT)

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                                                  Video, audio, and stenographic means by court reporter over Zoom video conference.
 The examination will be recorded by this method: _________________))))))))))))))))))))))____________
      Production: You, or your representatives, must also bring with you to the examination the following documents,
 electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the material:




        The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
attached – Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not
doing so.

Date: "3)312 !, 2021
                                 CLERK OF COURT

                                                                          OR
                                 ________________________                       ________________________
                                                                                /s/ P. Bradley O'Neill
                                 Signature of Clerk or Deputy Clerk                   Attorney’s signature


The name, address, email address, and telephone number of the attorney representing (name of party)
____________________________
Benefit Street Realty Operating Partnership, L. P. , who issues or requests this subpoena, are:

 P. Bradley O'Neill, 1177 Avenue of the Americas, New York, NY 10036, boneill@kramerlevin.com, 212.715.7583


                                 Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things, or the
inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on
the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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                                               SCHEDULE A

        Benefit Street Partners Realty Operating Partnership, L.P.1, by and through its undersigned

counsel, hereby submits this Schedule A to the subpoena directed to The Williamsburg Hotel BK

LLC, dated August 9, 2021 (“Subpoena”):

                                               DEFINITIONS

        The uniform definitions referenced in Rule 26.3 of the Local Rules of the United States

District Courts for the Southern and Eastern Districts of New York (“Local Rules”), as

incorporated by Rule 7026-1 of the Local Bankruptcy Rules for the Southern District of New York

(“Local Bankruptcy Rules”), apply to this Subpoena. The following additional definitions apply

and shall be construed in the broadest sense permitted by the Federal Rules of Civil Procedure, the

Federal Rules of Bankruptcy Procedure, the Local Rules, and the Local Bankruptcy Rules.

        1.       “Debtor” means 96 Wythe Acquisition LLC, including its predecessors or

successors, assignees, prior or current parents, partners, subsidiaries, affiliates or controlled

companies, and each of their prior or current officers, directors, employees, agents, advisors, and

attorneys.

        2.       “Debtor Account” means any bank account held by or for the benefit of the Debtor.

For the avoidance of doubt: (a) a bank account held by the Debtor for the benefit of the Hotel

Manager is both a Debtor Account and a Hotel Manager Account; and (b) a bank account in which

Hotel revenues were collected or out of which Hotel expenses were paid is a Debtor Account.

        3.       “Government Assistance” means any money, loans, investment capital, disaster

assistance, surety bonds, grants, COVID-19 relief, or other assistance provided by the SBA or

Treasury, including but not limited to PPP loans or EIDL loans.


1
 Benefit Street is a wholly owned subsidiary of Franklin Resources, Inc. that, together with various subsidiaries,
operates as Franklin Templeton.

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         4.    “EIDL” refers to the SBA’s Economic Injury Disaster Loan program.

         5.    “Hotel” means The Williamsburg Hotel, 96 Wythe Avenue, Brooklyn, New York

11249.

         6.    “Hotel Manager” means The Williamsburg Hotel BK LLC.

         7.    “Hotel Manager Account” means any bank account held by or for the benefit of

the Hotel Manager. For the avoidance of doubt: (a) a bank account held by the Hotel Manager for

the benefit of the Debtor is both a Hotel Manager Account and a Debtor Account; and (b) a bank

account in which Hotel revenues were collected or out of which Hotel expenses were paid, by or

on behalf of the Hotel Manager, is a Hotel Manager Account.

         8.    “PPP” refers to the SBA’s Paycheck Protection Program.

         9.    “Receiver” means Constantino Sagonas, who was appointed as temporary receiver

of the Debtor by the Receiver Order (as defined below).

         10.   “Receiver Account” means any bank account held by or for the benefit of the

Receiver in connection with the Receivership.

         11.   “Receiver Order” means the order appointing the Receiver, entered by the

Supreme Court of the State of New York, County of New York, dated February 21, 2020, in the

mortgage foreclosure action captioned Benefit Street Partners Operating Partnership, L.P. v.

96 Wythe Acquisition LLC, et al. (Index No. 653396/2019), a copy of which was filed in the above-

captioned bankruptcy as ECF No. 29-4.

         12.   “Receivership” means any of the Receiver’s actions, duties, or obligations relating

to or arising from in any way his appointment under the Receiver Order.




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           13.   “SBA” means the United States Small Business Administration, including its

predecessors or successors, assignees, and each of their prior or current officers, directors,

employees, agents, advisors, attorneys, or other parties purporting to act on its behalf.

           14.   “Treasury” means the United States Department of the Treasury, including its

predecessors or successors, assignees, and each of their prior or current officers, directors,

employees, agents, advisors, attorneys, or other parties purporting to act on its behalf.

                                         INSTRUCTIONS

           1.    Pursuant to Federal Rule of Civil Procedure 30(b)(6), the Hotel Manager shall

designate one or more knowledgeable persons to appear and testify on the Hotel Manager’s

behalf concerning the Matters for Examination.

           2.    The individual(s) so designated shall testify as to matters known or reasonably

available to the Hotel Manager.

           3.    The Hotel Manager shall set forth at a reasonable time prior to the deposition(s),

for each individual it designates, the Matters for Examination on which the individual will

testify.

           4.    The Hotel Manager has a duty to confer with the counsel for the party serving

this Subpoena.

           5.    The following rules of construction shall apply to this Subpoena:

                 (a)    The terms “any” and “all” mean “any and all” or “each and every” where

                        the effect of such construction is to broaden the scope of the Matters for

                        Examination.

                 (b)    The connectives “and” and “or” shall be construed either disjunctively or

                        conjunctively as necessary to bring within the scope of the Matters for



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                       Examination all matters that might otherwise be construed to be outside the

                       scope.

               (c)     The term “including” means including, but not limited to, and is intended

                       to provide examples of information that is subject to examination under the

                       Matters for Examination. Such examples are not intended to be exhaustive

                       of the information sought and shall not, in any way, be read to limit the

                       scope of the Matters of Examination.

               (d)     The singular includes the plural and vice versa.

               (e)     The present tense shall be construed to include the past tense, and the past

                       tense shall be construed to include the present tense as necessary to bring

                       within the scope of these Matters for Examination any information that

                       might otherwise be construed to be outside the scope.

                                MATTERS FOR EXAMINATION

       1.      The Hotel Manager’s officers, members, and employees, including positions,

responsibilities and salaries/compensation.

       2.      The Hotel Manager’s payroll, mortgage/lease, and utilities expenses.

       3.      The Hotel Manager’s operations, including the nature and extent of the Hotel

Manager’s engagement with or services provided to (a) the Hotel, (b) the Debtor, or (c) other hotels

or entities, including the names of all such other hotels or entities.

       4.      The Hotel Manager’s interactions and relationship with the Debtor or the Receiver,

including any communications, interactions, or transfers of money between the Hotel Manager

and the Debtor or the Receiver.



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       5.      The nature, reason, basis, complete supporting documentation for, and purpose

of the Hotel Manager’s application for or receipt of Government Assistance, including with

respect to any PPP or EIDL loans.

       6.      The Hotel Manager’s use of proceeds from any Government Assistance loan,

including from any PPP or EIDL loan.

       7.      Communications between the Hotel Manager and the Debtor or the Receiver about

Government Assistance, and the nature of said communications.

       8.      The Hotel Manager’s repayment or complete application for forgiveness of any

Government Assistance.

       9.      The treatment, transfer, and use of the $1,438,000 deposit on April 21, 2020 from

Live Oak Bank into the Hotel Manager’s Bank of America account ending in 2855, including

the backup for and approval of the April 23, 2020 transfer of $1,438,000 out of the 2855

account.

       10.     The treatment, transfer, and use of the $149,900 deposit on July 29, 2020 into

the Hotel Manager’s Bank of America account ending in 4831, including the backup for and

approval of the July 29, 2020 transfer of $149,000 out of the 4831 account.




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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
                                                               :
In re:                                                         :
                                                               : Chapter 11
96 WYTHE ACQUISITION LLC,                                      :
                                                               : Case No. 21-22108 (RDD)
                                    Debtor.                    :
                                                               :
-------------------------------------------------------------- X

           ORDER PURSUANT TO BANKRUPTCY RULE 2004 AND 9016
    AUTHORIZING DISCOVERY OF THE HOTEL MANAGER AND LIVE OAK BANK

        Upon the motion, dated July 28, 2021 (“Motion”), of Benefit Street Partners Realty

Operating Partnership, L.P.1 (“Benefit Street”), for an order pursuant to the Federal Rules of

Bankruptcy Procedure 2004 and 9016 directing document production by and an examination of

the Hotel Manager and document production by Live Oak Bank related to the PPP and EIDL

Loans; and the Court having jurisdiction over the Motion pursuant to 28 U.S.C. §§ 157(a)-(b) and

1334(b); and venue being proper in this District pursuant to 28 U.S.C. §§ 1408 and 1409; and the

Motion being a core proceeding pursuant to 28 U.S.C. § 157(b); and no additional notice being

required except as provided herein; and, after due deliberation the Motion having established good

and sufficient cause for the relief granted herein; now, therefore,

IT IS HEREBY ORDERED THAT:

        1.       Benefit Street is authorized pursuant to Fed. R. Bankr. P. 2004 to conduct

examinations of and compel document production by the Hotel Manager and Live Oak Bank

(“Rule 2004 Parties”), relating to Benefit Street’s investigation of the PPP and EIDL Loans,




1
 Benefit Street is a wholly owned subsidiary of Franklin Resources, Inc. that, together with various subsidiaries,
operates as Franklin Templeton.



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including the Rule 2004 Topics,2 in each case with document production to be limited to a period

reasonably related to the PPP and EIDL Loans;

           2.        Benefit Street is authorized, pursuant to Fed. R. Bankr. P. 2004(c) and 9016, to

serve (a) document and deposition subpoenas to the Hotel Manager and (b) document subpoenas

to Live Oak Bank (each, a “Rule 2004 Examination Request”), in the forms annexed hereto as

Exhibits 1, 2, and 3;

           3.        Not later than fourteen (14) days after the service of a Rule 2004 Examination

Request for documents, the corresponding Rule 2004 Parties shall produce the documents

(including electronically stored information) in their possession, custody or control referenced in

such Rule 2004 Examination Request, to be delivered to the offices of Benefit Street’s counsel,

Kramer Levin Naftalis & Frankel LLP, 1177 Avenue of the Americas, New York, NY 10036;

           4.        Not later than fourteen (14) days after the service of a Rule 2004 Examination

Request for oral examination under oath, the Hotel Manager shall designate and produce a

company representative for oral examination under oath by counsel for Benefit Street on such date

and time, and means, and at such location (including over remote means such as Zoom) as may be

designated in writing by counsel to Benefit Street;

           5.        Benefit Street’s rights are reserved to request additional examinations or documents

under Bankruptcy Rule 2004 based on any information that may be revealed as a result of the

discovery obtained under this Order;

           6.        The production and examination required are subject to any applicable privilege;

provided, that if production of a document required to be produced is withheld under an asserted




2
    Capitalized terms stated herein shall have the definitions set forth in the Motion, unless otherwise indicated.



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privilege, the party asserting privilege with respect to such document shall provide a proper

privilege log to the Benefit Street’s counsel at the time of document production hereunder; and

       7.      This Court retains jurisdiction over all matters arising from or related to

implementing this Order.

Dated: White Plains, New York
       July 30, 2021


                                             /s/Robert D. Drain
                                             THE HONORABLE ROBERT D. DRAIN
                                             UNITED STATES BANKRUPTCY JUDGE




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                               EXHIBIT C
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                               EXHIBIT D
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Company ID          Company Name        Employees Name            Employee     Cash               Employer         Employer       Employer   Employee   Employee Full- Avg. Payroll       FTEs based on Avg. FTEs          Over 100K Wage         Wage             Q1 2020 Wages       Covered Period
                                                                  Identifier   Compensation       State / Local    Retirement     Health     Pay Type   time/ Part-time Hours Per Week    payroll hours Simplified         for any   Reduction -8 Reduction -                          Wages
                                                                                                  Taxes            Benefit        Benefit               Status          Entered in        INFORMATIONA Method              2019 Pay Weeks         24 Weeks
                                                                                                  Assessed         Costs          Costs                                 Payroll           L                                Period


14058224            The Williamsburg    Adamowicz, Anna           *****2637           $7,171.88          $238.70          $0.00              Hourly                               17.51               0.4            0.5   No                             $0.00                $0.00           $7,089.00
14058224            The Williamsburg    Alcantara, Julio Cesar    *****0354           $9,212.09          $306.96          $0.00              Hourly                               15.41               0.4            0.5   No                             $0.00                $0.00           $3,713.75
14058224            The Williamsburg    Alija, Agon               *****8599           $4,738.30          $157.76          $0.00              Hourly                                6.23               0.2            0.5   No                $0.00        $0.00              $778.57           $1,495.00
14058224            The Williamsburg    Alim, Mohammad            *****0279           $6,432.47            $8.49          $0.00              Hourly     Full Time                 11.07               0.3            0.5   No                $0.00        $0.00            $5,665.68           $3,416.25
14058224            The Williamsburg    Almazan, Juan             *****3055          $23,170.27          $205.25          $0.00              Hourly                               26.42               0.7            0.5   Yes                                             $1,940.00           $6,275.00
14058224            The Williamsburg    Almonte, Dania            *****5859          $11,958.75          $154.88          $0.00              Hourly                               26.93               0.7            0.5   No                $0.00        $0.00            $6,524.95          $11,572.00
14058224            The Williamsburg    Alvarez Palacios,         *****7983           $6,764.76          $110.02          $0.00              Hourly                               15.49               0.4            0.5   No                $0.00        $0.00            $6,822.05           $6,691.50
                    Hotel BK LLC        Ernesto
14058224            The Williamsburg    Arias, Alicia             *****7147           $5,151.00          $177.06          $0.00              Hourly     Full Time                 12.58               0.3            0.5   No                $0.00        $0.00                $0.00           $5,100.00
14058224            The Williamsburg    Assanova, Aktoty          *****3888          $16,092.91           $38.37          $0.00              Hourly     Full Time                 33.50               0.8            0.5   No                $0.00        $0.00            $8,860.19          $14,763.01
14058224            The Williamsburg    Bacarri, Daniel           *****7304           $1,440.00           $48.99          $0.00              Hourly     Full Time                  3.33               0.1            0.5   No                             $0.00                $0.00           $1,440.00
14058224            The Williamsburg    Bacchus, Kennedy          *****6844          $23,843.75           $49.96          $0.00              Hourly     Full Time                 37.99               0.9            0.5   No                $0.00        $0.00           $12,041.65          $22,356.25
14058224            The Williamsburg    Bacich, Lori              *****8368           $1,071.64           $35.46          $0.00              Hourly                                1.23               0.0            0.5   No                             $0.00                $0.00             $295.00
14058224            The Williamsburg    Bance, Lucien             *****8387          $26,743.20           $54.11          $0.00              Salary     Full Time                 40.00               1.0            1.0   No                $0.00        $0.00           $14,329.34          $25,888.39
14058224            The Williamsburg    Barker, Nicholas          *****7274           $3,780.00          $126.27          $0.00              Hourly     Full Time                  7.50               0.2            0.5   No                             $0.00                $0.00           $3,780.00
14058224            The Williamsburg    Barron de Dominguez,      *****7637           $4,856.00          $162.20          $0.00              Hourly                               12.63               0.3            0.5   No                $0.00        $0.00             $408.34            $4,832.00
                    Hotel BK LLC        Maricela
14058224            The Williamsburg    Bergman, Boruch           *****3161          $31,858.07          $335.85          $0.00              Salary                               37.67               0.9            0.5   No                $0.00         $0.00               $0.00          $31,858.07
14058224            The Williamsburg    Bernal, Jonathan          *****2654           $7,111.14          $236.88          $0.00              Hourly     Part Time                 12.55               0.3            0.5   No                              $0.00               $0.00           $3,082.50
14058224            The Williamsburg    Bettencourt, Cyndal       *****2292           $1,552.16           $51.37          $0.00              Hourly                                1.95               0.0            0.5   Yes                                             $2,889.91             $467.50
14058224            The Williamsburg    Bhutia, Phuntsok Paljor   *****4791           $9,422.25          $106.53          $0.00              Hourly                               23.06               0.6            0.5   No                 $0.00        $0.00           $7,256.57           $9,384.00
14058224            The Williamsburg    Born, Sophia              *****3678           $6,772.50           $17.98          $0.00              Salary                               14.33               0.4            0.5   No             $1,889.64    $3,007.79          $11,260.47           $6,457.50
14058224            The Williamsburg    Brady, Jessica            *****2344           $1,725.50           $57.12          $0.00              Hourly     Part Time                  4.23               0.1            0.5   No                              $0.00               $0.00           $1,725.50
14058224            The Williamsburg    Bros, Matilda             *****6763             $877.09           $29.02          $0.00              Hourly     Part Time                  0.96               0.0            0.5   No                $0.00         $0.00           $1,464.29             $230.00
14058224            The Williamsburg    Burenjargal, Anir         *****4257             $271.65            $8.99          $0.00              Hourly     Part Time                  0.31               0.0            0.5   No                              $0.00               $0.00              $75.00
14058224            The Williamsburg    Bustamante, Andrea        *****7315           $6,440.91          $136.66          $0.00              Hourly     Full Time                 12.47               0.3            0.5   No                $0.00         $0.00           $3,942.66           $3,865.55
14058224            The Williamsburg    Camilo, Milton            *****7670          $15,046.25           $28.81          $0.00              Hourly                               31.99               0.8            0.5   No                $0.00         $0.00          $10,288.06          $14,549.25
14058224            The Williamsburg    Cazares, Enrique          *****6409          $16,730.80           $24.79          $0.00              Other                                26.67               0.7            1.0   Yes                                            $10,425.44          $16,730.80
14058224            The Williamsburg    Chimborazo Yupa,          *****1464           $8,971.75          $298.79          $0.00              Hourly     Full Time                 21.76               0.5            0.5   No                             $0.00                $0.00           $8,691.25
                    Hotel BK LLC        Lourdes
14058224            The Williamsburg    Chodon, Wangdu            *****8049                                $0.00          $0.00              Hourly                                0.33               0.0            0.5   No                $0.00         $0.00           $6,946.99               $0.00
14058224            The Williamsburg    Chu, Vanessa              *****7048           $8,307.70           $11.28          $0.00              Salary     Full Time                 10.00               0.3            1.0   No                $0.00    $12,062.12          $14,711.54           $8,307.70
14058224            The Williamsburg    Clemente, Joseph          *****9224          $11,069.14           $15.28          $0.00              Hourly                               13.15               0.3            0.5   Yes                                             $4,442.14           $3,155.00
14058224            The Williamsburg    Cohen, Evan               *****3569          $14,580.78          $304.05          $0.00              Salary                                8.33               0.2            0.5   No                              $0.00               $0.00          $14,580.78
14058224            The Williamsburg    Contreras, Miguel         *****6263           $3,439.00           $25.49          $0.00              Hourly                                7.54               0.2            0.5   No                 $0.00        $0.00           $8,381.88           $3,439.00
14058224            The Williamsburg    Cruz Quintero, Adriana    *****8454           $1,224.00           $43.33          $0.00              Hourly     Full Time                  3.00               0.1            0.5   No                 $0.00        $0.00               $0.00           $1,224.00
14058224            The Williamsburg    Cuapio, Alfredo           *****1987           $7,158.19          $170.13          $0.00              Hourly                               17.23               0.4            0.5   No                 $0.00        $0.00           $5,653.66           $7,029.50
14058224            The Williamsburg    Cuartianquiz, Cesar       *****8834           $5,206.60            $7.27          $0.00              Hourly                               10.49               0.3            0.5   No                 $0.00        $0.00           $9,266.39           $5,033.40
14058224            The Williamsburg    Defiore, Matthew          *****6459           $9,871.72           $16.49          $0.00              Salary     Full Time                 16.17               0.4            0.5   No             $3,939.22    $4,623.16          $16,404.12           $9,298.26
14058224            The Williamsburg    DeGirolamo, Brittany      *****3132           $8,529.57           $47.27          $0.00              Salary     Full Time                  9.17               0.2            0.5   No             $5,963.47    $7,723.53          $10,739.64           $8,529.57
14058224            The Williamsburg    Deridovich, Nataliia      *****7213           $2,723.09           $92.75          $0.00              Salary     Full Time                  4.00               0.1            0.5   No                              $0.00               $0.00           $2,723.09
14058224            The Williamsburg    Diaz Pantaleon, Juan      *****7577           $7,744.85          $259.02          $0.00              Hourly                               16.11               0.4            0.5   No                              $0.00               $0.00           $5,473.05
14058224            The Williamsburg    Dordevic, Tamara          *****3260           $5,098.85          $168.78          $0.00              Hourly                                8.07               0.2            0.5   No                              $0.00               $0.00           $1,970.00
14058224            The Williamsburg    Dorjee, Tseten            *****3402           $5,973.38          $199.30          $0.00              Hourly                               14.64               0.4            0.5   No                              $0.00               $0.00           $5,967.00
14058224            The Williamsburg    Duarte, Arsenio           *****2822           $5,871.60            $8.73          $0.00              Hourly                               11.23               0.3            0.5   No                $0.00         $0.00           $9,871.50           $5,661.60
14058224            The Williamsburg    Dun, Sangmo               *****2001           $1,496.00           $50.77          $0.00              Hourly     Part Time                  3.67               0.1            0.5   No                              $0.00               $0.00           $1,496.00
14058224            The Williamsburg    El Arabi, Karamallah      *****5827           $4,680.50          $155.41          $0.00              Hourly     Part Time                  8.48               0.2            0.5   No                              $0.00               $0.00           $4,680.50
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14058224            The Williamsburg    Elsaid Abdelwahab,         *****0098       $3,530.00   $116.88    $0.00      Hourly                   7.35       0.2    0.5 No                       $0.00       $0.00     $3,530.00
                    Hotel BK LLC        Hamdy Mustafa
14058224            The Williamsburg    Ervin, Ralph               *****1253       $6,192.29   $208.06    $0.00      Salary   Full Time       7.67       0.2    0.5   No                     $0.00        $0.00    $6,192.29
14058224            The Williamsburg    Ferreira, Vaughan          *****4042       $3,015.36     $4.30    $0.00      Salary   Full Time       4.08       0.1    1.0   No       $0.00    $18,316.79   $15,406.55    $3,015.36
14058224            The Williamsburg    Figueroa, Miguel           *****3378       $1,728.00    $58.52    $0.00      Hourly   Full Time       4.00       0.1    0.5   No                     $0.00        $0.00    $1,728.00
14058224            The Williamsburg    Fischer, Jessica           *****5887       $6,605.50   $219.92    $0.00      Hourly                  11.60       0.3    0.5   No                     $0.00        $0.00    $6,405.50
14058224            The Williamsburg    Garcia Lazaro, Dandy       *****1853       $4,662.00   $155.40    $0.00      Hourly   Full Time      10.79       0.3    0.5   No                     $0.00        $0.00    $4,662.00
14058224            The Williamsburg    Garcia, Jorge              *****4671         $483.87    $16.01    $0.00      Hourly                   0.83       0.0    0.5   No                     $0.00        $0.00      $200.00
14058224            The Williamsburg    Garcia, Samuel             *****2776       $4,748.44   $146.70    $0.00      Hourly                  11.32       0.3    0.5   No        $0.00        $0.00    $6,151.47    $4,619.75
14058224            The Williamsburg    Gomez, Alberto             *****0473      $23,888.24    $36.61    $0.00      Salary                  29.00       0.7    1.0   No    $7,316.93    $2,746.60   $19,236.27   $23,888.24
14058224            The Williamsburg    Gonzalez, Jose             *****2781       $2,253.40    $75.35    $0.00      Hourly                   4.69       0.1    0.5   No        $0.00        $0.00    $2,860.20    $2,253.40
14058224            The Williamsburg    Gonzalez, Karla            *****7862      $13,348.88   $132.89    $0.00      Hourly   Full Time      26.67       0.7    0.5   No        $0.00        $0.00    $6,911.71   $12,578.25
14058224            The Williamsburg    Gonzalez, Steven           *****1897       $1,224.00    $41.77    $0.00      Hourly   Full Time       3.00       0.1    0.5   No                     $0.00        $0.00    $1,224.00
14058224            The Williamsburg    Granger, Jamal             *****3331       $3,996.33   $133.85    $0.00      Hourly                   4.43       0.1    0.5   No       $0.00         $0.00    $1,440.00    $1,062.50
14058224            The Williamsburg    Grichanik, Yelena          *****0601       $7,788.47   $257.80    $0.00      Salary                   9.00       0.2    0.5   No                     $0.00        $0.00    $7,788.47
14058224            The Williamsburg    Gross, Miriam              *****8980      $46,154.64   $105.29    $0.00      Salary   Full Time      39.33       1.0    1.0   Yes                            $23,866.87   $49,076.50
14058224            The Williamsburg    Grznar, Josef              *****3362      $10,230.74   $341.74    $0.00      Salary   Full Time      12.67       0.3    0.5   No                    $0.00         $0.00   $10,230.74
14058224            The Williamsburg    Guernah, Farrouk           *****3168      $12,000.04   $387.12    $0.00      Salary                  17.33       0.4    0.5   No                    $0.00         $0.00   $12,000.04
14058224            The Williamsburg    Guerpillon, Oceane         *****9453       $1,242.00    $41.12    $0.00      Hourly   Part Time       4.63       0.1    0.5   No                    $0.00         $0.00    $1,242.00
14058224            The Williamsburg    Gurung, Karma              *****9896      $10,089.50   $266.91    $0.00      Hourly   Full Time      24.71       0.6    0.5   No       $0.00        $0.00     $3,663.50   $10,064.00
14058224            The Williamsburg    Hassan, Avrohom            *****2040      $31,711.52   $395.16    $0.00      Salary   Full Time      40.00       1.0    0.5   No       $0.00        $0.00         $0.00   $31,711.52
14058224            The Williamsburg    Heinkel, Rachel            *****6452       $8,203.96   $273.53    $0.00      Hourly                  18.40       0.5    0.5   No                    $0.00         $0.00    $7,102.50
14058224            The Williamsburg    Hendricks, Desiree         *****8754      $25,330.74    $52.74    $0.00      Salary                  41.67       1.0    1.0   No     $420.68        $0.00    $16,019.81   $24,619.20
14058224            The Williamsburg    Hernandez Portillo,        *****3854       $2,649.54    $87.69    $0.00      Hourly   Part Time       6.48       0.2    0.5   No                    $0.00         $0.00    $2,630.41
                    Hotel BK LLC        Maria
14058224            The Williamsburg    Hernandez, Mayco           *****4640       $9,922.50   $257.27    $0.00      Hourly   Full Time      22.67       0.6    0.5   No       $0.00         $0.00    $3,875.94    $9,531.00
14058224            The Williamsburg    Herubin, Stanislawa        *****1668       $2,286.00    $80.93    $0.00      Hourly   Full Time       5.29       0.1    0.5   No       $0.00         $0.00        $0.00    $2,286.00
14058224            The Williamsburg    Hubbard, Ellis             *****2326       $4,463.47   $148.72    $0.00      Hourly   Full Time       8.20       0.2    0.5   No                     $0.00        $0.00    $2,340.00
14058224            The Williamsburg    Huerfano, Daniela          *****9973      $11,038.43   $368.47    $0.00      Salary   Full Time      13.67       0.3    0.5   No                     $0.00        $0.00   $11,038.43
14058224            The Williamsburg    Huerta, Veronica           *****9446       $2,282.25    $76.53    $0.00      Hourly   Part Time       5.59       0.1    0.5   No                     $0.00        $0.00    $2,282.25
14058224            The Williamsburg    Infante, Juan              *****8236       $4,344.30     $5.36    $0.00      Hourly                   7.35       0.2    0.5   No       $0.00         $0.00    $3,417.45    $1,765.00
14058224            The Williamsburg    Jackson, Tywanna           *****8409       $2,450.00     $2.71    $0.00      Salary                   4.67       0.1    1.0   No       $0.00    $17,270.88   $14,242.86    $2,450.00
14058224            The Williamsburg    Johnson, Kimberly          *****3632      $12,124.86   $387.28    $0.00      Hourly   Part Time      14.80       0.4    0.5   No                     $0.00        $0.00    $3,552.50
14058224            The Williamsburg    Kalyasev, Igor             *****7199       $5,712.00   $189.04    $0.00      Hourly   Full Time      11.32       0.3    0.5   No                     $0.00        $0.00    $5,696.25
14058224            The Williamsburg    Karp, Julia                *****8522       $6,268.59   $209.31    $0.00      Hourly   Part Time       6.77       0.2    0.5   No                     $0.00        $0.00    $1,625.00
14058224            The Williamsburg    Khan, Iman                 *****6297       $2,745.00    $91.97    $0.00      Hourly   Full Time       7.63       0.2    0.5   No                     $0.00        $0.00    $2,745.00
14058224            The Williamsburg    Kim, Sehee                 *****8752       $9,300.02   $310.54    $0.00      Salary   Full Time      13.00       0.3    0.5   No                     $0.00        $0.00    $9,300.02
14058224            The Williamsburg    Kirschner, Mark            *****7032      $46,154.64   $112.07    $0.00      Salary                  38.00       1.0    1.0   Yes                            $27,725.24   $50,230.76
14058224            The Williamsburg    Kogut, Angelika            *****6251       $1,946.50    $64.44    $0.00      Hourly   Full Time       4.77       0.1    0.5   No                     $0.00        $0.00    $1,946.50
14058224            The Williamsburg    Kotsovska, Iryna           *****7328       $5,414.50   $182.04    $0.00      Hourly   Part Time      13.27       0.3    0.5   No       $0.00         $0.00        $0.00    $5,414.50
14058224            The Williamsburg    Krasniqi, Gentil           *****1500       $6,945.23    $10.42    $0.00      Hourly                   8.73       0.2    0.5   Yes                             $6,331.35    $3,573.00
14058224            The Williamsburg    Kropiwnicki, Julita        *****8263      $46,154.64   $122.34    $0.00      Salary   Full Time      40.00       1.0    1.0   Yes                            $33,501.35   $59,254.77
14058224            The Williamsburg    Kumpulainien, Corey        *****3687      $18,400.00   $370.68    $0.00      Salary                  15.83       0.4    0.5   No                     $0.00        $0.00   $18,400.00
14058224            The Williamsburg    Larrea Gamboa, Maria       *****8487       $2,401.40    $81.27    $0.00      Hourly   Part Time       2.79       0.1    0.5   No                     $0.00        $0.00      $670.00
14058224            The Williamsburg    Lee, Brianna               *****3370         $680.00    $22.77    $0.00      Hourly   Part Time       1.67       0.0    0.5   No       $0.00         $0.00    $2,188.75      $680.00
14058224            The Williamsburg    Lengani, Ibrahim           *****9401       $4,326.50   $144.42    $0.00      Hourly   Full Time      10.56       0.3    0.5   No                     $0.00        $0.00    $4,275.50
14058224            The Williamsburg    Lewis, Nyeelah             *****4113       $7,870.00   $262.85    $0.00      Hourly   Part Time      16.40       0.4    0.5   No                     $0.00        $0.00    $7,870.00
14058224            The Williamsburg    Lisker, Daniella           *****1070      $38,336.56   $453.12    $0.00      Salary                  43.33       1.0    0.5   No       $0.00         $0.00        $0.00   $38,336.56
14058224            The Williamsburg    Magtzul Tuy, Felix Mario   *****7443      $16,920.88   $396.67    $0.00      Hourly   Part Time      22.58       0.6    0.5   No                     $0.00        $0.00    $5,345.00
14058224            The Williamsburg    Mahamed, Muna              *****4846       $7,493.73   $249.38    $0.00      Hourly                  11.09       0.3    0.5   No                     $0.00        $0.00    $3,973.25
14058224            The Williamsburg    Mahmud, Ashif              *****8037       $1,118.11    $37.01    $0.00      Hourly                   1.85       0.0    0.5   No       $0.00         $0.00    $3,870.09      $445.00
14058224            The Williamsburg    Makayan, Kevin             *****4847       $1,361.50    $45.05    $0.00      Hourly                   1.52       0.0    0.5   Yes                                 $0.00      $365.00
14058224            The Williamsburg    Manfredo, Joseph           *****4753      $13,730.73   $389.41    $0.00      Salary                  18.00       0.5    0.5   No                     $0.00        $0.00   $13,730.73
14058224            The Williamsburg    Mantilla, Concepcion       *****7629       $6,086.88   $106.29    $0.00      Hourly   Full Time      14.55       0.4    0.5   No       $0.00         $0.00    $7,239.57    $5,814.00
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14058224            The Williamsburg    Manuel, Grant              *****5699      $10,875.04    $14.63    $0.00      Salary                  15.67       0.4    1.0   No    $0.00   $11,320.68   $16,030.24   $10,875.04
14058224            The Williamsburg    Martinez, Nelson           *****7883      $15,363.75   $394.88    $0.00      Salary                  24.54       0.6    0.5   No    $0.00        $0.00        $0.00   $15,363.75
14058224            The Williamsburg    Martinez, Nicholas         *****5292       $1,372.75    $45.75    $0.00      Hourly                   3.36       0.1    0.5   No                 $0.00        $0.00    $1,372.75
14058224            The Williamsburg    Martinez, Valentin         *****9127       $3,310.87   $110.65    $0.00      Hourly   Full Time       7.88       0.2    0.5   No    $0.00        $0.00    $4,622.01    $3,213.00
14058224            The Williamsburg    Matera, Ewa                *****5914      $11,861.76   $392.30    $0.00      Hourly   Full Time      28.86       0.7    0.5   No    $0.00        $0.00        $0.00   $11,606.75
14058224            The Williamsburg    Matias Ruiz, Jose          *****9598       $6,480.18   $102.18    $0.00      Hourly                  14.65       0.4    0.5   No    $0.00        $0.00    $7,367.64    $6,328.44
                    Hotel BK LLC        Rodolfo
14058224            The Williamsburg    Mccarthy, Kerrel           *****6353       $2,133.69    $70.63    $0.00      Hourly                   4.52       0.1    0.5 No      $0.00       $0.00     $3,798.71    $1,085.00
14058224            The Williamsburg    Meckl, Jesse               *****9933       $1,262.25    $41.78    $0.00      Hourly   Part Time       3.09       0.1    0.5 No                  $0.00         $0.00    $1,262.25
14058224            The Williamsburg    Medrano Barzola,           *****5689       $4,365.00   $145.51    $0.00      Hourly   Part Time      10.10       0.3    0.5 No                  $0.00         $0.00    $4,365.00
                    Hotel BK LLC        Serafina
14058224            The Williamsburg    Melendres, Dennis          *****9629      $18,415.63    $44.30    $0.00      Hourly   Full Time      36.16       0.9    0.5   No    $0.00       $0.00     $8,549.83   $16,002.00
14058224            The Williamsburg    Metok, Tenzin              *****2616      $10,004.50    $92.29    $0.00      Hourly                  24.46       0.6    0.5   No    $0.00       $0.00     $7,282.82    $9,928.00
14058224            The Williamsburg    Monroy, Jose Raul          *****3427      $27,587.51   $424.97    $0.00      Hourly                  54.02       1.0    1.0   No    $0.00       $0.00         $0.00   $20,536.75
14058224            The Williamsburg    Moussa, Traore             *****5208       $9,400.88   $134.91    $0.00      Hourly                  23.61       0.6    0.5   No    $0.00       $0.00     $6,928.94    $9,252.38
14058224            The Williamsburg    Murphy, Shanon             *****8705         $745.22    $24.67    $0.00      Hourly   Part Time       1.41       0.0    0.5   No                $0.00         $0.00      $377.50
14058224            The Williamsburg    Natuzzi, Olivia            *****4664      $13,349.50   $109.35    $0.00      Hourly   Full Time      23.60       0.6    0.5   No    $0.00       $0.00     $7,970.11   $13,029.50
14058224            The Williamsburg    Nguyen, Pierre             *****9348       $9,064.63   $302.35    $0.00      Hourly   Full Time      19.51       0.5    0.5   No    $0.00       $0.00       $703.00    $8,854.00
14058224            The Williamsburg    Nuding, Natalie            *****0344       $1,013.48    $33.54    $0.00      Hourly   Part Time       1.19       0.0    0.5   No                $0.00         $0.00      $285.00
14058224            The Williamsburg    Pahukoa-Mirafuentes,       *****3124       $2,436.18    $81.45    $0.00      Hourly   Full Time       5.34       0.1    0.5   No                $0.00         $0.00    $2,436.18
                    Hotel BK LLC        Lawrence
14058224            The Williamsburg    Paul, Jean                 *****8467      $13,340.00    $46.76    $0.00      Hourly                  26.76       0.7    0.5   No    $0.00        $0.00    $8,744.23   $12,815.00
14058224            The Williamsburg    Perez, Jesus               *****7953       $5,888.01    $20.00    $0.00      Hourly                  10.30       0.3    0.5   No    $0.00        $0.00   $10,057.43    $5,068.01
14058224            The Williamsburg    Perez, Nathalia            *****8037       $4,850.00   $160.56    $0.00      Hourly                  12.48       0.3    0.5   No                 $0.00        $0.00    $4,676.00
14058224            The Williamsburg    Phuntsok, Tenzing          *****7770      $10,372.50   $174.20    $0.00      Hourly                  23.97       0.6    0.5   No    $0.00        $0.00    $5,451.43   $10,318.50
14058224            The Williamsburg    Posner, Eliezer            *****0312      $20,730.78   $434.81    $0.00      Salary                  23.33       0.6    0.5   No    $0.00        $0.00        $0.00   $20,730.78
14058224            The Williamsburg    Quintero, Paul             *****9949      $14,180.97     $0.00    $0.00      Hourly   Full Time      23.29       0.6    0.5   No    $0.00        $0.00   $11,517.46   $13,536.36
14058224            The Williamsburg    Qurashi, Mudassir          *****2242      $32,283.62     $0.00    $0.00      Salary                  40.00       1.0    1.0   Yes                        $19,638.78   $31,139.39
14058224            The Williamsburg    Ramirez, Daniel            *****2171       $5,936.83   $197.82    $0.00      Hourly                  12.34       0.3    0.5   No                 $0.00        $0.00    $3,275.00
14058224            The Williamsburg    Ramirez, Raul              *****5744      $12,036.50    $33.95    $0.00      Salary                  22.33       0.6    0.5   No    $0.00        $0.00   $12,707.41   $11,296.12
14058224            The Williamsburg    Rauch, Jeremy              *****6336      $46,154.64   $107.08    $0.00      Salary   Full Time      40.00       1.0    1.0   Yes                        $27,725.24   $46,153.84
14058224            The Williamsburg    Redondo Ferrell, Juliana   *****7590       $2,635.91    $88.69    $0.00      Hourly   Part Time       3.06       0.1    0.5   No                $0.00         $0.00      $735.00
14058224            The Williamsburg    Reedy, Dax                 *****8433       $1,669.50    $55.29    $0.00      Hourly   Part Time       3.86       0.1    0.5   No                $0.00         $0.00    $1,669.50
14058224            The Williamsburg    Rooney, Claire             *****0605       $3,589.13   $118.78    $0.00      Hourly                  10.16       0.3    0.5   No                $0.00         $0.00    $3,531.75
14058224            The Williamsburg    Rosario, Giovanni          *****2975         $691.42    $23.03    $0.00      Hourly                   1.23       0.0    0.5   No    $0.00       $0.00     $1,967.82      $295.00
14058224            The Williamsburg    Rosenbloom, Hannah         *****3666       $7,753.00   $258.39    $0.00      Hourly   Full Time      18.47       0.5    0.5   No                $0.00         $0.00    $6,229.00
14058224            The Williamsburg    Ruiz, Ricardo              *****7915         $700.18    $23.18    $0.00      Hourly   Full Time       2.02       0.1    0.5   No                $0.00         $0.00      $470.00
14058224            The Williamsburg    Saldana Quito, Carolina    *****4568      $14,207.15   $176.23    $0.00      Hourly                  33.99       0.8    0.5   No    $0.00       $0.00     $6,521.28   $13,734.40
                    Hotel BK LLC        Estefania
14058224            The Williamsburg    Sanchez, Rafael            *****4389       $5,926.88   $197.34    $0.00      Hourly                  15.03       0.4    0.5   No    $0.00        $0.00    $4,064.52    $5,676.00
14058224            The Williamsburg    Santos, Misael             *****0983       $3,797.38   $127.13    $0.00      Hourly   Part Time       9.28       0.2    0.5   No                 $0.00        $0.00    $3,765.50
14058224            The Williamsburg    Sart, Alexandre            *****4918       $9,000.00   $297.96    $0.00      Salary   Full Time       6.67       0.2    0.5   No                 $0.00        $0.00    $9,000.00
14058224            The Williamsburg    Sassen, Brian              *****0975         $744.69    $24.65    $0.00      Hourly                   0.88       0.0    0.5   No                 $0.00        $0.00      $210.00
14058224            The Williamsburg    Schepansky, Moshe          *****8262      $46,154.64   $392.11    $0.00      Salary                  39.33       1.0    0.5   No    $0.00        $0.00        $0.00   $72,273.77
14058224            The Williamsburg    Shepperd, Jennifer         *****7040       $2,983.31   $100.18    $0.00      Hourly   Part Time       3.51       0.1    0.5   No                 $0.00        $0.00      $842.50
14058224            The Williamsburg    Sherpa, Gelbu              *****0418       $4,021.83   $133.90    $0.00      Hourly                   7.17       0.2    0.5   No    $0.00        $0.00    $3,485.23    $2,427.50
14058224            The Williamsburg    Sheynkman, Jonathan        *****8573      $32,461.52   $435.62    $0.00      Salary                  43.33       1.0    0.5   No    $0.00        $0.00        $0.00   $32,461.52
14058224            The Williamsburg    Smith, Jake                *****3735       $2,297.34    $77.59    $0.00      Hourly   Part Time       3.90       0.1    0.5   No                 $0.00        $0.00      $935.00
14058224            The Williamsburg    Sozanska, Ewa              *****4856       $6,863.00    $89.26    $0.00      Hourly                  14.20       0.4    0.5   No    $0.00        $0.00    $7,425.88    $6,623.00
14058224            The Williamsburg    Stong, Emily               *****9192         $912.00    $31.77    $0.00      Hourly   Part Time       2.00       0.1    0.5   No                 $0.00        $0.00      $912.00
14058224            The Williamsburg    Stroud, Tatyianna          *****1890       $3,767.20   $125.40    $0.00      Hourly                   9.81       0.2    0.5   No                 $0.00        $0.00    $3,767.20
14058224            The Williamsburg    Tarrats, Fernando          *****6026      $15,490.00    $33.94    $0.00      Hourly                  31.27       0.8    0.5   No    $0.00        $0.00   $10,101.60   $15,010.00
14058224            The Williamsburg    Tenzin Dawa, FNU           *****5435         $816.00    $27.01    $0.00      Hourly                   2.00       0.1    0.5   No                 $0.00        $0.00      $816.00
14058224            The Williamsburg    Tenzin Tsering, FNU        *****9872      $12,962.50   $395.48    $0.00      Hourly   Full Time      31.63       0.8    0.5   No    $0.00        $0.00        $0.00   $12,784.00
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14058224              The Williamsburg        Tenzin, Sherub            *****5787                  $10,282.88            $116.39             $0.00                   Hourly                                              25.14                    0.6    0.5   No         $0.00        $0.00     $7,324.01     $10,200.00
14058224              The Williamsburg        Thomas, Belmary           *****8567                   $1,089.74             $36.82             $0.00                   Hourly         Full Time                             1.39                    0.0    0.5   No         $0.00        $0.00     $9,046.46        $764.75
14058224              The Williamsburg        Thomas, Lorraine          *****3551                   $9,076.94            $302.60             $0.00                   Other          Full Time                            14.00                    0.4    0.5   No                      $0.00         $0.00      $9,076.94
14058224              The Williamsburg        Toribio Torres, Dany      *****3672                   $1,823.98             $60.36             $0.00                   Hourly                                               3.43                    0.1    0.5   No                      $0.00         $0.00      $1,233.75
14058224              The Williamsburg        Trzaska, Batrosz          *****5623                   $1,145.80             $40.57             $0.00                   Hourly                                               2.81                    0.1    0.5   No         $0.00        $0.00         $0.00      $1,145.80
14058224              The Williamsburg        Tseten, Dawa              *****8462                   $6,596.00            $219.90             $0.00                   Hourly                                              16.07                    0.4    0.5   No                      $0.00         $0.00      $6,481.25
14058224              The Williamsburg        Tsirlin, Jonathan         *****6631                   $2,423.08             $82.43             $0.00                   Salary         Full Time                             5.00                    0.1    0.5   No                      $0.00         $0.00      $2,423.08
14058224              The Williamsburg        Urbina, Joseph            *****1202                   $1,826.99              $3.16             $0.00                   Hourly                                               3.40                    0.1    0.5   Yes                               $4,095.12        $815.00
14058224              The Williamsburg        Van Dette, Taylor         *****2888                     $699.24             $23.14             $0.00                   Hourly                                               1.42                    0.0    0.5   No                      $0.00         $0.00        $367.50
14058224              The Williamsburg        Wakkary, Frederick        *****8074                   $7,097.54            $162.48             $0.00                   Hourly                                              13.18                    0.3    0.5   No         $0.00        $0.00     $2,605.00      $3,162.50
14058224              The Williamsburg        Walter, Amber             *****2451                     $842.38             $28.41             $0.00                   Hourly         Part Time                             1.41                    0.0    0.5   No                      $0.00         $0.00        $337.50
14058224              The Williamsburg        Wanpen, Chackapong        *****9422                     $537.12              $1.83             $0.00                   Salary         Full Time                             1.00                    0.0    0.5   No     $4,370.90    $4,370.90    $13,855.42        $537.12
14058224              The Williamsburg        Williams, Steven          *****2579                   $9,409.42             $12.30             $0.00                   Hourly         Full Time                            11.85                    0.3    0.5   Yes                               $6,111.41      $5,121.00
14058224              The Williamsburg        Yan, Louis                *****7088                   $7,442.28              $8.97             $0.00                   Salary                                               8.00                    0.2    1.0   Yes                              $23,571.42      $7,442.28
14058224              The Williamsburg        Yanez, Ariana             *****5576                   $4,754.88            $160.08             $0.00                   Hourly         Full Time                             8.36                    0.2    0.5   No                      $0.00         $0.00      $2,365.75
14058224              The Williamsburg        YongDrung Gurmey, Fnu     *****8011                   $1,360.00             $48.14             $0.00                   Hourly                                               3.33                    0.1    0.5   No         $0.00        $0.00     $6,970.61      $1,360.00
14058224              The Williamsburg        Zhumi Dutan, Luis         *****4065                     $475.17             $15.73             $0.00                   Hourly         Part Time                             1.09                    0.0    0.5   No                      $0.00         $0.00        $262.50
14058224                                      Subtotal                                          $1,452,683.43         $21,813.90             $0.00                                                                                                      89.0         $23,900.84   $81,442.45   $655,506.07   $1,349,600.86
                                              Total                                             $1,452,683.43         $21,813.90             $0.00                                                                                                      89.0         $23,900.84   $81,442.45   $655,506.07   $1,349,600.86

Legal Disclaimer

The Loan Forgiveness Estimator (Estimator), Loan Forgiveness Report (Report), and any loan forgiveness application forms generated from Paychex Flex are based solely on information you provided. You are solely responsible for reviewing
the Estimator, the Report, and their underlying assumptions and making any required changes prior to generating your loan forgiveness application form. We are not responsible for any errors resulting from incorrect information or assumptions.
The Estimator and Report are based on the CARES Act, PPP Flexibility Act of 2020, the SBA Interim Final Rules, the loan forgiveness applications, and related guidance as of the date listed below and are subject to change. If further law,
regulation, or guidance requires updating either the Estimator, the Report, or the loan forgiveness application forms, you are solely responsible for obtaining an updated report. We are not responsible for the accuracy of the Estimator, the
Report, or any loan application forms generated from Paychex Flex and are not responsible for any errors or omissions contained in the Estimator, the Report, or the loan application forms. You are solely responsible for seeking loan forgiveness
and reviewing and certifying the correctness of the information contained in your loan forgiveness application. The Estimator, the Report, and any loan applications generated from Paychex Flex are included in your payroll services and provided
subject to the terms and conditions of your service agreement with us. The information in these materials should not be considered legal, accounting, investment, or fiduciary advice. If you require legal or investment advice or need other
professional assistance, you should always consult your attorney or other professional advisor to discuss your particular facts and circumstances.

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                                EXHIBIT E
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                                EXHIBIT F
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                                                  LOAN AGREEMENT
                    THIS LOAN AGREEMENT, made and entered into this ___          April
                                                                       18 day of _____________, 2020,
            by and between The   Williamsburg Hotel BK LLC
                             _________________________________________________________________
            (collectively, “Borrower”) and Live Oak Banking Company (“Lender”).

                                                     WITNESSETH

                   WHEREAS, of even date herewith, Lender and Borrower have entered into that certain
            U.S. Small Business Administration (“SBA”) loan wherein the Lender agreed to provide a loan
            (the “Loan”) to Borrower for up
             ONE MILLION, FOUR HUNDRED THIRTY EIGHT THOUSAND
             __________________________________________________________             and 00 /100 DOLLARS
            ($ 1,438,000.00                         ) under the Paycheck Protection Program offered by the
            SBA under the Coronavirus Aid, Relief, and Economic Security Act (CARES Act), section
            7(a)(36) of the Small Business Act; and

                   WHEREAS, in order to loan funds to Borrower, Lender enters into this Loan Agreement
            with Borrower for the purposes herein contained; and

                   NOW, THEREFORE, for and in consideration of the premises, the sum of Ten ($10.00)
            Dollars and other good and valuable consideration the receipt and sufficiency of which are hereby
            acknowledged, the parties agree as follows:

                                                    ARTICLE I
                                            AMOUNT AND TERMS OF LOAN

                    1.1     RECITALS. Each of the above recitals are hereby incorporated into and made a
            part of this Agreement by this reference.

                    1.2    LOAN AND NOTE. The term “Loan” herein shall refer to the indebtedness of
            Borrower to Lender evidenced by a Note in the original principal amount of
             ONE  MILLION, FOUR HUNDRED THIRTY EIGHT THOUSAND
              __________________________________________________________             and 00/100 DOLLARS
            ($ 1,438,000.00                    ) in form satisfactory to Lender (the “Note”).
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                     1.3    FORGIVENESS. The Note is subject to partial or full forgiveness, the terms of
            which are dictated by the SBA, the CARES Act, section 7(a)(36) of the Small Business Act, all
            rules and regulations promulgated thereunder including, without limitation, Interim Final Rule
            RIN 3245-AH34, subsequent SBA guidance, and the Code of Federal Regulations (the
            “Forgiveness”). The Loan can be forgiven up to the full principal amount of the Loan in the event
            that Borrower (i) uses all proceeds for eligible purposes; (ii) maintains certain employment levels;
            and (iii) maintains certain compensation levels, in each case in accordance with and subject to the
            CARES Act and the rules, regulations and guidance promulgated thereunder. Borrower
            acknowledges that the calculation methodology for the amount of Forgiveness (the “Forgiveness
            Amount”) is solely dictated by SBA and federal rules, regulations, and laws, and is not dictated by
            the policies, procedures, or guidelines of Lender. Therefore, Borrower agrees to hold Lender and
            its respective affiliates, subsidiaries, directors, officers and employees (“Lender Parties”) harmless
            against, and releases Lender Parties from, all losses, claims, and damages which Borrower and its
            affiliates, subsidiaries, directors, officers and employees incur arising out of or relating to the
            Forgiveness and the calculation of the Forgiveness Amount. In connection with and at any and all
            times following the Forgiveness, Borrower agrees to execute and deliver any and all documents
            that may be required by the Lender to evidence the Forgiveness Amount, the revised outstanding
            balance and amortization of the Loan, and the monthly principal and interest payments due under
            the Note for the remainder of its term.

                    1.4     FORGIVENESS DOCUMENTATION. As a part of the application for the Loan,
            Borrower has provided Lender certain documentation verifying the number of full-time equivalent
            employees on the Borrower’s payroll as well as the dollar amounts of payroll costs, covered
            mortgage interest payments, covered rent payments, covered utilities for the Loan, and other
            supporting documentation (“Documentation”). Any request for Forgiveness must be accompanied
            with supporting documentation similar in form and fashion to the Documentation, as well as any
            other tax filings, cancelled checks and additional information Lender or SBA may request.

                   1.5     USE OF PROCEEDS. Borrower shall only use the proceeds of the Loan for
            purposes authorized under the CARES Act and the rules, regulations and guidance promulgated
            thereunder. Borrower shall not use any proceeds of the Loan for (i) personal, family or household
            purposes; (ii) payments, distributions or loans to Borrower or any associate or principal of
            Borrower, except for compensation actually rendered at a fair and reasonable rate; (iii) payments
            of delinquent Internal Revenue Service withholding/payroll taxes; or (iv) payments towards
            personal debt.


                                                     ARTICLE II
                                                CONDITION OF LENDING

                    2.1     CONDITIONS PRECEDENT TO THE LOAN. As a condition precedent to Lender
            making the Loan, the Borrower shall deliver to Lender on or before the date of the Loan closing,
            the following, in form and substance satisfactory to Lender:

                            a.      Note; and
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                          b.        Such other documents as reasonably may be required by the Lender or
            Lender’s counsel.

                   The Loan documents as provided above (collectively, the “Loan Documents”), when
           prepared, shall set forth the matters contained in the Loan Agreement and contain such other
           provisions as are deemed necessary or desirable by Lender. The form and substance of all such
           documents must be satisfactory to Lender prior to disbursement by Lender of any of the proceeds
           of the Loan.

                                              ARTICLE III
                                REPRESENTATIONS AND WARRANTIES OF BORROWER

                    The Borrower represents and warrants to, and agrees with the Lender as follows:

                    3.1     POWER AND AUTHORIZATION.

                           a.      The Borrower has authorized the execution and delivery of the Note and all
            other documents contemplated by this Loan Agreement, and such execution and delivery will not
            violate any law, or any other agreement to which Borrower is a party.

                          b.     This Loan Agreement constitutes, and upon execution and delivery thereof,
            the Note, and the Loan Documents will constitute, legal, valid and binding obligations of the
            Borrower enforceable against the Borrower.

                    3.2      BORROWER AND OPERATING COMPANY CERTIFICATIONS.                            The
            Borrower, for itself and its operating company, affirm that the SBA representations and
            certifications stated in Exhibit A are true and correct and are incorporated by reference.

                    3.3     FINANCIAL CONDITION. The reports and financial statements of Borrower
            submitted to Lender in connection with the Loan have been prepared from Borrower’s records in
            accordance with generally accepted accounting principles and practices, consistently applies, fairly
            reflect the financial condition of Borrower for the periods therein defined. No material adverse
            changes have since occurred.

                                                   ARTICLE IV
                                             COVENANTS BY BORROWER

                     Until all the obligations of Borrower under this Agreement have been performed and paid
            in full, Borrower covenants and agrees as follows:

                    4.1    MAINTENANCE OF BUSINESS AND CORPORATE EXISTENCE. Borrower
            shall comply with all valid and applicable statutes, ordinances, rules and regulations and shall keep
            in force and effect all licenses, permits, bonds and franchises necessary for the proper conduct of
            its business.
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                    4.2     MANAGEMENT AND OWNERSHIP. No material change shall be made without
            the prior written consent of Lender in the management or ownership of Borrower, or in the manner
            in which its business is conducted. Said consent shall not be unreasonably withheld by Lender.

                    4.3   TAXES. Borrower shall pay promptly, when due, all taxes, assessments and
            governmental charges or levies imposed upon the Borrower or upon the income or any property
            of the Borrower.

                    4.4    EXAMINATION OF RECORDS. Borrower shall permit any representative of
            Lender to examine and to audit any or all of Borrower’s books and records and to copy portions
            thereof upon receipt of reasonable notification and request.

                    4.5      USA PATRIOT ACT VERIFICATION INFORMATION. Borrower shall provide
            evidence of its legal name, tax identification number, and street address, and a driver’s license and
            date of birth (if the Borrower is an individual), satisfactory to and sufficient for the Bank to verify
            the identity of the Borrower, as required under the USA Patriot Act. Borrower shall notify Bank
            promptly of any change in such information.

                                                       ARTICLE V
                                                   EVENTS OF DEFAULT

                   5.1      The occurrence of any one or more of the following shall constitute an “Event of
            Default”:

                           a.    Nonpayment, when due, of any principal, accrued interest, premium, fee or
            other charge due under the Note.

                           b.      Default by Borrower in the due observance or performance of any term,
            covenant, condition or agreement on its part to be performed under this Loan Agreement, the Note,
            or under any other document contemplated by this Loan Agreement.

                            c.      If Borrower shall:

                                    1)       Make a general assignment for the benefit of its creditors;
                                    2)       File a voluntary petition in bankruptcy;
                                    3)       Be adjudicated as bankrupt or insolvent;
                                    4)       File any petition or answer seeking, consenting to, or acquiescing
                                             in, reorganization, arrangement, composition, liquidation,
                                             dissolution or similar relief, under any present or future statute, law
                                             or regulation;
                                    5)       File an answer admitting or failing to deny the material allegations
                                             of the petition against it for any such relief;
                                    6)       Admit in writing its inability to pay its debts as they mature;
                                    7)       Discontinue business; or
                                    8)       Be unable to pay debts as they become due.
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                          d.     Borrower fails to have vacated or set aside within thirty (30) days of its
            entry any court order appointing a receiver or trustee for all or a substantial portion of the
            Borrower’s property.

                           e.      Any warranty, representation or statements made or furnished to Lender by
            Borrower in connection with the Loan or in connection with this Agreement (including any
            warranty, representation or statement in the application of Borrower for the Loan or in any
            accompanying financial statements) or to induce Lender to make the Loan, proves to be untrue,
            misleading or false in any material respect.

                           f.     Borrower defaults in the payment of any principal or interest on any
            obligation to Lender or to any other creditor.

                                                   ARTICLE VI
                                          REMEDIES ON EVENT OF DEFAULT

                    6.1   DECLARE NOTE DUE. Upon the occurrence of any Event of Default as defined
            in this Agreement, the Note, or any other document contemplated by this Agreement, then in any
            such event, Lender at its option, may declare the entire unpaid balance of the Note to be forthwith
            due and payable, and thereupon such balance shall become so due and payable without
            presentment, protest or further demand or notice of any kind, all of which are hereby expressly
            waived, and Borrower will forthwith pay to Lender the entire principal of and interest accrued on
            the Note.

                    6.2     OTHER REMEDIES. Upon the occurrence or discovery of an Event of Default the
            Lender shall, in addition to its option to declare the entire unpaid amount of the Note due and
            payable, at its option exercise any and all rights of setoff which Lender may have against any
            account, fund or property of any kind, tangible or intangible, belonging to Borrower and which
            shall be in Lender’s possession or under Lender’s control.


                                                   ARTICLE VII
                                                  MISCELLANEOUS

                    7.1    CLOSING. The Lender shall not be obligated to make the Loan or advance any
            funds until Borrower has fully met all requirements herein set forth to be met by Borrower, and
            until Borrower has paid to Lender and any other parties entitled thereto, all fees and other charges
            due in connection with the Loan.

                    7.2      AMENDMENTS. No amendment of any provisions of this Loan Agreement, nor
            consent to any departure of Borrower therefrom, shall in any event be effective unless the same
            shall be in writing and signed by Lender and then such waiver or consent shall be effective only
            in the specific instance and for the specific purpose for which given.
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                    7.3    NOTICES. All notices and other communications provided for hereunder shall be
            in writing and mailed or telegraphed or delivered. If to Borrower, the address noted in the Note.
            If to Lender, 1741 Tiburon Drive, Wilmington, North Carolina 28403, Attn: PPP Processing.

                   7.4    GOVERNING LAW AND PARTIES BOUND. This Agreement and the Note shall
            be governed by and construed in accordance with the laws of the State of North Carolina and shall
            be binding upon and shall inure to the benefit of the parties hereto, their successors and assigns.

                    7.5     ATTORNEY’S FEES AND EXPENSES. If Lender shall incur any cost or expense,
            including, without limitation, reasonable attorney’s fees, in connection with enforcing this
            Agreement, the Note or the Loan, in any manner whatsoever, direct or indirect, whether with
            regard to the collection of amounts due, defense of Lender or otherwise, upon demand by Lender,
            Borrower shall pay the same or shall reimburse Lender therefor in full.

                    7.6     ASSIGNMENT BY BORROWER. No commitment issued by Lender to Borrower
            for the Loan nor any of Borrower’s rights hereunder shall be assignable by Borrower without the
            prior written consent of Lender.

                    7.7     NO WAIVER: REMEDIES. No failure on the part of the Lender, and no delay in
            exercising any right under this Loan Agreement, shall operate as a waiver thereof; nor shall any
            single or partial exercise of any right under this Loan Agreement preclude any other or further
            exercise thereof or the exercise of any other right.

                    7.8   SEVERABILITY. In the event that any clause or provisions of this Loan
            Agreement or any document instrument contemplated by this Agreement shall be held to be invalid
            by any court of competent jurisdiction, the invalidity of such clause or provision shall not affect
            any of the remaining portions or provisions of this Loan Agreement.

                    7.9     TIME. Time is the essence of this Agreement.

                    7.10 CONSENT TO SHARE INFORMATION. Borrower understands and
            acknowledges that Lender the other “Receiving Parties,” as hereafter defined, are authorized to
            obtain, use and share the undersigned’s tax information, financial information, and Loan
            information for purposes of (i) originating, maintaining, managing, monitoring, servicing, selling,
            insuring, participating, or securitizing the Loan; (ii) marketing purposes, or (iii) as otherwise
            permitted by applicable laws, including state and federal privacy and data security laws. This
            includes Lender’s affiliates, agents, and any aforementioned parties’ respective successors and
            assigns. The term “Receiving Parties,” as used above, includes (i) any actual owners of the Loan,
            (ii) any potential purchasers of the Loan, or (iii) any acquirers of any beneficial or other interest in
            the Loan (including, but not limited to, the United States Small Business Administration, any
            investor or participant to whom the Bank may sell or participate all or any portion of the loan, any
            mortgage/title insurer, guarantor, any servicers or service providers for the forgoing parties and
            any of aforementioned parties’ respective successors and assigns).

                                      [SEPARATE SIGNATURE PAGE FOLLOWS]
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                    IN WITNESS WHEREOF, the parties have executed this Loan Agreement as of the date
            first above written.


                                                                     BORROWER:
                                                                     The Williamsburg Hotel BK LLC




                                                                     By:_________________________
                                                                     Name: Toby Moskovits
                                                                     Title: CEO
                                                                     Date: 4/18/2020 | 8:38 PM PDT


                                                                     LENDER:

                                                                     LIVE OAK BANKING COMPANY


                                                                     By:__________________________
                                                                     Name: Alexandra Umstead-Wrenn
                                                                     Title: VP - Closing
                                                                     Date: 4/19/2020 | 7:42 AM EDT
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                                                             EXHIBIT A

                                      Borrower and Operating Company Certifications

            In order to induce Lender to make an SBA guaranteed Loan to Borrower:

                A. Borrower affirms the representations in the SBA Form 2483 application and states that:

            It was in operation on February 15, 2020 and had employees for whom it paid salaries and payroll
            taxes or paid independent contractors, as reported on Form(s) 1099-MISC.

            Current economic uncertainty makes this loan request necessary to support the ongoing operations
            of the Borrower. The funds will be used to retain workers and maintain payroll or make mortgage
            interest payments, lease payments, and utility payments, as specified under the Paycheck
            Protection Program Rule. If the funds are knowingly used for unauthorized purposes, the federal
            government may hold Borrower and Loan applicant legally liable, such as for charges of fraud.

            The Borrower will provide to the Lender documentation verifying the number of full-time
            equivalent employees on the Borrower’s payroll as well as the dollar amounts of payroll costs,
            covered mortgage interest payments, covered rent payments, and covered utilities for the eight-
            week period following the Loan.

            That Loan forgiveness will be provided for the sum of documented payroll costs, covered mortgage
            interest payments, covered rent payments, and covered utilities, and not more than 25% of the
            forgiven amount may be for non-payroll costs.

            During the period beginning on February 15, 2020 and ending on December 31, 2020, the
            Borrower has not and will not receive another loan under the Paycheck Protection Program.

                B. Borrower and its operating company ("Operating Company") certify that:

            Adverse Change - That there has been no adverse change in Borrower's (and Operating
            Company’s) financial condition, organization, operations or fixed assets since the date the Loan
            application was signed.

            Child Support - No principal who owns at least 50% of the ownership or voting interest of the
            company is delinquent more than 60 days under the terms of any (1) administrative order, (2) court
            order, or (3) repayment agreement requiring payment of child support.

            Current Taxes - Borrower and Operating Company are current (or will be current with any loan
            proceeds specified for eligible tax payments) on all federal, state, and local taxes, including but
            not limited to income taxes, payroll taxes, real estate taxes, and sales taxes.

                C. Borrower and Operating Company certify that they will:

            Books, Records, and Reports- Keep proper books of account in a manner satisfactory to Lender;
            furnish financial statements or reports whenever Lender requests them; allow Lender or SBA, at
            Borrower’s or Operating Company’s expense, to: (1) inspect and audit books, records and papers
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            relating to Borrower's and Operating Company’s financial or business condition; and (2) inspect
            and appraise any of Borrower's and Operating Company’s assets; and (3) allow all government
            authorities to furnish reports of examinations, or any records pertaining to Borrower and Operating
            Company, upon request by Lender or SBA.

            Equal Opportunity - Post SBA Form 722, Equal Opportunity Poster, where it is clearly visible
            to employees, applicants for employment and the general public.

            American-made Products - To the extent practicable, purchase only American-made equipment
            and products with the proceeds of the Loan.

            Taxes - Pay all federal, state, and local taxes, including income, payroll, real estate and sales taxes
            of the business when they come due.

                D. Borrower and Operating Company certify that they will not, without Lender’s prior written
                   consent:

            Distributions - Make any distribution of company assets that will adversely affect the financial
            condition of Borrower and/or Operating Company.

            Ownership Changes - Change the ownership structure or interests in the business during the term
            of the Loan.

                E. Borrower and Operating Company, if any, warrants and represents that all information
            provided to Lender, including without limitation, all information regarding the Borrower’s and
            Operating Company’s, if any, financial condition, is accurate to the best of its knowledge and that
            Borrower and Operating Company, if any, has not withheld any material information. Borrower
            and Operating Company, if any, acknowledges that for the purpose of this transaction, Lender is
            acting on behalf of SBA, an agency of the United States Government, except that SBA accepts no
            liability or responsibility for any wrongful act or omission by Lender. Borrower and Operating
            Company, if any, further acknowledges that any false statements to Lender can be considered a
            false statement to the federal government under 18 U.S.C. § 1001, and may subject the Borrower
            and Operating Company, if any, to criminal penalties and that Lender and SBA are relying upon
            the information submitted by the Borrower and Operating Company, if any.

                  IN WITNESS WHEREOF, the Borrower, on behalf of itself and the Operating Company,
            acknowledges having read this exhibit and certifies as to the above statements.

                                                                           BORROWER:
                                                                           The Williamsburg Hotel BK LLC




                                                                           By:_________________________
                                                                           Name: Toby Moskovits
                                                                           Title: CEO
                                                                           Date: 4/18/2020 | 8:38 PM PDT
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                               EXHIBIT G
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                                                             At the Commercial Division Part 61 of the
                                                             Supreme Court of the State of New York in and
                                                             for the County of New York, l ocated~~ ~Centre
                                                             Street, New York. New York, on th~ day of
                                                             February, 2020



             PR ESE NT:

                     Hon. Barry R. Ostrager.
                           Justice.


            ----------- - --------- --- -- --x
             BSPRT 20 I8-FL3 ISSUER, LTD.,                            Index No. 653396/2019

                                             Plaintiff.

                              - against -                             ORDER APPOTNTTNG A RECEIVER
                                                                      IN A NON-RES IDENTIAL
            96 WYTH E ACQUIS ITION LLC. TOBY                          MORTGAGE FOREC LOSURE
            MOSKOVITS. YECHIEL MICHAEL                                ACTION
            LI CHTENSTEIN, RENT A UNIT NY INC.,
            ADVANCED PLUMB ING MECHANICAL &                           Motion Seq.# I
            SPRIN KLERS CORP., MA2 FLAGS
            CONTRACTING CORP. , ROCK GROUP NY
            CORP., CR1MINAL COURT OF THE CITY OF
            NEW YORK, NEW YORK STA TE
            DEPARTM ENT OF TAXATION AND FINANCE, :
            ENV IRONM ENTA L CONTROL BOARD OF THE:
            CITY OF NEW YORK, and JOHN DOE # I
            THROUGH JOHN DOE #50,


                                             Defendants.
            ------------------ --- -------x
                              Upon the Summons, Verified Foreclosure Complaint, and Order to Show Cause

            (Mot ion Seq. # I) fi Ied in New York County and signed J unc 17. 2019. and the Notice of

            Pendency of Action filed in Kings County, the reading and filing of the Affidavit of Micah

            Goodman, an authorized signatory at BSPRT 20 ! 8-FL3 ISSUER, LTD. and officer of Plaintiff


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             Benefit Street Partners Operating Partnership, L.P.' s, as successor in interest to BSPRT 20 l 8-

             FL3 Issuer, Ltd. ("Plaintiff'), sworn to the 11 th day of June 2019 with Exhibits, the Affidavit in

             Opposition to Application For Appointment of a Temporary Receiver of Toby Moskovits, sworn

             to June 24, 2019 with Exhibits (Doc.# 15); the Affidavit in Opposition to Application For

             Appointment of A Temporary Receiver of Robert Schecter sworn to June 26, 2019 (Doc. # 19);

             the Court Notice dated June 27, 2019 (Doc. # 21 ), the Reply Affidavit in Further Support of

            Application for Appointment of a Temporary Receiver in A Mortgage Foreclosure Action of

            Steven f'ischler, sworn to July 11 , 2019 (Doc. # 23), the Memorandum of Law in Further

            Support of its Application for Appointment of a Temporary Receiver (Doc. # 24), the Letter to

            the Court of Katsky Korins LLP, former counsel for 96 Wythe Acquisition LLC ("Borrower"),

            dated July 15. 20 19 (Doc. #25), the Letter to the Court from Plaintiff's counsel, dated July 15,

            2019 in opposition to Defendants' request for leave to file a sur-reply (Doc. # 26), Plaintiff's

            Response to Defendants' Statement of Material Facts (Doc. # 56), Plaintiff's Proposed Findings

            of Fact in Support of its Application for the Appointment of a Temporary Receiver (Doc.# 57),

            the Rebuttal Affidavit of Tanya Mollova, sworn to October 16, 20 19 (Doc. # 58), the Rebuttal

            Affidavit of Steven Fischler, sworn to October 16, 2019 (Doc # 59), Defendants' Statement of

            Material Facts (Doc.# 60). Defendants' Response to Plaintiff's Proposed Findings of Fact (Doc.

            # 61 ), the Notice of Rejection of Plaintiff's Rebuttal Affidavits (Doc.# 62) together with its

            exhibits (Doc. #s 63-65). the Letter to the Court from counsel fo r Defendants, dated October 17,

            20 19 (Doc. # 66), the decision and order dated October 18. 2019 granting plaintiffs motion to

            appoint a Temporary Receiver (Doc. # 69), the Affidavit if Plaintiff filed October 29, 2018 with

            proposed order (Docs. #70 and 71 ), the Affidavit of Defendants with exhibits filed October 31 ,

            2019 (Docs. No. 72 -74); the letter from Defendants' counsel filed November 21 , 2019 with


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            exhibit (Docs.# 77 and 78), the Letters to the Court from Plaintiff's counsel dated November 22,

            2019 (with attachments) (Docs. # 79-81 ), and the Letters in response to the Court from

            Defendants· counsel dated November 22, 2019 and November 25, 2019 (Docs# 82 and 83), the

            order dated November 27, 2019 and transcript of proceedings held November 26, 2019, the

            proceedings held on December l 7, 2019; and upon all pleadings and proceedings heretofore had

            herein;

                              And the Court having heard testimony and ora l argument on July 18, 2019, it is

            hereby

                              ORDERED, that Constantino Sagonas, 240-51 68 1h Avenue, Douglaston, New

            York 11362, Fiduciary# 560967, be and hereby is appointed Temporary Receiver with the usual

            powers and directions, for the benefit of Plaintiff, as its interests may appear. of all the rents and

            profits now due and unpaid or to become due during the pendency of the Temporary Receiver's

            appointment and issuing out of the mortgaged premises, more fully described in the Verified

            Complaint and commonly known as The Williamsburg f lotel. 96 Wythe Avenue, Brooklyn, New

            York I 1249 (the "Premises"); and it is further

                              ORDERED, that before entering upon his/her duties, the Temporary Receiver

            shall execute to the People of the State of New York and file with the Clerk of this Court an

            undertaking in the sum of$ 4,500,000.00, conditioned on the faithful discharge of his/her duties

            as such Temporary Recei ver; and it is further

                              ORDERED, that upon the execution of such undertaking, the Temporary

            Receiver is authorized forthwith to take charge and enter into possession of the Premises; and it

            is further




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                                 Order appointing
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                              ORDERED, that the Temporary Receiver be and hereby is directed to demand,

            collect and receive from all occupants, tenants, licensees or other persons in possession of the

             Premises, or other persons liable therefore, inclusive of the mortgagor, all revenue and other

             income of the Premises, cash collatera l (whether consisting of cash on hand, cash in an y and all

            bank accounts or other accounts and all other cash equivalents), a ll the rents and fees, food and

            beverage revenue, credit card transactions, reservation deposits, capital reserves and any

            accounts utilized by hote l personnel including desk clerks, cred it card receipts, demand deposits,

            reimbursement rights, bank deposits, security deposits and all other forms of accounts, accounts

            receivable, payment rights, cash and cash equivalents thereof now due and unpaid or hereafter to

            become fixed or due; and that the Temporary Receiver be and hereby is authorized to compel the

            hotel manager(s) and occupants to attom to the Temporary Receiver or his/her designee; and it is

            further directed that the Temporary Receiver may institute and prosecute suits for the collection

            of rents, license fees, and other c harges now due or hereafter to become due or fixed and

            summary proceed ings for the removal of any manager, tenant or licensee or any other persons

            therefrom, and to employ counsel, provided however that the terms and conditions of said

            retention are approved by furth er order of thi s Court upon notice to al l parties that have appeared

            in this action; and it is further

                              ORDERED, that all occupants, tenants, licensees or other persons in possession

            of the Premises, or other persons liable therefore, inclusive of the mortgagor, attorn to the

            Temporary Receiver and pay over to the Temporary Receiver all revenue and other income of

            the Premises. cash co llateral (whethe r consisting of cash on hand, cash in any and all bank

            accounts or other accounts and a ll other cash equivalents), rents, guest charges and fees , license

            fees , food and beverage revenue, and other charges or fees generated at or in connection in with


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            Premises now due and unpaid, or that may hereafter become due (" Premise Revenue"); and after

            entry of this Order that all Defe ndants and those acting through them be enjoined and restrained

            from (i) collecting such Pre mise Revenue. (i i) entering into any management, brokerage or

            leasing agreement, fran chise agreement or any other contract or agreement (other than to pay off

            the mortgage loan that is the subject of this action) , whether written or oral , that is not terminable

            on thi rty days' notice, absent consent of the Plaintiff, and (iii) trnnsferring, removing or in any

            way disturbing any of the occupants, tenants, patrons, licensees, guests, or employees; and that

            all occupants, tenants, patrons, licensees, guests, or employees of the Pre mises and other persons

            liable for Premise Revenue be and hereby are enjoi ned and restrained from paying any Premise

            Revenue to Defendants, their agent or servant; and it is further

                              ORDERED, that no provision of th is Order shall be construed to prevent the

            Bon-ower from e ntering into any agreements made in connection with a full payoff to Plaintiff, in

            an amount determined by the Court, including a refinancing of the mortgage loan that is the

            subject of this forec losure action; and

                              ORDERED, that the Temporary Receiver sha ll , promptly after the e nd of each

            month , provide a report to counsel for the parties, as to the occupancy rate, and the hotel and

            food and beverage revenues and expenses and other pertinent management issues in standard

            hotel history format with appropriate backup for the preceding month period and shall provide a

            quarterly report to the Court under seal setti ng forth such information; and it is further

                              ORDERED, that pursuant to the provisions of General Obli gations Law§ 7-105,

            any defendant or agent of any defendant holding any deposits or advances of rental as security

            under any lease or license agreement affecting space at the Premises shall turn same over to the

            Temporary Receive r within five (5) days after the Temporary Receiver shall have qualified; and


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             thereupon the Temporary Receiver shall hold such security subject to such disposition thereof as

             shall be provided in an order of this Court to be made and entered in this action; and it is further

                              ORDERED, that anybody in possession of same shall turn over to the Temporary

             Receiver (i) all books and records concerning any revenue and other income of the Premises,

            cash collateral (whether consisting of cash on hand, cash in any and all bank accounts or other

            accounts and al I other cash equivalents); (ii) all deposits, tax escrow deposits, keys, books,

            records, checkbooks, ledgers, accounts payable records, accounts receivable records, leases, rent

            rolls, passwords, combinations, insurance policies and certificates, any and all contracts and or

            agreements, plans, specifications and drawings, a current li st of the guests and tenants, if any,

            including the complete tenant ledgers, tenant files and tenant histories, al I records pertaining to

            occupancy (including all guest ledgers, reservation reports, credit card billings, and cash receipts

            journals); (iii) all books, records and accounts reflecting a ll of the financial affairs related to the

            Premises and all items of income and expense in connection with the operation of'the

            Premises; (iv) all financial statements related to the Premises or operation of the Premises,

            including any statements of profit and loss, any balance sheet, any record concerning the

            financial condition and the results of operations for the Premises; (v) all books and records

            concerning the annua l net operating income, net cash tlow, gross income, operating expenses and

            occupancy statistics for the Premises (including an average daily room rate); (vi) all guest or

            occupant ledgers; (vii) all books and records concerning rent rolls, occupancy reports, or

            expenditures fo r furniture, fixtures and equipment ("FF&E'') at, or in, or used in connection with

            the use, occupancy. operation and maintenance of all or any part of, the Premises; (viii) all Smith

            Travel Research Reports; (ix) all operating statements (including expenditures for FF&E); (x) all

            ARGUS (or simi lar) cash flow projections models; (xi) all budgets re lated to the Premises,


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            including any Annual Budget; all bank statements and records relating to any accounts

            associated with the Premises; (xi i) all operating statements and records relati ng to any operating

            accounts associated with the Premises; (xiii) all records relating to pending or current litigation

            (excluding the captioned action); (xiv) all payroll records, employee tiles, applications and other

            materials relevant to those persons employed at the Premises; (xv) a ll books, records, or

            documents related to the management or operation of the Premi ses; and (xvi) all other documents

            whatsoever re lated to the Premises, its management or operation or that are reasonably requested

            by Temporary Receiver; and it is further

                              ORDERED, that the Temporary Receiver be and hereby is authorized to deliver

            to Plaintiff the (i) materials required to be provided in accordance with Section 4.12 of the Loan

            Agreement. dated as of December 13, 2017 by and between Borrower and Plaintiff (the "Loan

            Agreement"); and (ii) materials on which the findings and conclusions of any Receiver report or

            recommendation are based, including the quarterly report to the Court; and (iii) such other

            materials as agreed by the parties or directed by the Court upon app li cation of any party or the

            Receiver.

                              ORDERED, that the Temporary Receiver be and he reby is authorized to make

            any reasonable and necessary ordinary repairs to the Premises, subject, however, to the

            qualification that the Temporary Rece iver shall not expend in excess of $5,000 for any repair

            without the written consent of Plaintiff or the prior approval of this Court ; and it is further

                              ORDERED, that the Temporary Receiver shall forthwi th deposit all monies

            received by him as Temporary Receiver, at the time he receives the same, into an account at any

            federal ly insured banking institution or savings association with offices in the state of New York

            (the " Temporary Receiver Account"), and no withdrawals shal l be made therefrom except to pay


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            the hotel payroll and current valid third-party vendor invoices and other ordinary and necessary

            operating expenses of the Premises pursuant to a quarterly budget approved in advance by the

            parties or as directed by the Court; payments may be made by wire initiated by the Temporary

            Receiver or on a draft or check signed by the Temporary Receiver or the hotel manager or

            management hercaner appointed, upon instruction of the Temporary Receiver; the Temporary

            Receiver shall furnish the parties' attorneys with monthly statements of the receipts and

            expenditures of the Receivership and the Premises, together with a copy of the monthly

            statement received from the Temporary Receiver Account; and it is further

                              ORDERED, that the Temporary Receiver be and hereby is authorized to keep the

            Premises insured against loss or damage by fire or other causes and against liability; to pay the

            taxes, assessments, water rates. sewer rents, vault rents, salaries and benefits of employees,

            supp lies and other charges; to comply with all lawfu l requirements of any municipal department

            or other governmental authority having jurisdiction; and to procure such fire, plate glass, liability

            and other insurance as may be reasonably necessary; and it is further

                              ORDERED, that if it is necessary to the fulfillment of the Temporary Receiver's

            duties, Plaintiff may, but shall not be required to, advance funds to the Temporary Receiver for

            the payment of repairs, maintenance, insurance, taxes, the curing of violations or any other

            expenses which may be reasonably necessary for the preservation and protection of the Premises

            by the Temporary Receiver and to the extent that the rents. issue and profits collected by the

            Temporary Receiver and remaining in the Temporary Receiver' s account are insufficient to

            reimburse the advancing party for such advances, a ll such advances made by said party shall be

            secured by its mortgages and shall be added to and included in the debt thereupon due and in the

            Judgment of Foreclosure and Sale; and it is further


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                              ORDERED, that all persons now or hereafter in possession of the Premises, or

            any part thereof, and not holding such possession under valid and existing leases or tenancies do

            forthwith surrender such possession to the Temporary Receiver, subject to emergency laws, if

            any; and it is further

                              ORDERED, that except as directed by the Court and after paying the expenses

            for care of the Premises as above provided, the Temporary Receiver shall retain the balance of

            the monies that may come into his hands in the Temporary Receiver Account until the sale of the

            Prem ises under the Judgment to be entered in this action and/or unti I further Order of the Court,

            and such amounts shall be deemed held in trust for the benefit of the parties as their interests may

            appear; and it is further

                              ORDERED , that the Temporary Receiver or any party hereto may at any time,

            upon notice to al l parties who may have appeared in this action, apply to this Court for further or

            other instructions or powers necessary to enable the Temporary Receiver properly to fulfill their

            duties, and it is fu11her

                              ORDERED, that upon request by Borrower's counsel, the Temporary Receiver

            shall provide to Borrower's counsel all of the in formation, reports a nd categories of documents

            previously identified in this order and thereafter created in connection with the Receivership; and

            it is further

                              ORDERED, that any information or documents created by the Temporary

            Receiver and provided to Plaintiff shall be concurrently provided to Borrower: and it is further

                              ORDERED, that Borrower sha ll cooperate with the Temporary Receiver and

            execute any and all documentation required by the New York State Liquor Authority to add the




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              Temporary Recei ver appointed herein to the existing liquor license for the Premises; and it is

              further

                              ORDERED, that the appointee named as Temporary Receiver shall comply with

              the provisions ofNYCRR Part 36, Section 35-a of the Judiciary Law, Sections 6401-6405 of the

             Civil Practice Law and Rules, and Article 13 of the Real Property Actions and Proceedings Law.




                                                                       Y R. OSTRAGER
                                                                                           JSC




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P.O. Box 15284
Wilmington, DE 19850
                                                                                               Customer service information


                                                                                               1.888.BUSINESS (1.888.287.4637)

                                                                                               bankofamerica.com
  THE WILLIAMSBURG HOTEL BK LLC
                                                                                               Bank of America, N.A.
  DBA THE WILLIAMSBURG HOTEL
                                                                                               P.O. Box 25118
  MASTER ACCOUNT                                                                               Tampa, FL 33622-5118
  679 DRIGGS AVE
  BROOKLYN, NY 11211-4023




Your Business Advantage Checking
Preferred Rewards for Bus Platinum Honors
for April 1, 2020 to April 30, 2020                                                      Account number: 4830 7648 2855
THE WILLIAMSBURG HOTEL BK LLC                             DBA THE WILLIAMSBURG HOTEL         MASTER ACCOUNT

Account summary
Beginning balance on April 1, 2020                                         $20.05    # of deposits/credits: 36
Deposits and other credits                                           1,696,381.84    # of withdrawals/debits: 118
Withdrawals and other debits                                         -1,685,218.68   # of items-previous cycle¹: 0
Checks                                                                       -0.00   # of days in cycle: 30
Service fees                                                              -300.00    Average ledger balance: $103,779.48
Ending balance on April 30, 2020                                     $10,883.21      ¹Includes checks paid,deposited items&other debits




PULL: E CYCLE: 60 SPEC: E DELIVERY: E TYPE:   IMAGE: I BC: NY                                                                  Page 1 of 10
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IMPORTANT INFORMATION:
BANK DEPOSIT ACCOUNTS
How to Contact Us - You may call us at the telephone number listed on the front of this statement.

Updating your contact information - We encourage you to keep your contact information up-to-date. This includes address,
email and phone number. If your information has changed, the easiest way to update it is by visiting the Help & Support tab of
Online Banking.

Deposit agreement - When you opened your account, you received a deposit agreement and fee schedule and agreed that your
account would be governed by the terms of these documents, as we may amend them from time to time. These documents are
part of the contract for your deposit account and govern all transactions relating to your account, including all deposits and
withdrawals. Copies of both the deposit agreement and fee schedule which contain the current version of the terms and
conditions of your account relationship may be obtained at our financial centers.

Electronic transfers: In case of errors or questions about your electronic transfers - If you think your statement or receipt is
wrong or you need more information about an electronic transfer (e.g., ATM transactions, direct deposits or withdrawals,
point-of-sale transactions) on the statement or receipt, telephone or write us at the address and number listed on the front of
this statement as soon as you can. We must hear from you no later than 60 days after we sent you the FIRST statement on
which the error or problem appeared.

    -   Tell us your name and account number.
    -   Describe the error or transfer you are unsure about, and explain as clearly as you can why you believe there is an error
        or why you need more information.
    -   Tell us the dollar amount of the suspected error.

For consumer accounts used primarily for personal, family or household purposes, we will investigate your complaint and will
correct any error promptly. If we take more than 10 business days (10 calendar days if you are a Massachusetts customer) (20
business days if you are a new customer, for electronic transfers occurring during the first 30 days after the first deposit is
made to your account) to do this, we will provisionally credit your account for the amount you think is in error, so that you will
have use of the money during the time it will take to complete our investigation.

For other accounts, we investigate, and if we find we have made an error, we credit your account at the conclusion of our
investigation.

Reporting other problems - You must examine your statement carefully and promptly. You are in the best position to discover
errors and unauthorized transactions on your account. If you fail to notify us in writing of suspected problems or an
unauthorized transaction within the time period specified in the deposit agreement (which periods are no more than 60 days
after we make the statement available to you and in some cases are 30 days or less), we are not liable to you and you agree to
not make a claim against us, for the problems or unauthorized transactions.

Direct deposits - If you have arranged to have direct deposits made to your account at least once every 60 days from the same
person or company, you may call us to find out if the deposit was made as scheduled. You may also review your activity online
or visit a financial center for information.


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Deposits and other credits
Date         Description                                                                                                Amount

04/01/20     Online Banking transfer from CHK 4831 Confirmation# 3477402927                                        13,321.61

04/03/20     Online Banking transfer from CHK 9206 Confirmation# 1589057482                                        13,799.89

04/03/20     Online Banking transfer from CHK 9206 Confirmation# 2588506435                                        10,596.30

04/03/20     Online Banking transfer from CHK 4102 Confirmation# 6293545306                                          6,000.00

04/03/20     Online Banking transfer from CHK 4102 Confirmation# 6594885704                                          1,000.00

04/08/20     Online Banking transfer from CHK 4102 Confirmation# 1338341236                                        17,523.29

04/08/20     Online Banking transfer from CHK 9206 Confirmation# 3438347667                                          9,225.44

04/08/20     Online Banking transfer from CHK 4831 Confirmation# 1337551508                                          8,150.44

04/14/20     Online Banking transfer from CHK 4102 Confirmation# 2190426260                                        17,000.00

04/14/20     Online Banking transfer from CHK 4831 Confirmation# 1287577063                                          2,779.73

04/14/20     Online Banking transfer from CHK 2703 Confirmation# 2290488525                                          2,500.00

04/14/20     Online Banking transfer from CHK 9206 Confirmation# 2190505735                                          2,322.80

04/16/20     Online Banking transfer from CHK 4831 Confirmation# 3508488453                                          2,470.84

04/20/20     BKOFAMERICA MOBILE 04/20 3662830393 DEPOSIT                   *MOBILE      NY                         16,369.51

04/20/20     Online Banking transfer from CHK 9206 Confirmation# 5441532089                                          2,496.42

04/20/20     Online Banking transfer from CHK 4102 Confirmation# 7441618900                                              20.00

04/21/20     LIVE OAK BANK    DES:PROCEEDS ID: INDN:THE WILLIAMSBURG HOTEL CO ID:XXXXXXXXX                     1,438,000.00
             CCD

04/21/20     Online Banking transfer from CHK 4102 Confirmation# 7449032769                                        20,093.50

04/21/20     BKOFAMERICA MOBILE 04/21 3663275483 DEPOSIT                   *MOBILE      NY                           4,000.00

04/23/20     Online Banking transfer from CHK 9206 Confirmation# 6369437449                                        13,869.41

04/23/20     BOFA MERCH SVCS DES:DEPOSIT        ID:737301938889 INDN:THE WILLIAMSBURG HOTEL CO                       7,115.69
             ID:XXXXXXXXXB CCD

04/23/20     Online Banking transfer from CHK 9206 Confirmation# 6569426023                                          2,500.00
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Deposits and other credits - continued
Date        Description                                                                                                 Amount

04/24/20    BOFA MERCH SVCS DES:DEPOSIT         ID:737301938889 INDN:THE WILLIAMSBURG HOTEL CO                     24,990.07
            ID:XXXXXXXXXB CCD

04/24/20    Online Banking transfer from CHK 9206 Confirmation# 6475106405                                         10,000.00

04/24/20    Online Banking transfer from CHK 9206 Confirmation# 6373941868                                           7,115.69

04/27/20    BOFA MERCH SVCS DES:DEPOSIT         ID:737301938889 INDN:THE WILLIAMSBURG HOTEL CO                       3,812.09
            ID:XXXXXXXXXB CCD

04/27/20    BOFA MERCH SVCS DES:DEPOSIT         ID:737301938889 INDN:THE WILLIAMSBURG HOTEL CO                       3,330.44
            ID:XXXXXXXXXB CCD

04/27/20    BOFA MERCH SVCS DES:DEPOSIT         ID:737301938889 INDN:THE WILLIAMSBURG HOTEL CO                       1,463.94
            ID:XXXXXXXXXB CCD
04/28/20    SBAD TREAS 310 DES: MISC PAY ID:EIDG:3301714870 INDN:THE WILLIAMSBURGH HOTE CO                         10,000.00
            ID:9101036151 CCD PMT INFO:NTE*PMT*EIDG:3301714870\

04/28/20    BOFA MERCH SVCS DES:DEPOSIT         ID:737301938889 INDN:THE WILLIAMSBURG HOTEL CO                       5,061.41
            ID:XXXXXXXXXB CCD

04/28/20    JPMorgan Chase DES:Auth Crdt ID:9515367398 INDN:Auth             CO ID:9200502233 CCD                          0.39

04/28/20    JPMorgan Chase DES:Auth Crdt ID:9515367394 INDN:Auth             CO ID:9200502233 CCD                          0.21

04/29/20    BOFA MERCH SVCS DES:DEPOSIT         ID:737301938889 INDN:THE WILLIAMSBURG HOTEL CO                       4,274.86
            ID:XXXXXXXXXB CCD

04/30/20    Online Banking transfer from CHK 9206 Confirmation# 3426757365                                         13,870.23

04/30/20    BOFA MERCH SVCS DES:DEPOSIT         ID:737301938889 INDN:THE WILLIAMSBURG HOTEL CO                       1,090.31
            ID:XXXXXXXXXB CCD

04/30/20    Online Banking transfer from CHK 9206 Confirmation# 1428771126                                              217.33

Total deposits and other credits                                                                         $1,696,381.84



Withdrawals and other debits
Date        Description                                                                                                 Amount

04/01/20    Zelle Transfer Conf# b896830ca; Hendricks, Desiree                                                        -715.12

04/03/20    Online Banking transfer to CHK 9206 Confirmation# 3388615832                                          -13,799.89

04/03/20    Online Banking transfer to CHK 2703 Confirmation# 2189074313                                          -19,000.00

04/03/20    Online Banking Transfer Conf# de7abd491; Moreno                                                         -1,250.00

04/03/20    WIRE TYPE:WIRE OUT DATE:200403 TIME:1340 ET TRN:2020040300472504 SERVICE                                -5,000.00
            REF:009475 BNF:THE WINTHROP GROUP, LLC ID:4341094607 BNF BK:T D BANK, NA
            ID:026013673 PMT DET:294181786 THE WILL IAMSBURG HOTEL

04/03/20    Online Banking Transfer Conf# cd053dc29; Hassan                                                         -3,269.24

04/06/20    Online Banking transfer to CHK 2703 Confirmation# 2119629505                                              -200.00

04/06/20    PAYPAL        DES:INST XFER ID:JORDIIVEN INDN:JEREMY RAUCH        CO ID:PAYPALSI77                        -350.00
            WEB

04/06/20    PAYPAL        DES:INST XFER ID:CRISTIAN12R INDN:JEREMY RAUCH         CO ID:PAYPALSI77                     -325.00
            WEB

04/08/20    Zelle Transfer Conf# 7b04821bb; Ishak, Robert                                                             -400.00
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Withdrawals and other debits - continued
Date         Description                                                                                                      Amount

04/08/20     WIRE TYPE:WIRE OUT DATE:200408 TIME:1654 ET TRN:2020040800536514 SERVICE                                     -1,967.92
             REF:012979 BNF:SORBIS CORPORATION ID:2000018769085 BNF BK:WEL LS FARGO BANK, N.A.
             ID:121000248 PMT DET:294618828 THE WILLIAMSBURG HOTEL

04/08/20     Online Banking Transfer Conf# 5943b0338; Hassan                                                              -1,634.62

04/08/20     Zelle Transfer Conf# b967f9926; Ilijic, Milos                                                                  -417.37

04/08/20     Online Banking transfer to CHK 9206 Confirmation# 3338345087                                                 -9,225.44

04/08/20     Online Banking transfer to CHK 2703 Confirmation# 2138350805                                               -20,500.00

04/09/20     PAYPAL         DES:INST XFER ID:VINQ4 INDN:JEREMY RAUCH            CO ID:PAYPALSI77 WEB                        -400.00

04/10/20     CHEFSWAREHOUSEWE DES:PURCHASE ID:THE WILLIAMSBUR INDN:THE WILLIAMSBURG                                         -344.66
             HOTEL CO ID:3383693141 CCD

04/14/20     Online Banking Transfer Conf# a5dbbb5a3; Moreno                                                              -1,250.00

04/14/20     Online Banking transfer to CHK 2703 Confirmation# 2290440630                                               -17,800.00

04/14/20     Online Banking Transfer Conf# 3c2970f9f; Hassan                                                              -1,144.23

04/14/20     Online Banking transfer to CHK 9206 Confirmation# 3290491000                                                 -2,322.80

04/14/20     Online Banking transfer to CHK 2703 Confirmation# 1490508481                                                 -2,500.00

04/15/20     PAYPAL         DES:INST XFER ID:GUANABACOAR INDN:JEREMY RAUCH               CO ID:PAYPALSI77                   -250.00
             WEB

04/17/20     Online Banking transfer to CHK 2703 Confirmation# 2413459409                                                     -50.00

04/17/20     Online Banking transfer to CHK 4831 Confirmation# 1113681565                                                     -63.50

04/20/20     Online Banking transfer to CHK 9206 Confirmation# 6341528719                                                 -2,496.42

04/20/20     WIRE TYPE:WIRE OUT DATE:200420 TIME:1700 ET TRN:2020042000649310 SERVICE                                     -2,500.00
             REF:014413 BNF:THE WINTHROP GROUP, LLC ID:4341094607 BNF BK:T D BANK, NA
             ID:026013673 PMT DET:295701100 THE WILL IAMSBURG HOTEL

04/21/20     WIRE TYPE:WIRE OUT DATE:200421 TIME:1338 ET TRN:2020042100426646 SERVICE                                     -2,500.00
             REF:008944 BNF:THE WINTHROP GROUP, LLC ID:4341094607 BNF BK:T D BANK, NA
             ID:026013673 PMT DET:295788038 THE WILL IAMSBURG HOTEL

04/21/20     WIRE TYPE:WIRE OUT DATE:200421 TIME:1350 ET TRN:2020042100431493 SERVICE                                     -2,294.72
             REF:008933 BNF:PUREHD LLC ID:8250422496 BNF BK:TD BANK, NA ID:211370545 PMT
             DET:295789746 THE WILLIAMSBURG HO TEL INV 24952

04/21/20     Bank of America Business Card Bill Payment                                                                   -2,400.00

04/22/20     Zelle Transfer Conf# 886dafebf; Ishak, Robert                                                                  -300.00

04/22/20     Online Banking transfer to CHK 4831 Confirmation# 6558454706                                                   -150.00

04/22/20     Online Banking transfer to CHK 2703 Confirmation# 7358460430                                                     -30.00

04/22/20     Agent Assisted transfer to CHK 0102 Confirmation# 0658784673                                                   -100.00

04/22/20     Online Banking Transfer Conf# 3982af222; The Williamsburg Hotel BK LLC                                         -100.00

04/22/20     BOFA MERCH SVCS DES:FEE            ID:737301938889 INDN:THE WILLIAMSBURG HOTEL CO                                  -0.62
             ID:XXXXXXXXXB CCD
                                                                                                              continued on the next page




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Withdrawals and other debits - continued
Date        Description                                                                                                Amount

04/22/20    BOFA MERCH SVCS DES:INTERCHNG ID:737301938889 INDN:THE WILLIAMSBURG HOTEL CO                                 -0.21
            ID:XXXXXXXXXB CCD
04/23/20    Online Banking transfer to CHK 0102 Confirmation# 6367947068                                     -1,438,000.00

04/23/20    Online Banking transfer to CHK 9206 Confirmation# 6469420381                                           -2,500.00

04/23/20    Online Banking transfer to CHK 9206 Confirmation# 6369431537                                         -13,869.41

04/23/20    Online Banking transfer to CHK 9206 Confirmation# 6369442646                                           -7,115.69

04/23/20    NYS DTF BILL PYT DES:Tax Paymnt ID:000000055619465 INDN:M62143204660420        CO                    -20,093.50
            ID:EXXXXXXXXX CCD

04/23/20    CRATEBARREL CC DES:CRATE EPAY ID:33111462 INDN:         6045882002745128 CO                              -600.00
            ID:9069872103 WEB

04/23/20    BOFA MERCH SVCS DES:INTERCHNG ID:737301938889 INDN:THE WILLIAMSBURG HOTEL CO                             -131.04
            ID:XXXXXXXXXB CCD

04/23/20    BOFA MERCH SVCS DES:DISCOUNT ID:737301938889 INDN:THE WILLIAMSBURG HOTEL CO                                -12.51
            ID:XXXXXXXXXB CCD

04/23/20    BOFA MERCH SVCS DES:FEE            ID:737301938889 INDN:THE WILLIAMSBURG HOTEL CO                            -2.89
            ID:XXXXXXXXXB CCD

04/24/20    Online Banking transfer to CHK 9206 Confirmation# 6473951852                                         -24,990.07

04/24/20    Zelle Transfer Conf# 8d6f48d04; Ilijic, Milos                                                            -220.86

04/24/20    Online Banking transfer to CHK 2703 Confirmation# 7574261956                                           -2,500.00

04/24/20    WIRE TYPE:WIRE OUT DATE:200424 TIME:1200 ET TRN:2020042400411219 SERVICE                               -3,401.10
            REF:007631 BNF:NEXT GEN ENTERPRISES, INC ID:9299090663 BNF BK:WELLS FARGO BANK,
            N.A. ID:121000248 PMT DET:296133970 THE WILLIAMSBURG HOTEL INV 177

04/24/20    Zelle Transfer Conf# e35f17aa0; Hernandez, Jose                                                          -405.62

04/24/20    Zelle Transfer Conf# 5412ea50a; Van Dette, Taylor                                                        -298.05

04/24/20    Online Banking Transfer Conf# d6ae542d7; Moreno                                                        -1,250.00

04/24/20    Online Banking Transfer Conf# b9dca3acd; Hassan                                                        -2,288.46
04/24/20    WIRE TYPE:WIRE OUT DATE:200424 TIME:1411 ET TRN:2020042400478024 SERVICE                               -3,628.76
            REF:010248 BNF:ROYAL WASTE SERVICES INC. ID:42023785 BNF BK:V ALLEY NATIONAL BANK
            ID:021201383 PMT DET:296151532 THE WILLIAMSBURG HOTEL

04/24/20    Zelle Transfer Conf# ed72f1bd0; Miller, Alexandria                                                       -428.06

04/24/20    Zelle Transfer Conf# 1473f864c; Darr, Ella                                                               -500.00

04/24/20    WIRE TYPE:WIRE OUT DATE:200424 TIME:1453 ET TRN:2020042400502803 SERVICE                                 -500.00
            REF:417187 BNF:GUANABACOA RECORDS INC. ID:286670861 BNF BK:JP MORGAN CHASE BANK,
            N. ID:0002 PMT DET:296157364 TH E WILLIAMSBURG HOTEL

04/24/20    WIRE TYPE:WIRE OUT DATE:200424 TIME:1545 ET TRN:2020042400531857 SERVICE                                 -625.00
            REF:012415 BNF:MASTERS LAUNDRY EQUIPMENT ID:4315119671 BNF BK:TD BANK, NA
            ID:026013673 PMT DET:296164386 THE WILLIAMSBURG HOTEL 119 141

04/24/20    Online Banking transfer to CHK 4102 Confirmation# 6475802896                                             -640.00

04/24/20    BOFA MERCH SVCS DES:INTERCHNG ID:737301938889 INDN:THE WILLIAMSBURG HOTEL CO                             -720.24
            ID:XXXXXXXXXB CCD

04/24/20    CRATEBARREL CC DES:CRATE EPAY ID:33286471 INDN:         6045882002615388 CO                              -600.00
            ID:9069872103 WEB
                                                                                                       continued on the next page




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Withdrawals and other debits - continued
Date         Description                                                                                                       Amount

04/24/20     BOFA MERCH SVCS DES:DISCOUNT ID:737301938889 INDN:THE WILLIAMSBURG HOTEL CO                                       -43.79
             ID:XXXXXXXXXB CCD

04/24/20     BOFA MERCH SVCS DES:FEE          ID:737301938889 INDN:THE WILLIAMSBURG HOTEL CO                                     -5.29
             ID:XXXXXXXXXB CCD

04/27/20     Online Banking transfer to CHK 4102 Confirmation# 1500723599                                                  -2,000.00

04/27/20     WIRE TYPE:WIRE OUT DATE:200427 TIME:1314 ET TRN:2020042700536789 SERVICE                                        -312.00
             REF:431077 BNF:ACCESS DISPLAY GROUP, INC. ID:952465060 BNF BK:JPMORGAN CHASE BANK,
             N. ID:0002 PMT DET:296 333052 WILLIAMSBURG HOTEL INV 566466

04/27/20     AMERICAN EXPRESS DES:ACH PMT        ID:W8492 INDN:The Williamsburg Hotel CO ID:1133133497                     -2,000.00
             CCD

04/27/20     PAYPAL        DES:INST XFER ID:CRISTIAN12R INDN:JEREMY RAUCH              CO ID:PAYPALSI77                      -975.00
             WEB

04/27/20     PAYPAL        DES:INST XFER ID:DJELLEDEE INDN:JEREMY RAUCH              CO ID:PAYPALSI77                        -500.00
             WEB

04/27/20     PAYPAL        DES:INST XFER ID:KESSLERMARK INDN:JEREMY RAUCH               CO ID:PAYPALSI77                     -500.00
             WEB

04/27/20     PAYPAL        DES:INST XFER ID:FRANNYMATAS INDN:JEREMY RAUCH                CO ID:PAYPALSI77                    -412.45
             WEB

04/27/20     PAYPAL        DES:INST XFER ID:MISSSABADOP INDN:JEREMY RAUCH               CO ID:PAYPALSI77                     -400.00
             WEB

04/27/20     PAYPAL        DES:INST XFER ID:JORDIIVEN INDN:JEREMY RAUCH             CO ID:PAYPALSI77                         -350.00
             WEB

04/27/20     PAYPAL        DES:INST XFER ID:DJBOO INDN:JEREMY RAUCH             CO ID:PAYPALSI77 WEB                         -300.00

04/27/20     BOFA MERCH SVCS DES:INTERCHNG ID:737301938889 INDN:THE WILLIAMSBURG HOTEL CO                                      -76.83
             ID:XXXXXXXXXB CCD
04/27/20     BOFA MERCH SVCS DES:INTERCHNG ID:737301938889 INDN:THE WILLIAMSBURG HOTEL CO                                      -52.10
             ID:XXXXXXXXXB CCD

04/27/20     BOFA MERCH SVCS DES:INTERCHNG ID:737301938889 INDN:THE WILLIAMSBURG HOTEL CO                                      -41.67
             ID:XXXXXXXXXB CCD

04/27/20     BOFA MERCH SVCS DES:DISCOUNT ID:737301938889 INDN:THE WILLIAMSBURG HOTEL CO                                         -6.63
             ID:XXXXXXXXXB CCD

04/27/20     BOFA MERCH SVCS DES:DISCOUNT ID:737301938889 INDN:THE WILLIAMSBURG HOTEL CO                                         -5.81
             ID:XXXXXXXXXB CCD

04/27/20     BOFA MERCH SVCS DES:FEE          ID:737301938889 INDN:THE WILLIAMSBURG HOTEL CO                                     -4.43
             ID:XXXXXXXXXB CCD

04/27/20     BOFA MERCH SVCS DES:FEE          ID:737301938889 INDN:THE WILLIAMSBURG HOTEL CO                                     -3.88
             ID:XXXXXXXXXB CCD

04/27/20     BOFA MERCH SVCS DES:FEE          ID:737301938889 INDN:THE WILLIAMSBURG HOTEL CO                                     -3.82
             ID:XXXXXXXXXB CCD

04/27/20     BOFA MERCH SVCS DES:DISCOUNT ID:737301938889 INDN:THE WILLIAMSBURG HOTEL CO                                         -3.59
             ID:XXXXXXXXXB CCD
                                                                                                               continued on the next page




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Withdrawals and other debits - continued
Date        Description                                                                                         Amount

04/28/20    Phase Three Capi DES:SIGONFILE ID:RX709D INDN:TWH Secondary 2855     CO ID:9000360078              -535.93
            CCD
04/28/20    BOFA MERCH SVCS DES:INTERCHNG ID:737301938889 INDN:THE WILLIAMSBURG HOTEL CO                        -98.50
            ID:XXXXXXXXXB CCD

04/28/20    BOFA MERCH SVCS DES:DISCOUNT ID:737301938889 INDN:THE WILLIAMSBURG HOTEL CO                          -8.87
            ID:XXXXXXXXXB CCD

04/28/20    BOFA MERCH SVCS DES:FEE         ID:737301938889 INDN:THE WILLIAMSBURG HOTEL CO                       -3.59
            ID:XXXXXXXXXB CCD

04/28/20    JPMorgan Chase DES:Auth Debit ID:9515367402 INDN:Auth            CO ID:9200502233 CCD                -0.60

04/29/20    Online Banking transfer to CHK 9206 Confirmation# 5320100392                                     -8,606.47
04/29/20    Online Banking transfer to CHK 9206 Confirmation# 6420104427                                     -5,061.41

04/29/20    CHASE CREDIT CRD DES:EPAY       ID:4658558840 INDN:TOBY S MOSKOVITS       CO                     -2,000.00
            ID:5760039224 WEB

04/29/20    BOFA MERCH SVCS DES:INTERCHNG ID:737301938889 INDN:THE WILLIAMSBURG HOTEL CO                       -104.61
            ID:XXXXXXXXXB CCD

04/29/20    BOFA MERCH SVCS DES:FEE         ID:737301938889 INDN:THE WILLIAMSBURG HOTEL CO                      -13.39
            ID:XXXXXXXXXB CCD

04/29/20    BOFA MERCH SVCS DES:DISCOUNT ID:737301938889 INDN:THE WILLIAMSBURG HOTEL CO                          -7.38
            ID:XXXXXXXXXB CCD

04/30/20    WIRE TYPE:WIRE OUT DATE:200430 TIME:1330 ET TRN:2020043000602025 SERVICE                         -5,375.08
            REF:493793 BNF:SABRE GLBL INC. ID:40788357 BNF BK:CITIBANK, N .A. ID:0008 PMT
            DET:296716732 WILLIAMSBURG HOTEL I NV 94832921

04/30/20    WIRE TYPE:WIRE OUT DATE:200430 TIME:1333 ET TRN:2020043000604635 SERVICE                         -2,294.72
            REF:020035 BNF:PUREHD LLC ID:8250422496 BNF BK:TD BANK, NA ID:211370545 PMT
            DET:296717266 WILLIAMSBURG HOTEL INV 25490

04/30/20    WIRE TYPE:WIRE OUT DATE:200430 TIME:1426 ET TRN:2020043000607029 SERVICE                         -1,291.91
            REF:022313 BNF:NEXT GEN ENTERPRISES, INC ID:9299090663 BNF BK:WELLS FARGO BANK,
            N.A. ID:121000248 PMT DET:296717920 WILLIAMSBURG HOTEL HALF INV 185

04/30/20    Zelle Transfer Conf# 7bddf9450; RMAC Supplies                                                    -1,848.62

04/30/20    Online Banking Transfer Conf# b168b92ac; Hassan                                                  -1,144.23

04/30/20    WIRE TYPE:WIRE OUT DATE:200430 TIME:1621 ET TRN:2020043000737461 SERVICE                         -2,149.90
            REF:552895 BNF:CLEAN CITY LAUNDRY INC. ID:672788960 BNF BK:JP MORGAN CHASE BANK, N.
            ID:0002 PMT DET:296745286 WI LLIAMSBURG HOTEL INV 3777

04/30/20    Online Banking transfer to CHK 9206 Confirmation# 3128782758                                     -4,274.86

04/30/20    BOFA MERCH SVCS DES:INTERCHNG ID:737301938889 INDN:THE WILLIAMSBURG HOTEL CO                        -22.46
            ID:XXXXXXXXXB CCD

04/30/20    BOFA MERCH SVCS DES:FEE         ID:737301938889 INDN:THE WILLIAMSBURG HOTEL CO                       -3.92
            ID:XXXXXXXXXB CCD

04/30/20    BOFA MERCH SVCS DES:DISCOUNT ID:737301938889 INDN:THE WILLIAMSBURG HOTEL CO                          -1.92
            ID:XXXXXXXXXB CCD

Total withdrawals and other debits                                                                    -$1,685,218.68




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Service fees
The Monthly Fee on your Business Advantage Checking account was waived for the statement period ending 03/31/20. A check mark below
indicates the requirement(s) you have met to qualify for the Monthly Fee waiver on the account.
       $2,500+ in new net purchases on a linked Business credit card

       $15,000+ average monthly balance in primary checking account

       $35,000+ combined average monthly balance in linked business accounts

       active use of Bank of America Merchant Services

       active use of Payroll Services

       enrolled in Business Advantage Relationship Rewards

For information on how to open a new product, link an existing service to your account, or about Business Advantage Relationship Rewards
please call 1.888.BUSINESS or visit bankofamerica.com/smallbusiness.

Date           Transaction description                                                                                             Amount

04/03/20       Prfd Rwds for Bus-Wire Fee Waiver of $30                                                                              -0.00

04/08/20       Prfd Rwds for Bus-Wire Fee Waiver of $30                                                                              -0.00

04/20/20       Prfd Rwds for Bus-Wire Fee Waiver of $30                                                                              -0.00

04/21/20       Wire Transfer Fee                                                                                                   -30.00

04/21/20       Prfd Rwds for Bus-Wire Fee Waiver of $30                                                                              -0.00

04/24/20       Wire Transfer Fee                                                                                                   -30.00

04/24/20       Wire Transfer Fee                                                                                                   -30.00

04/24/20       Wire Transfer Fee                                                                                                   -30.00

04/24/20       Wire Transfer Fee                                                                                                   -30.00

04/27/20       Wire Transfer Fee                                                                                                   -30.00

04/30/20       Wire Transfer Fee                                                                                                   -30.00

04/30/20       Wire Transfer Fee                                                                                                   -30.00

04/30/20       Wire Transfer Fee                                                                                                   -30.00

04/30/20       Wire Transfer Fee                                                                                                   -30.00

Total service fees                                                                                                             -$300.00
Note your Ending Balance already reflects the subtraction of Service Fees.




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Daily ledger balances
Date                         Balance ($)   Date                        Balance($)   Date                    Balance ($)

04/01                       12,626.54      04/15                         173.26     04/23                  11,768.12
04/03                        1,703.60      04/16                        2,644.10    04/24                  10,708.58
04/06                             828.60   04/17                        2,530.60    04/27                  11,336.84
04/08                        1,582.42      04/20                      16,420.11     04/28                  25,751.36
04/09                        1,182.42      04/21                    1,471,288.89    04/29                  14,232.96
04/10                             837.76   04/22                    1,470,608.06    04/30                  10,883.21
04/14                             423.26




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P.O. Box 15284
Wilmington, DE 19850
                                                                                              Customer service information


                                                                                              1.888.BUSINESS (1.888.287.4637)

                                                                                              bankofamerica.com
  THE WILLIAMSBURG HOTEL BK LLC
                                                                                              Bank of America, N.A.
  DBA THE WILLIAMSBURG HOTEL
                                                                                              P.O. Box 25118
  PAYROLL ACCOUNT                                                                             Tampa, FL 33622-5118
  679 DRIGGS AVE
  BROOKLYN, NY 11211-4023




Your Business Advantage Checking
Preferred Rewards for Bus Platinum Honors
for April 1, 2020 to April 30, 2020                                                     Account number: 4830 7648 2703
THE WILLIAMSBURG HOTEL BK LLC                             DBA THE WILLIAMSBURG HOTEL        PAYROLL ACCOUNT

Account summary
Beginning balance on April 1, 2020                                        $26.52    # of deposits/credits: 15
Deposits and other credits                                             131,277.34   # of withdrawals/debits: 35
Withdrawals and other debits                                          -101,522.49   # of items-previous cycle¹: 0
Checks                                                                      -0.00   # of days in cycle: 30
Service fees                                                              -165.00   Average ledger balance: $4,055.66
Ending balance on April 30, 2020                                     $29,616.37     ¹Includes checks paid,deposited items&other debits




PULL: E CYCLE: 60 SPEC: E DELIVERY: E TYPE:   IMAGE: I BC: NY                                                                 Page 1 of 6
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IMPORTANT INFORMATION:
BANK DEPOSIT ACCOUNTS
How to Contact Us - You may call us at the telephone number listed on the front of this statement.

Updating your contact information - We encourage you to keep your contact information up-to-date. This includes address,
email and phone number. If your information has changed, the easiest way to update it is by visiting the Help & Support tab of
Online Banking.

Deposit agreement - When you opened your account, you received a deposit agreement and fee schedule and agreed that your
account would be governed by the terms of these documents, as we may amend them from time to time. These documents are
part of the contract for your deposit account and govern all transactions relating to your account, including all deposits and
withdrawals. Copies of both the deposit agreement and fee schedule which contain the current version of the terms and
conditions of your account relationship may be obtained at our financial centers.

Electronic transfers: In case of errors or questions about your electronic transfers - If you think your statement or receipt is
wrong or you need more information about an electronic transfer (e.g., ATM transactions, direct deposits or withdrawals,
point-of-sale transactions) on the statement or receipt, telephone or write us at the address and number listed on the front of
this statement as soon as you can. We must hear from you no later than 60 days after we sent you the FIRST statement on
which the error or problem appeared.

    6   Tell us your name and account number.
    6   Describe the error or transfer you are unsure about, and explain as clearly as you can why you believe there is an error
        or why you need more information.
    6   Tell us the dollar amount of the suspected error.

For consumer accounts used primarily for personal, family or household purposes, we will investigate your complaint and will
correct any error promptly. If we take more than 10 business days (10 calendar days if you are a Massachusetts customer) (20
business days if you are a new customer, for electronic transfers occurring during the first 30 days after the first deposit is
made to your account) to do this, we will provisionally credit your account for the amount you think is in error, so that you will
have use of the money during the time it will take to complete our investigation.

For other accounts, we investigate, and if we find we have made an error, we credit your account at the conclusion of our
investigation.

Reporting other problems - You must examine your statement carefully and promptly. You are in the best position to discover
errors and unauthorized transactions on your account. If you fail to notify us in writing of suspected problems or an
unauthorized transaction within the time period specified in the deposit agreement (which periods are no more than 60 days
after we make the statement available to you and in some cases are 30 days or less), we are not liable to you and you agree to
not make a claim against us, for the problems or unauthorized transactions.

Direct deposits - If you have arranged to have direct deposits made to your account at least once every 60 days from the same
person or company, you may call us to find out if the deposit was made as scheduled. You may also review your activity online
or visit a financial center for information.


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Deposits and other credits
Date         Description                                                                                               Amount

04/01/20     PAYCHEX-RCX    DES:PAYROLL       ID:86582300000045X INDN:WILLIAMSBURG HOTEL BK CO                          21.98
             ID:1161124166 CCD

04/03/20     Online Banking transfer from CHK 2855 Confirmation# 2189074313                                       19,000.00

04/06/20     Online Banking transfer from CHK 2855 Confirmation# 2119629505                                            200.00

04/08/20     Online Banking transfer from CHK 2855 Confirmation# 2138350805                                       20,500.00

04/14/20     Online Banking transfer from CHK 2855 Confirmation# 2290440630                                       17,800.00

04/14/20     Online Banking transfer from CHK 2855 Confirmation# 1490508481                                         2,500.00

04/17/20     Online Banking transfer from CHK 2855 Confirmation# 2413459409                                             50.00

04/21/20     RETURN OF POSTED CHECK / ITEM (RECEIVED ON 04-20)                                                      2,295.10

04/22/20     Online Banking transfer from CHK 2855 Confirmation# 7358460430                                             30.00

04/23/20     Online Banking transfer from CHK 0102 Confirmation# 5267964907                                       29,170.66

04/24/20     Online Banking transfer from CHK 2855 Confirmation# 7574261956                                         2,500.00

04/24/20     Online Banking transfer from CHK 0102 Confirmation# 7376183801                                         2,169.79

04/24/20     Online Banking transfer from CHK 0102 Confirmation# 6576233082                                            791.93

04/27/20     Online Banking transfer from CHK 0102 Confirmation# 3401725454                                         4,701.84

04/30/20     Online Banking transfer from CHK 0102 Confirmation# 3329340432                                       29,546.04

Total deposits and other credits                                                                           $131,277.34



Withdrawals and other debits
Date         Description                                                                                               Amount

04/03/20     PAYCHEX-RCX    DES:PAYROLL       ID:86623700000220X INDN:WILLIAMSBURG HOTEL BK CO                   -12,974.59
             ID:1161124166 CCD

04/03/20     PAYCHEX TPS    DES:TAXES       ID:86623900002373X INDN:WILLIAMSBURG HOTEL BK CO                       -5,831.47
             ID:1161124166 CCD

04/03/20     PAYCHEX CGS    DES:GARNISH       ID:COL0091368958 INDN:WILLIAMSBURG HOTEL BK CO                         -142.00
             ID:1161124166 CCD
                                                                                                       continued on the next page




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Withdrawals and other debits - continued
Date        Description                                                                                               Amount

04/06/20    PAYCHEX EIB    DES:INVOICE     ID:X86629000004509 INDN:THE WILLIAMSBURG HOTEL CO                        -300.19
            ID:1161124166 CCD
04/09/20    PAYCHEX-RCX    DES:PAYROLL      ID:86711000001294X INDN:WILLIAMSBURG HOTEL BK CO                    -14,066.69
            ID:1161124166 CCD

04/09/20    PAYCHEX CGS    DES:GARNISH      ID:COL0091469251 INDN:WILLIAMSBURG HOTEL BK CO                          -142.00
            ID:1161124166 CCD

04/10/20    PAYCHEX TPS    DES:TAXES       ID:86709400005285X INDN:WILLIAMSBURG HOTEL BK CO                       -5,580.78
            ID:1161124166 CCD

04/10/20    PAYCHEX-HRS     DES:HRS PMT      ID:33986461 INDN:THE WILLIAMSBURG HOTE CO                            -1,558.90
            ID:2555124166 CCD

04/10/20    PAYCHEX EIB    DES:INVOICE     ID:X86711900031335 INDN:THE WILLIAMSBURG HOTEL CO                        -303.24
            ID:1161124166 CCD

04/14/20    Online Banking transfer to CHK 2855 Confirmation# 2290488525                                          -2,500.00

04/16/20    PAYCHEX - RCX DES:PAYROLL       ID:86788100001520X INDN:WILLIAMSBURG HOTEL BK CO                    -12,194.40
            ID:1161124166 CCD

04/16/20    PAYCHEX CGS    DES:GARNISH      ID:COL0091561157 INDN:WILLIAMSBURG HOTEL BK CO                          -142.00
            ID:1161124166 CCD

04/17/20    PAYCHEX TPS    DES:TAXES       ID:86787700006398X INDN:WILLIAMSBURG HOTEL BK CO                       -4,040.27
            ID:1161124166 CCD

04/17/20    PAYCHEX EIB    DES:INVOICE     ID:X86791000024812 INDN:THE WILLIAMSBURG HOTEL CO                        -244.80
            ID:1161124166 CCD

04/20/20    PAYCHEX TPS    DES:TAXES       ID:86838900151794X INDN:WILLIAMSBURG HOTEL BK CO                       -2,295.10
            ID:1161124166 CCD

04/24/20    WIRE TYPE:WIRE OUT DATE:200424 TIME:1147 ET TRN:2020042400404862 SERVICE                              -2,295.10
            REF:372322 BNF:PAYCHEX OF NEW YORK ID:512068399 BNF BK:JPMORG AN CHASE BANK, N.
            ID:0002 PMT DET:296132122 THE WI LLIAMSBURG HOTEL 1Q20 TAX

04/24/20    WIRE TYPE:WIRE OUT DATE:200424 TIME:1700 ET TRN:2020042400573459 SERVICE                              -2,169.79
            REF:013541 BNF:ELIEZER POSNER ID:998398069 BNF BK:JPMORGAN CH ASE BANK, NA
            ID:021000021 PMT DET:296174406

04/24/20    PAYCHEX       DES:PAYROLL     ID:86942100000431X INDN:WILLIAMSBURG HOTEL BK CO                      -21,051.25
            ID:1161124166 CCD

04/24/20    PAYCHEX TPS    DES:TAXES       ID:86939700001612X INDN:WILLIAMSBURG HOTEL BK CO                       -7,977.41
            ID:1161124166 CCD

04/24/20    PAYCHEX CGS    DES:GARNISH      ID:COL0091686014 INDN:WILLIAMSBURG HOTEL BK CO                          -142.00
            ID:1161124166 CCD

04/27/20    WIRE TYPE:WIRE OUT DATE:200427 TIME:0517 ET TRN:2020042400578479 SERVICE                                -791.93
            REF:003440 BNF:JOSE RAUL BRIONES ID:36058506379 BNF BK:CAPITA L ONE, NA ID:031176110
            PMT DET:296175400

04/27/20    WIRE TYPE:WIRE OUT DATE:200427 TIME:1626 ET TRN:2020042700641142 SERVICE                              -1,868.20
            REF:471494 BNF:DANIELLA LISKER ID:636808516 BNF BK:JPMORGAN C HASE BANK, N. ID:0002
            PMT DET:296363310

04/27/20    WIRE TYPE:WIRE OUT DATE:200427 TIME:1628 ET TRN:2020042700641938 SERVICE                                -500.00
            REF:471681 BNF:DANIELLA LISKER ID:636808516 BNF BK:JPMORGAN C HASE BANK, N. ID:0002
            PMT DET:296363496

04/27/20    Online Banking Transfer Conf# 7f8e1642e; Martinez                                                     -1,099.64
                                                                                                      continued on the next page




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THE WILLIAMSBURG HOTEL BK LLC ! Account # 4830 7648 2703 ! April 1, 2020 to April 30, 2020




Withdrawals and other debits - continued
Date           Description                                                                                                               Amount

04/27/20       WIRE TYPE:WIRE OUT DATE:200427 TIME:1634 ET TRN:2020042700646345 SERVICE                                               -1,234.00
               REF:013743 BNF:JONATHAN SHEYNKMAN ID:3014942621 BNF BK:FIRST FIDILITY ID:021200025
               PMT DET:296364496

04/27/20       PAYCHEX EIB    DES:INVOICE        ID:X86943300010077 INDN:THE WILLIAMSBURG HOTEL CO                                       -76.74
               ID:1161124166 CCD

Total withdrawals and other debits                                                                                             -$101,522.49




Service fees
  Your Overdraft and NSF: Returned Item fees for this statement period and year to date are shown below.

                                              Total for this period                  Total year-to-date

  Total Overdraft fees                              $70.00                                $70.00

  Total NSF: Returned Item fees                     $35.00                                $35.00

  We want to help you avoid overdraft and returned item fees. Here are a few ways to manage your account and stay on top
  of your balance:
       - Set up Overdraft Protection in Online Banking to avoid declined transactions and save on overdraft fees
       - Sign up for Alerts (footnote 1) to get an email or text message when your balance becomes low
  Please call us or visit us if you have any questions or to discuss your options.
  (footnote 1) You may elect to receive alerts via text or email. Bank of America does not charge for this service but your mobile carrier's
  message and data rates may apply. Delivery of alerts may be affected or delayed by your mobile carrier2s coverage.

Date           Transaction description                                                                                                   Amount

04/10/20       OVERDRAFT ITEM FEE FOR ACTIVITY OF 04-10                                                                                  -35.00

04/10/20       OVERDRAFT ITEM FEE FOR ACTIVITY OF 04-10                                                                                  -35.00

04/20/20       NSF: RETURNED ITEM FEE FOR ACTIVITY OF 04-20                                                                              -35.00

04/24/20       Prfd Rwds for Bus-Wire Fee Waiver of $30                                                                                   -0.00

04/24/20       Prfd Rwds for Bus-Wire Fee Waiver of $30                                                                                   -0.00

04/27/20       Wire Transfer Fee                                                                                                         -30.00

04/27/20       Wire Transfer Fee                                                                                                         -30.00

04/27/20       Prfd Rwds for Bus-Wire Fee Waiver of $30                                                                                   -0.00

04/27/20       Prfd Rwds for Bus-Wire Fee Waiver of $30                                                                                   -0.00

Total service fees                                                                                                                   -$165.00
Note your Ending Balance already reflects the subtraction of Service Fees.




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                                                              April  2020 to April 30, 2020




Daily ledger balances
Date                         Balance ($)   Date                        Balance($)   Date                    Balance ($)

04/01                              48.50   04/14                      16,578.64     04/22                           2.17
04/03                             100.44   04/16                        4,242.24    04/23                   29,172.83
04/06                               0.25   04/17                            7.17    04/24                      999.00
04/08                       20,500.25      04/20                       -2,322.93    04/27                          70.33
04/09                        6,291.56      04/21                          -27.83    04/30                   29,616.37
04/10                        -1,221.36




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P.O. Box 15284
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                                                                                              bankofamerica.com
  THE WILLIAMSBURG HOTEL BK LLC
                                                                                              Bank of America, N.A.
  DBA THE WILLIAMSBURG HOTEL
                                                                                              P.O. Box 25118
  PAYROLL ACCOUNT                                                                             Tampa, FL 33622-5118
  679 DRIGGS AVE
  BROOKLYN, NY 11211-4023




       Please see the Important Messages - Please Read section of your statement for important details that could impact you.




Your Business Advantage Checking
Preferred Rewards for Bus Platinum Honors
for May 1, 2020 to May 31, 2020                                                         Account number: 4830 7648 2703
THE WILLIAMSBURG HOTEL BK LLC                             DBA THE WILLIAMSBURG HOTEL        PAYROLL ACCOUNT

Account summary
Beginning balance on May 1, 2020                                       $29,616.37   # of deposits/credits: 9
Deposits and other credits                                             153,317.54   # of withdrawals/debits: 23
Withdrawals and other debits                                          -182,591.67   # of items-previous cycle¹: 0
Checks                                                                      -0.00   # of days in cycle: 31
Service fees                                                                -0.00   Average ledger balance: $7,636.82
Ending balance on May 31, 2020                                          $342.24     ¹Includes checks paid,deposited items&other debits




PULL: E CYCLE: 60 SPEC: E DELIVERY: E TYPE:   IMAGE: I BC: NY                                                                 Page 1 of 8
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THE WILLIAMSBURG HOTEL BK LLC ! Account # 4830 7648 2703   Mayof
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                                                                  2020 to May 31, 2020


IMPORTANT INFORMATION:
BANK DEPOSIT ACCOUNTS
How to Contact Us - You may call us at the telephone number listed on the front of this statement.

Updating your contact information - We encourage you to keep your contact information up-to-date. This includes address,
email and phone number. If your information has changed, the easiest way to update it is by visiting the Help & Support tab of
Online Banking.

Deposit agreement - When you opened your account, you received a deposit agreement and fee schedule and agreed that your
account would be governed by the terms of these documents, as we may amend them from time to time. These documents are
part of the contract for your deposit account and govern all transactions relating to your account, including all deposits and
withdrawals. Copies of both the deposit agreement and fee schedule which contain the current version of the terms and
conditions of your account relationship may be obtained at our financial centers.

Electronic transfers: In case of errors or questions about your electronic transfers - If you think your statement or receipt is
wrong or you need more information about an electronic transfer (e.g., ATM transactions, direct deposits or withdrawals,
point-of-sale transactions) on the statement or receipt, telephone or write us at the address and number listed on the front of
this statement as soon as you can. We must hear from you no later than 60 days after we sent you the FIRST statement on
which the error or problem appeared.

    6   Tell us your name and account number.
    6   Describe the error or transfer you are unsure about, and explain as clearly as you can why you believe there is an error
        or why you need more information.
    6   Tell us the dollar amount of the suspected error.

For consumer accounts used primarily for personal, family or household purposes, we will investigate your complaint and will
correct any error promptly. If we take more than 10 business days (10 calendar days if you are a Massachusetts customer) (20
business days if you are a new customer, for electronic transfers occurring during the first 30 days after the first deposit is
made to your account) to do this, we will provisionally credit your account for the amount you think is in error, so that you will
have use of the money during the time it will take to complete our investigation.

For other accounts, we investigate, and if we find we have made an error, we credit your account at the conclusion of our
investigation.

Reporting other problems - You must examine your statement carefully and promptly. You are in the best position to discover
errors and unauthorized transactions on your account. If you fail to notify us in writing of suspected problems or an
unauthorized transaction within the time period specified in the deposit agreement (which periods are no more than 60 days
after we make the statement available to you and in some cases are 30 days or less), we are not liable to you and you agree to
not make a claim against us, for the problems or unauthorized transactions.

Direct deposits - If you have arranged to have direct deposits made to your account at least once every 60 days from the same
person or company, you may call us to find out if the deposit was made as scheduled. You may also review your activity online
or visit a financial center for information.


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THE WILLIAMSBURG HOTEL BK LLC ! Account # 4830 7648 2703 ! May 1, 2020 to May 31, 2020




Deposits and other credits
Date        Description                                                                                              Amount

05/01/20    PAYCHEX SEC DEP DES:MANACH PAY ID:1689995 INDN:094014058224                  CO                       2,032.34
            ID:9046409001 CCD PMT INFO:PAYCHEX ADJUSTMENT

05/07/20    Online Banking transfer from CHK 0102 Confirmation# 1389067945                                      27,339.56

05/07/20    Online Banking transfer from CHK 0102 Confirmation# 1288865942                                      25,674.52

05/13/20    Online Banking transfer from CHK 0102 Confirmation# 3138207616                                        9,180.35

05/14/20    Online Banking transfer from CHK 0102 Confirmation# 3149746929                                      25,878.36

05/14/20    PAYCHEX-RCX    DES:PAYROLL      ID:87304800000012X INDN:WILLIAMSBURG HOTEL BK CO                          43.97
            ID:1161124166 CCD

05/15/20    Online Banking transfer from CHK 0102 Confirmation# 1456127610                                           690.23

05/22/20    Online Banking transfer from CHK 0102 Confirmation# 7316136249                                      30,150.44

05/28/20    Online Banking transfer from CHK 0102 Confirmation# 3170106714                                      32,327.77

Total deposits and other credits                                                                         $153,317.54



Withdrawals and other debits
Date        Description                                                                                              Amount

05/01/20    PAYCHEX-RCX    DES:PAYROLL      ID:87072000000305X INDN:WILLIAMSBURG HOTEL BK CO                   -20,310.13
            ID:1161124166 CCD

05/01/20    PAYCHEX TPS    DES:TAXES      ID:87069600002542X INDN:WILLIAMSBURG HOTEL BK CO                       -9,083.88
            ID:1161124166 CCD

05/01/20    PAYCHEX CGS    DES:GARNISH      ID:COL0091787248 INDN:WILLIAMSBURG HOTEL BK CO                         -152.03
            ID:1161124166 CCD

05/04/20    PAYCHEX EIB    DES:INVOICE    ID:X87080900000617 INDN:THE WILLIAMSBURG HOTEL CO                        -895.26
            ID:1161124166 CCD

05/08/20    PAYCHEX - RCX DES:PAYROLL       ID:87213100000312X INDN:WILLIAMSBURG HOTEL BK CO                   -19,332.49
            ID:1161124166 CCD

05/08/20    PAYCHEX TPS    DES:TAXES      ID:87209300005379X INDN:WILLIAMSBURG HOTEL BK CO                       -6,199.66
            ID:1161124166 CCD
                                                                                                     continued on the next page




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Withdrawals and other debits - continued
Date        Description                                                                                        Amount

05/08/20    PAYCHEX CGS    DES:GARNISH      ID:COL0091894112 INDN:WILLIAMSBURG HOTEL BK CO                    -142.00
            ID:1161124166 CCD
05/11/20    PAYCHEX       DES:PAYROLL     ID:87245800000132X INDN:WILLIAMSBURG HOTEL BK CO                 -27,319.50
            ID:1161124166 CCD

05/11/20    PAYCHEX EIB    DES:INVOICE    ID:X87218400014334 INDN:THE WILLIAMSBURG HOTEL CO                   -476.33
            ID:1161124166 CCD

05/11/20    PAYCHEX EIB    DES:INVOICE    ID:X87218400019447 INDN:THE WILLIAMSBURG HOTEL CO                   -251.21
            ID:1161124166 CCD

05/15/20    Zelle Transfer Conf# 6996d7c1d; Bergman, Ben                                                      -690.23

05/15/20    PAYCHEX-RCX    DES:PAYROLL      ID:87326100000471X INDN:WILLIAMSBURG HOTEL BK CO               -19,534.53
            ID:1161124166 CCD

05/15/20    PAYCHEX TPS    DES:TAXES      ID:87317800005534X INDN:WILLIAMSBURG HOTEL BK CO                   -6,949.83
            ID:1161124166 CCD

05/15/20    PAYCHEX TPS    DES:TAXES      ID:87326000002968X INDN:WILLIAMSBURG HOTEL BK CO                   -6,275.80
            ID:1161124166 CCD

05/15/20    PAYCHEX-HRS     DES:HRS PMT     ID:34235950 INDN:THE WILLIAMSBURG HOTE CO                        -1,593.30
            ID:2555124166 CCD

05/15/20    PAYCHEX CGS    DES:GARNISH      ID:COL0091998824 INDN:WILLIAMSBURG HOTEL BK CO                     -68.03
            ID:1161124166 CCD

05/18/20    PAYCHEX EIB    DES:INVOICE    ID:X87328600015064 INDN:THE WILLIAMSBURG HOTEL CO                   -839.25
            ID:1161124166 CCD

05/22/20    PAYCHEX-RCX    DES:PAYROLL      ID:87444500000604X INDN:WILLIAMSBURG HOTEL BK CO               -22,555.47
            ID:1161124166 CCD

05/22/20    PAYCHEX TPS    DES:TAXES      ID:87444200002197X INDN:WILLIAMSBURG HOTEL BK CO                   -7,368.97
            ID:1161124166 CCD

05/22/20    PAYCHEX CGS    DES:GARNISH      ID:COL0092108627 INDN:WILLIAMSBURG HOTEL BK CO                    -226.00
            ID:1161124166 CCD

05/29/20    PAYCHEX-RCX    DES:PAYROLL      ID:87558900000889X INDN:WILLIAMSBURG HOTEL BK CO               -24,525.40
            ID:1161124166 CCD

05/29/20    PAYCHEX TPS    DES:TAXES      ID:87556700003563X INDN:WILLIAMSBURG HOTEL BK CO                   -7,718.37
            ID:1161124166 CCD

05/29/20    PAYCHEX CGS    DES:GARNISH      ID:COL0092218374 INDN:WILLIAMSBURG HOTEL BK CO                     -84.00
            ID:1161124166 CCD

Total withdrawals and other debits                                                                     -$182,591.67




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                                                                                                    Your checking account
THE WILLIAMSBURG HOTEL BK LLC ! Account # 4830 7648 2703 ! May 1, 2020 to May 31, 2020




Service fees
  Your Overdraft and NSF: Returned Item fees for this statement period and year to date are shown below.

                                             Total for this period                   Total year-to-date

  Total Overdraft fees                              $0.00                                 $70.00

  Total NSF: Returned Item fees                     $0.00                                 $35.00

  We want to help you avoid overdraft and returned item fees. Here are a few ways to manage your account and stay on top
  of your balance:
     - Set up Overdraft Protection in Online Banking to avoid declined transactions and save on overdraft fees
     - Sign up for Alerts (footnote 1) to get an email or text message when your balance becomes low
  Please call us or visit us if you have any questions or to discuss your options.
  (footnote 1) You may elect to receive alerts via text or email. Bank of America does not charge for this service but your mobile carrier's
  message and data rates may apply. Delivery of alerts may be affected or delayed by your mobile carrier2s coverage.




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                                                                    2020 to May 31, 2020




Daily ledger balances
Date                         Balance ($)   Date                      Balance($)   Date                   Balance ($)

05/01                        2,102.67      05/11                       500.30     05/18                     342.24
05/04                        1,207.41      05/13                     9,680.65     05/28                  32,670.01
05/07                       54,221.49      05/14                    35,602.98     05/29                     342.24
05/08                       28,547.34      05/15                     1,181.49




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 Important Messages - Please Read
 We want to make sure you stay up-to-date on changes, reminders, and other important details that
 could impact you.

To help support your needs, we are temporarily increasing small business Zelle® limits. As a small business client, you will now
be able to send up to $15,000 or 20 transactions during any 24-hour period, $45,000 or 60 transactions during any 7-day
period and $60,000 or 120 transactions in any 30-day period. Please note, these limits may change at any time. Visit
bankofamerica.com/online-banking/zelle-transfer-limits/ for details.

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  THE WILLIAMSBURG HOTEL BK LLC
                                                                                              Bank of America, N.A.
  DBA THE WILLIAMSBURG HOTEL
                                                                                              P.O. Box 25118
  PAYROLL ACCOUNT                                                                             Tampa, FL 33622-5118
  679 DRIGGS AVE
  BROOKLYN, NY 11211-4023




Your Business Advantage Checking
Preferred Rewards for Bus Platinum Honors
for June 1, 2020 to June 30, 2020                                                       Account number: 4830 7648 2703
THE WILLIAMSBURG HOTEL BK LLC                             DBA THE WILLIAMSBURG HOTEL        PAYROLL ACCOUNT

Account summary
Beginning balance on June 1, 2020                                        $342.24    # of deposits/credits: 15
Deposits and other credits                                             144,549.84   # of withdrawals/debits: 16
Withdrawals and other debits                                          -142,173.42   # of items-previous cycle¹: 0
Checks                                                                      -0.00   # of days in cycle: 30
Service fees                                                                -0.00   Average ledger balance: $5,304.30
Ending balance on June 30, 2020                                       $2,718.66     ¹Includes checks paid,deposited items&other debits




PULL: E CYCLE: 60 SPEC: E DELIVERY: E TYPE:   IMAGE: I BC: NY                                                                 Page 1 of 6
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THE WILLIAMSBURG HOTEL BK LLC ! Account # 4830 7648 2703   Juneof 189to June 30, 2020
                                                               1, 2020


IMPORTANT INFORMATION:
BANK DEPOSIT ACCOUNTS
How to Contact Us - You may call us at the telephone number listed on the front of this statement.

Updating your contact information - We encourage you to keep your contact information up-to-date. This includes address,
email and phone number. If your information has changed, the easiest way to update it is by visiting the Help & Support tab of
Online Banking.

Deposit agreement - When you opened your account, you received a deposit agreement and fee schedule and agreed that your
account would be governed by the terms of these documents, as we may amend them from time to time. These documents are
part of the contract for your deposit account and govern all transactions relating to your account, including all deposits and
withdrawals. Copies of both the deposit agreement and fee schedule which contain the current version of the terms and
conditions of your account relationship may be obtained at our financial centers.

Electronic transfers: In case of errors or questions about your electronic transfers - If you think your statement or receipt is
wrong or you need more information about an electronic transfer (e.g., ATM transactions, direct deposits or withdrawals,
point-of-sale transactions) on the statement or receipt, telephone or write us at the address and number listed on the front of
this statement as soon as you can. We must hear from you no later than 60 days after we sent you the FIRST statement on
which the error or problem appeared.

    6   Tell us your name and account number.
    6   Describe the error or transfer you are unsure about, and explain as clearly as you can why you believe there is an error
        or why you need more information.
    6   Tell us the dollar amount of the suspected error.

For consumer accounts used primarily for personal, family or household purposes, we will investigate your complaint and will
correct any error promptly. If we take more than 10 business days (10 calendar days if you are a Massachusetts customer) (20
business days if you are a new customer, for electronic transfers occurring during the first 30 days after the first deposit is
made to your account) to do this, we will provisionally credit your account for the amount you think is in error, so that you will
have use of the money during the time it will take to complete our investigation.

For other accounts, we investigate, and if we find we have made an error, we credit your account at the conclusion of our
investigation.

Reporting other problems - You must examine your statement carefully and promptly. You are in the best position to discover
errors and unauthorized transactions on your account. If you fail to notify us in writing of suspected problems or an
unauthorized transaction within the time period specified in the deposit agreement (which periods are no more than 60 days
after we make the statement available to you and in some cases are 30 days or less), we are not liable to you and you agree to
not make a claim against us, for the problems or unauthorized transactions.

Direct deposits - If you have arranged to have direct deposits made to your account at least once every 60 days from the same
person or company, you may call us to find out if the deposit was made as scheduled. You may also review your activity online
or visit a financial center for information.


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                                                                                       Your checking account
THE WILLIAMSBURG HOTEL BK LLC ! Account # 4830 7648 2703 ! June 1, 2020 to June 30, 2020




Deposits and other credits
Date         Description                                                                                       Amount

06/02/20     PAYCHEX-RCX    DES:PAYROLL      ID:87432100000598X INDN:WILLIAMSBURG HOTEL BK CO                  921.67
             ID:1161124166 CCD

06/02/20     PAYCHEX-RCX    DES:PAYROLL      ID:87432100000596X INDN:WILLIAMSBURG HOTEL BK CO                  702.38
             ID:1161124166 CCD

06/02/20     PAYCHEX-RCX    DES:PAYROLL      ID:87432100000597X INDN:WILLIAMSBURG HOTEL BK CO                  487.58
             ID:1161124166 CCD

06/02/20     PAYCHEX-RCX    DES:PAYROLL      ID:87432100000595X INDN:WILLIAMSBURG HOTEL BK CO                  388.59
             ID:1161124166 CCD

06/04/20     Online Banking transfer from CHK 0102 Confirmation# 6330486024                                 32,385.70

06/12/20     Online Banking transfer from CHK 0102 Confirmation# 3493220912                                 34,760.34

06/12/20     Online Banking transfer from CHK 0102 Confirmation# 3199022019                                    229.97

06/18/20     Online Banking transfer from CHK 0102 Confirmation# 2453190950                                 24,152.32

06/18/20     Online Banking transfer from CHK 2855 Confirmation# 1353186588                                 10,000.00

06/25/20     Online Banking transfer from CHK 2855 Confirmation# 1112853723                                 29,155.86

06/25/20     Online Banking transfer from CHK 0102 Confirmation# 1512846629                                   9,417.04

06/29/20     PAYCHEX       DES:PAYROLL     ID:87870600003890X INDN:WILLIAMSBURG HOTEL BK CO                    636.56
             ID:1161124166 CCD

06/29/20     PAYCHEX       DES:PAYROLL     ID:87870600003889X INDN:WILLIAMSBURG HOTEL BK CO                    599.08
             ID:1161124166 CCD

06/29/20     PAYCHEX       DES:PAYROLL     ID:87870600003888X INDN:WILLIAMSBURG HOTEL BK CO                    443.00
             ID:1161124166 CCD

06/29/20     PAYCHEX       DES:PAYROLL     ID:87870600003887X INDN:WILLIAMSBURG HOTEL BK CO                    269.75
             ID:1161124166 CCD

Total deposits and other credits                                                                        $144,549.84




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THE WILLIAMSBURG HOTEL BK LLC !                          Pg !105
                                   Account # 4830 7648 2703   Juneof 189to June 30, 2020
                                                                  1, 2020




Withdrawals and other debits
Date        Description                                                                                          Amount

06/05/20    PAYCHEX       DES:PAYROLL      ID:87678900000242X INDN:WILLIAMSBURG HOTEL BK CO                  -24,543.44
            ID:1161124166 CCD

06/05/20    PAYCHEX TPS    DES:TAXES        ID:87676200005829X INDN:WILLIAMSBURG HOTEL BK CO                   -7,700.26
            ID:1161124166 CCD

06/05/20    PAYCHEX CGS    DES:GARNISH       ID:COL0092330861 INDN:WILLIAMSBURG HOTEL BK CO                     -142.00
            ID:1161124166 CCD

06/12/20    Zelle Transfer Conf# 51486faaa; Hendricks, Desiree                                                  -229.97

06/12/20    PAYCHEX       DES:PAYROLL      ID:87801200000173X INDN:WILLIAMSBURG HOTEL BK CO                  -26,356.57
            ID:1161124166 CCD

06/12/20    PAYCHEX TPS    DES:TAXES        ID:87802000001729X INDN:WILLIAMSBURG HOTEL BK CO                   -8,261.77
            ID:1161124166 CCD

06/12/20    PAYCHEX-HRS     DES:HRS PMT       ID:34500127 INDN:THE WILLIAMSBURG HOTE CO                        -1,604.00
            ID:2555124166 CCD

06/12/20    PAYCHEX CGS    DES:GARNISH       ID:COL0092442663 INDN:WILLIAMSBURG HOTEL BK CO                     -142.00
            ID:1161124166 CCD

06/19/20    PAYCHEX-RCX    DES:PAYROLL        ID:87899700000409X INDN:WILLIAMSBURG HOTEL BK CO               -25,838.81
            ID:1161124166 CCD

06/19/20    PAYCHEX TPS    DES:TAXES        ID:87899600002218X INDN:WILLIAMSBURG HOTEL BK CO                   -8,171.51
            ID:1161124166 CCD

06/19/20    PAYCHEX CGS    DES:GARNISH       ID:COL0092557948 INDN:WILLIAMSBURG HOTEL BK CO                     -142.00
            ID:1161124166 CCD

06/22/20    PAYCHEX EIB    DES:INVOICE      ID:X87904400002023 INDN:THE WILLIAMSBURG HOTEL CO                   -177.12
            ID:1161124166 CCD

06/26/20    PAYCHEX-RCX    DES:PAYROLL        ID:87996600000112X INDN:WILLIAMSBURG HOTEL BK CO               -29,283.56
            ID:1161124166 CCD

06/26/20    PAYCHEX TPS    DES:TAXES        ID:87998500002017X INDN:WILLIAMSBURG HOTEL BK CO                   -9,147.34
            ID:1161124166 CCD

06/26/20    PAYCHEX CGS    DES:GARNISH       ID:COL0092669217 INDN:WILLIAMSBURG HOTEL BK CO                     -142.00
            ID:1161124166 CCD

06/29/20    PAYCHEX EIB    DES:INVOICE      ID:X88000000024424 INDN:THE WILLIAMSBURG HOTEL CO                   -291.07
            ID:1161124166 CCD

Total withdrawals and other debits                                                                       -$142,173.42




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                                                                                                    Your checking account
THE WILLIAMSBURG HOTEL BK LLC ! Account # 4830 7648 2703 ! June 1, 2020 to June 30, 2020




Service fees
  Your Overdraft and NSF: Returned Item fees for this statement period and year to date are shown below.

                                             Total for this period                   Total year-to-date

  Total Overdraft fees                              $0.00                                 $70.00

  Total NSF: Returned Item fees                     $0.00                                 $35.00

  We want to help you avoid overdraft and returned item fees. Here are a few ways to manage your account and stay on top
  of your balance:
      - Set up Overdraft Protection in Online Banking to avoid declined transactions and save on overdraft fees
      - Sign up for Alerts (footnote 1) to get an email or text message when your balance becomes low
  Please call us or visit us if you have any questions or to discuss your options.
  (footnote 1) You may elect to receive alerts via text or email. Bank of America does not charge for this service but your mobile carrier's
  message and data rates may apply. Delivery of alerts may be affected or delayed by your mobile carrier2s coverage.




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THE WILLIAMSBURG HOTEL BK LLC !                          Pg !107
                                   Account # 4830 7648 2703   Juneof 189to June 30, 2020
                                                                  1, 2020




Daily ledger balances
Date                         Balance ($)   Date                      Balance($)   Date                   Balance ($)

06/01                             342.24   06/12                      1,238.46    06/25                  39,634.24
06/02                        2,842.46      06/18                    35,390.78     06/26                   1,061.34
06/04                       35,228.16      06/19                      1,238.46    06/29                   2,718.66
06/05                        2,842.46      06/22                      1,061.34




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  THE WILLIAMSBURG HOTEL BK LLC
                                                                                              Bank of America, N.A.
  DBA THE WILLIAMSBURG HOTEL
                                                                                              P.O. Box 25118
  PAYROLL ACCOUNT                                                                             Tampa, FL 33622-5118
  679 DRIGGS AVE
  BROOKLYN, NY 11211-4023




Your Business Advantage Checking
Preferred Rewards for Bus Platinum Honors
for July 1, 2020 to July 31, 2020                                                       Account number: 4830 7648 2703
THE WILLIAMSBURG HOTEL BK LLC                             DBA THE WILLIAMSBURG HOTEL        PAYROLL ACCOUNT

Account summary
Beginning balance on July 1, 2020                                       $2,718.66   # of deposits/credits: 13
Deposits and other credits                                             307,942.71   # of withdrawals/debits: 26
Withdrawals and other debits                                          -304,769.10   # of items-previous cycle¹: 0
Checks                                                                      -0.00   # of days in cycle: 31
Service fees                                                                -0.00   Average ledger balance: $12,688.87
Ending balance on July 31, 2020                                       $5,892.27     ¹Includes checks paid,deposited items&other debits




PULL: E CYCLE: 60 SPEC: E DELIVERY: E TYPE:   IMAGE: I BC: NY                                                                 Page 1 of 6
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THE WILLIAMSBURG HOTEL BK LLC ! Account # 4830 7648 2703        of2020
                                                           July 1, 189to July 31, 2020

IMPORTANT INFORMATION:
BANK DEPOSIT ACCOUNTS
How to Contact Us - You may call us at the telephone number listed on the front of this statement.

Updating your contact information - We encourage you to keep your contact information up-to-date. This includes address,
email and phone number. If your information has changed, the easiest way to update it is by visiting the Help & Support tab of
Online Banking.

Deposit agreement - When you opened your account, you received a deposit agreement and fee schedule and agreed that your
account would be governed by the terms of these documents, as we may amend them from time to time. These documents are
part of the contract for your deposit account and govern all transactions relating to your account, including all deposits and
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which the error or problem appeared.

    6   Tell us your name and account number.
    6   Describe the error or transfer you are unsure about, and explain as clearly as you can why you believe there is an error
        or why you need more information.
    6   Tell us the dollar amount of the suspected error.

For consumer accounts used primarily for personal, family or household purposes, we will investigate your complaint and will
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business days if you are a new customer, for electronic transfers occurring during the first 30 days after the first deposit is
made to your account) to do this, we will provisionally credit your account for the amount you think is in error, so that you will
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For other accounts, we investigate, and if we find we have made an error, we credit your account at the conclusion of our
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unauthorized transaction within the time period specified in the deposit agreement (which periods are no more than 60 days
after we make the statement available to you and in some cases are 30 days or less), we are not liable to you and you agree to
not make a claim against us, for the problems or unauthorized transactions.

Direct deposits - If you have arranged to have direct deposits made to your account at least once every 60 days from the same
person or company, you may call us to find out if the deposit was made as scheduled. You may also review your activity online
or visit a financial center for information.


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                                                                                           Your checking account
THE WILLIAMSBURG HOTEL BK LLC ! Account # 4830 7648 2703 ! July 1, 2020 to July 31, 2020




Deposits and other credits
Date         Description                                                                                                 Amount

07/02/20     Online Banking transfer from CHK 2855 Confirmation# 6573170329                                         43,507.56

07/02/20     Online Banking transfer from CHK 0102 Confirmation# 6573167323                                           7,163.46

07/09/20     Online Banking transfer from CHK 2855 Confirmation# 6234203372                                         59,740.53

07/09/20     Online Banking transfer from CHK 0102 Confirmation# 5134206252                                           7,163.46

07/10/20     Online Banking transfer from CHK 2855 Confirmation# 7239098931                                           1,646.80

07/16/20     Online Banking transfer from CHK 2855 Confirmation# 2294477696                                         60,722.21

07/16/20     Online Banking transfer from CHK 0102 Confirmation# 3294473615                                           2,788.46

07/21/20     PAYCHEX-RCX    DES:PAYROLL       ID:88319800000098X INDN:WILLIAMSBURG HOTEL BK CO                            89.29
             ID:1161124166 CCD

07/23/20     Online Banking transfer from CHK 2855 Confirmation# 7455635654                                         59,547.66

07/23/20     Online Banking transfer from CHK 0102 Confirmation# 5555638706                                           3,019.23

07/28/20     PAYCHEX-RCX    DES:PAYROLL       ID:88415600000077X INDN:WILLIAMSBURG HOTEL BK CO                           543.72
             ID:1161124166 CCD

07/30/20     Online Banking transfer from CHK 2855 Confirmation# 5415166165                                         60,471.87

07/30/20     Online Banking transfer from CHK 0102 Confirmation# 7215155120                                           1,538.46

Total deposits and other credits                                                                             $307,942.71



Withdrawals and other debits
Date         Description                                                                                                 Amount

07/03/20     PAYCHEX       DES:PAYROLL     ID:88095800000420X INDN:WILLIAMSBURG HOTEL BK CO                        -37,858.29
             ID:1161124166 CCD

07/03/20     PAYCHEX TPS    DES:TAXES       ID:88096400001727X INDN:WILLIAMSBURG HOTEL BK CO                       -12,245.50
             ID:1161124166 CCD

07/03/20     PAYCHEX CGS    DES:GARNISH      ID:COL0092787558 INDN:WILLIAMSBURG HOTEL BK CO                            -142.00
             ID:1161124166 CCD

07/06/20     PAYCHEX EIB    DES:INVOICE     ID:X88097600017353 INDN:THE WILLIAMSBURG HOTEL CO                          -328.58
             ID:1161124166 CCD
                                                                                                         continued on the next page




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                                  Account # 4830 7648 2703        of2020
                                                             July 1, 189to July 31, 2020


Withdrawals and other debits - continued
Date        Description                                                                                        Amount

07/10/20    PAYCHEX       DES:PAYROLL     ID:88188000000354X INDN:WILLIAMSBURG HOTEL BK CO                 -49,783.94
            ID:1161124166 CCD
07/10/20    PAYCHEX TPS    DES:TAXES      ID:88185900001892X INDN:WILLIAMSBURG HOTEL BK CO                 -16,263.45
            ID:1161124166 CCD

07/10/20    PAYCHEX TPS    DES:TAXES      ID:88178300003354X INDN:WILLIAMSBURG HOTEL BK CO                   -2,230.52
            ID:1161124166 CCD

07/10/20    PAYCHEX-HRS     DES:HRS PMT    ID:34784397 INDN:THE WILLIAMSBURG HOTE CO                         -1,646.80
            ID:2555124166 CCD

07/10/20    PAYCHEX CGS    DES:GARNISH     ID:COL0092897430 INDN:WILLIAMSBURG HOTEL BK CO                      -84.00
            ID:1161124166 CCD

07/13/20    PAYCHEX EIB    DES:INVOICE    ID:X88187500009371 INDN:THE WILLIAMSBURG HOTEL CO                   -380.45
            ID:1161124166 CCD

07/17/20    WIRE TYPE:WIRE OUT DATE:200717 TIME:1220 ET TRN:2020071700445238 SERVICE                          -441.29
            REF:008377 BNF:JOSE RAUL BRIONES ID:36058506379 BNF BK:CAPITA L ONE, NA ID:031176110
            PMT DET:304919338

07/17/20    PAYCHEX-RCX    DES:PAYROLL     ID:88285800000399X INDN:WILLIAMSBURG HOTEL BK CO                -46,790.91
            ID:1161124166 CCD

07/17/20    PAYCHEX TPS    DES:TAXES      ID:88285600002035X INDN:WILLIAMSBURG HOTEL BK CO                 -14,733.08
            ID:1161124166 CCD

07/17/20    PAYCHEX CGS    DES:GARNISH     ID:COL0093008970 INDN:WILLIAMSBURG HOTEL BK CO                      -84.00
            ID:1161124166 CCD

07/20/20    PAYCHEX EIB    DES:INVOICE    ID:X88286900010623 INDN:THE WILLIAMSBURG HOTEL CO                   -377.83
            ID:1161124166 CCD

07/20/20    PAYCHEX TPS    DES:TAXES      ID:88291800038682X INDN:WILLIAMSBURG HOTEL BK CO                     -32.65
            ID:1161124166 CCD

07/24/20    WIRE TYPE:WIRE OUT DATE:200724 TIME:1520 ET TRN:2020072400596162 SERVICE                          -418.71
            REF:429914 BNF:DANIELLA LISKER ID:636808516 BNF BK:JPMORGAN C HASE BANK, N. ID:0002
            PMT DET:305617614

07/24/20    PAYCHEX - RCX DES:PAYROLL      ID:88380100000168X INDN:WILLIAMSBURG HOTEL BK CO                -45,565.94
            ID:1161124166 CCD

07/24/20    PAYCHEX TPS    DES:TAXES      ID:88378300006261X INDN:WILLIAMSBURG HOTEL BK CO                 -14,053.66
            ID:1161124166 CCD

07/24/20    PAYCHEX CGS    DES:GARNISH     ID:COL0093123092 INDN:WILLIAMSBURG HOTEL BK CO                      -84.00
            ID:1161124166 CCD

07/27/20    PAYCHEX EIB    DES:INVOICE    ID:X88381200014959 INDN:THE WILLIAMSBURG HOTEL CO                   -391.90
            ID:1161124166 CCD

07/31/20    PAYCHEX-RCX    DES:PAYROLL     ID:88477500000791X INDN:WILLIAMSBURG HOTEL BK CO                -45,993.23
            ID:1161124166 CCD

07/31/20    PAYCHEX TPS    DES:TAXES      ID:88477300002187X INDN:WILLIAMSBURG HOTEL BK CO                 -14,754.37
            ID:1161124166 CCD

07/31/20    PAYCHEX CGS    DES:GARNISH     ID:COL0093233274 INDN:WILLIAMSBURG HOTEL BK CO                      -84.00
            ID:1161124166 CCD

Total withdrawals and other debits                                                                     -$304,769.10




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                                                                                                    Your checking account
THE WILLIAMSBURG HOTEL BK LLC ! Account # 4830 7648 2703 ! July 1, 2020 to July 31, 2020




Service fees
  Your Overdraft and NSF: Returned Item fees for this statement period and year to date are shown below.

                                              Total for this period                  Total year-to-date

  Total Overdraft fees                               $0.00                                $70.00

  Total NSF: Returned Item fees                      $0.00                                $35.00

  We want to help you avoid overdraft and returned item fees. Here are a few ways to manage your account and stay on top
  of your balance:
       - Set up Overdraft Protection in Online Banking to avoid declined transactions and save on overdraft fees
       - Sign up for Alerts (footnote 1) to get an email or text message when your balance becomes low
  Please call us or visit us if you have any questions or to discuss your options.
  (footnote 1) You may elect to receive alerts via text or email. Bank of America does not charge for this service but your mobile carrier's
  message and data rates may apply. Delivery of alerts may be affected or delayed by your mobile carrier2s coverage.

Date           Transaction description                                                                                                   Amount

07/17/20       Prfd Rwds for Bus-Wire Fee Waiver of $30                                                                                   -0.00

07/24/20       Prfd Rwds for Bus-Wire Fee Waiver of $30                                                                                   -0.00

Total service fees                                                                                                                      -$0.00
Note your Ending Balance already reflects the subtraction of Service Fees.




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THE WILLIAMSBURG HOTEL BK LLC !                         Pg !113
                                  Account # 4830 7648 2703        of2020
                                                             July 1, 189to July 31, 2020


Daily ledger balances
Date                         Balance ($)   Date                      Balance($)   Date                   Balance ($)

07/01                        2,718.66      07/13                       976.94     07/24                   4,561.72
07/02                       53,389.68      07/16                    64,487.61     07/27                   4,169.82
07/03                        3,143.89      07/17                     2,438.33     07/28                   4,713.54
07/06                        2,815.31      07/20                     2,027.85     07/30                  66,723.87
07/09                       69,719.30      07/21                     2,117.14     07/31                   5,892.27
07/10                        1,357.39      07/23                    64,684.03




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P.O. Box 15284
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                                                                                              Customer service information


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                                                                                              P.O. Box 25118
  PAYROLL ACCOUNT                                                                             Tampa, FL 33622-5118
  679 DRIGGS AVE
  BROOKLYN, NY 11211-4023




Your Business Advantage Checking
Preferred Rewards for Bus Platinum Honors
for August 1, 2020 to August 31, 2020                                                   Account number: 4830 7648 2703
THE WILLIAMSBURG HOTEL BK LLC                             DBA THE WILLIAMSBURG HOTEL        PAYROLL ACCOUNT

Account summary
Beginning balance on August 1, 2020                                     $5,892.27   # of deposits/credits: 19
Deposits and other credits                                             338,291.39   # of withdrawals/debits: 23
Withdrawals and other debits                                          -338,528.46   # of items-previous cycle¹: 0
Checks                                                                      -0.00   # of days in cycle: 31
Service fees                                                                -0.00   Average ledger balance: $11,826.12
Ending balance on August 31, 2020                                     $5,655.20     ¹Includes checks paid,deposited items&other debits




PULL: E CYCLE: 60 SPEC: E DELIVERY: E TYPE:   IMAGE: I BC: NY                                                                 Page 1 of 6
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THE WILLIAMSBURG HOTEL BK LLC ! Account # 4830 7648 2703      of 1,189
                                                           August   2020 to August 31, 2020


IMPORTANT INFORMATION:
BANK DEPOSIT ACCOUNTS
How to Contact Us - You may call us at the telephone number listed on the front of this statement.

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email and phone number. If your information has changed, the easiest way to update it is by visiting the Help & Support tab of
Online Banking.

Deposit agreement - When you opened your account, you received a deposit agreement and fee schedule and agreed that your
account would be governed by the terms of these documents, as we may amend them from time to time. These documents are
part of the contract for your deposit account and govern all transactions relating to your account, including all deposits and
withdrawals. Copies of both the deposit agreement and fee schedule which contain the current version of the terms and
conditions of your account relationship may be obtained at our financial centers.

Electronic transfers: In case of errors or questions about your electronic transfers - If you think your statement or receipt is
wrong or you need more information about an electronic transfer (e.g., ATM transactions, direct deposits or withdrawals,
point-of-sale transactions) on the statement or receipt, telephone or write us at the address and number listed on the front of
this statement as soon as you can. We must hear from you no later than 60 days after we sent you the FIRST statement on
which the error or problem appeared.

    6   Tell us your name and account number.
    6   Describe the error or transfer you are unsure about, and explain as clearly as you can why you believe there is an error
        or why you need more information.
    6   Tell us the dollar amount of the suspected error.

For consumer accounts used primarily for personal, family or household purposes, we will investigate your complaint and will
correct any error promptly. If we take more than 10 business days (10 calendar days if you are a Massachusetts customer) (20
business days if you are a new customer, for electronic transfers occurring during the first 30 days after the first deposit is
made to your account) to do this, we will provisionally credit your account for the amount you think is in error, so that you will
have use of the money during the time it will take to complete our investigation.

For other accounts, we investigate, and if we find we have made an error, we credit your account at the conclusion of our
investigation.

Reporting other problems - You must examine your statement carefully and promptly. You are in the best position to discover
errors and unauthorized transactions on your account. If you fail to notify us in writing of suspected problems or an
unauthorized transaction within the time period specified in the deposit agreement (which periods are no more than 60 days
after we make the statement available to you and in some cases are 30 days or less), we are not liable to you and you agree to
not make a claim against us, for the problems or unauthorized transactions.

Direct deposits - If you have arranged to have direct deposits made to your account at least once every 60 days from the same
person or company, you may call us to find out if the deposit was made as scheduled. You may also review your activity online
or visit a financial center for information.


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                                                                                       Your checking account
THE WILLIAMSBURG HOTEL BK LLC ! Account # 4830 7648 2703 ! August 1, 2020 to August 31, 2020




Deposits and other credits
Date         Description                                                                                              Amount

08/03/20     PAYCHEX       DES:PAYROLL     ID:88350400001754X INDN:WILLIAMSBURG HOTEL BK CO                           471.56
             ID:1161124166 CCD

08/03/20     PAYCHEX       DES:PAYROLL     ID:88350400001757X INDN:WILLIAMSBURG HOTEL BK CO                           458.17
             ID:1161124166 CCD

08/03/20     PAYCHEX       DES:PAYROLL     ID:88350400001755X INDN:WILLIAMSBURG HOTEL BK CO                           412.05
             ID:1161124166 CCD

08/03/20     PAYCHEX       DES:PAYROLL     ID:88350400001758X INDN:WILLIAMSBURG HOTEL BK CO                           288.40
             ID:1161124166 CCD

08/03/20     PAYCHEX       DES:PAYROLL     ID:88350400001756X INDN:WILLIAMSBURG HOTEL BK CO                           216.84
             ID:1161124166 CCD

08/04/20     PAYCHEX-RCX    DES:PAYROLL      ID:88516600000094X INDN:WILLIAMSBURG HOTEL BK CO                         500.76
             ID:1161124166 CCD

08/06/20     Online Banking transfer from CHK 2855 Confirmation# 1276548943                                      67,051.29

08/06/20     Online Banking transfer from CHK 0102 Confirmation# 1576542599                                        2,000.00

08/14/20     Online Banking transfer from CHK 2855 Confirmation# 1437337139                                      78,966.60

08/14/20     Online Banking transfer from CHK 0102 Confirmation# 2337326371                                        1,538.46

08/18/20     Online Banking transfer from CHK 2855 Confirmation# 5576942123                                        1,776.35

08/20/20     Online Banking transfer from CHK 2855 Confirmation# 3597037600                                      85,526.70

08/20/20     Online Banking transfer from CHK 0102 Confirmation# 2197040598                                        1,538.46

08/20/20     PAYCHEX - RCX DES:PAYROLL       ID:88740600001807X INDN:WILLIAMSBURG HOTEL BK CO                         502.29
             ID:1161124166 CCD

08/27/20     Online Banking transfer from CHK 2855 Confirmation# 3556961590                                      92,994.00

08/27/20     Online Banking transfer from CHK 0102 Confirmation# 2356963721                                        1,538.46

08/31/20     PAYCHEX-RCX    DES:PAYROLL      ID:88738700003546X INDN:WILLIAMSBURG HOTEL BK CO                      1,423.61
             ID:1161124166 CCD
                                                                                                      continued on the next page




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                                  Account # 4830 7648 2703      of 1,189
                                                             August   2020 to August 31, 2020




Deposits and other credits - continued
Date        Description                                                                                                Amount

08/31/20    PAYCHEX-RCX    DES:PAYROLL       ID:88738700003545X INDN:WILLIAMSBURG HOTEL BK CO                          610.81
            ID:1161124166 CCD

08/31/20    PAYCHEX-RCX    DES:PAYROLL       ID:88738700003544X INDN:WILLIAMSBURG HOTEL BK CO                          476.58
            ID:1161124166 CCD

Total deposits and other credits                                                                           $338,291.39



Withdrawals and other debits
Date        Description                                                                                                Amount

08/03/20    PAYCHEX EIB    DES:INVOICE     ID:X88482900056711 INDN:THE WILLIAMSBURG HOTEL CO                         -377.83
            ID:1161124166 CCD
08/07/20    PAYCHEX       DES:PAYROLL     ID:88572900000643X INDN:WILLIAMSBURG HOTEL BK CO                       -55,727.25
            ID:1161124166 CCD

08/07/20    PAYCHEX TPS    DES:TAXES       ID:88574000001852X INDN:WILLIAMSBURG HOTEL BK CO                      -17,731.96
            ID:1161124166 CCD

08/07/20    PAYCHEX CGS    DES:GARNISH       ID:COL0093347775 INDN:WILLIAMSBURG HOTEL BK CO                            -84.00
            ID:1161124166 CCD

08/10/20    PAYCHEX EIB    DES:INVOICE     ID:X88576100007669 INDN:THE WILLIAMSBURG HOTEL CO                         -398.93
            ID:1161124166 CCD

08/14/20    Online Banking transfer to CHK 2855 Confirmation# 3337350913                                           -2,464.78

08/14/20    PAYCHEX - RCX DES:PAYROLL        ID:88672000000841X INDN:WILLIAMSBURG HOTEL BK CO                    -58,376.48
            ID:1161124166 CCD

08/14/20    PAYCHEX TPS    DES:TAXES       ID:88669000002992X INDN:WILLIAMSBURG HOTEL BK CO                      -18,881.47
            ID:1161124166 CCD

08/14/20    PAYCHEX-HRS     DES:HRS PMT      ID:35065962 INDN:THE WILLIAMSBURG HOTE CO                             -1,776.35
            ID:2555124166 CCD

08/14/20    PAYCHEX CGS    DES:GARNISH       ID:COL0093461059 INDN:WILLIAMSBURG HOTEL BK CO                            -84.00
            ID:1161124166 CCD

08/17/20    Online Banking Transfer Conf# bb79be215; Dordevic                                                          -89.29

08/17/20    Online Banking Transfer Conf# af5246a4f; Dordevic                                                        -543.72

08/17/20    Online Banking Transfer Conf# 937a18914; Dordevic                                                        -500.76

08/17/20    PAYCHEX EIB    DES:INVOICE     ID:X88672500006448 INDN:THE WILLIAMSBURG HOTEL CO                         -420.04
            ID:1161124166 CCD

08/21/20    Online Banking transfer to CHK 2855 Confirmation# 1102923531                                             -502.29

08/21/20    PAYCHEX       DES:PAYROLL     ID:88768000000188X INDN:WILLIAMSBURG HOTEL BK CO                       -65,446.11
            ID:1161124166 CCD

08/21/20    PAYCHEX TPS    DES:TAXES       ID:88765600001701X INDN:WILLIAMSBURG HOTEL BK CO                      -20,253.03
            ID:1161124166 CCD

08/21/20    PAYCHEX CGS    DES:GARNISH       ID:COL0093575724 INDN:WILLIAMSBURG HOTEL BK CO                            -84.00
            ID:1161124166 CCD

08/24/20    PAYCHEX EIB    DES:INVOICE     ID:X88767800012777 INDN:THE WILLIAMSBURG HOTEL CO                         -476.14
            ID:1161124166 CCD
                                                                                                       continued on the next page




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                                                                                                    Your checking account
THE WILLIAMSBURG HOTEL BK LLC ! Account # 4830 7648 2703 ! August 1, 2020 to August 31, 2020




Withdrawals and other debits - continued
Date          Description                                                                                                                Amount

08/28/20      PAYCHEX-RCX    DES:PAYROLL          ID:88861000000773X INDN:WILLIAMSBURG HOTEL BK CO                                   -71,291.32
              ID:1161124166 CCD

08/28/20      PAYCHEX TPS    DES:TAXES          ID:88859800004899X INDN:WILLIAMSBURG HOTEL BK CO                                     -22,470.12
              ID:1161124166 CCD

08/28/20      PAYCHEX CGS    DES:GARNISH          ID:COL0093688986 INDN:WILLIAMSBURG HOTEL BK CO                                         -84.00
              ID:1161124166 CCD

08/31/20      PAYCHEX EIB    DES:INVOICE        ID:X88865500054123 INDN:THE WILLIAMSBURG HOTEL CO                                       -464.59
              ID:1161124166 CCD

Total withdrawals and other debits                                                                                             -$338,528.46




Service fees
  Your Overdraft and NSF: Returned Item fees for this statement period and year to date are shown below.

                                             Total for this period                   Total year-to-date

  Total Overdraft fees                              $0.00                                 $70.00

  Total NSF: Returned Item fees                     $0.00                                 $35.00

  We want to help you avoid overdraft and returned item fees. Here are a few ways to manage your account and stay on top
  of your balance:
       - Set up Overdraft Protection in Online Banking to avoid declined transactions and save on overdraft fees
       - Sign up for Alerts (footnote 1) to get an email or text message when your balance becomes low
  Please call us or visit us if you have any questions or to discuss your options.
  (footnote 1) You may elect to receive alerts via text or email. Bank of America does not charge for this service but your mobile carrier's
  message and data rates may apply. Delivery of alerts may be affected or delayed by your mobile carrier2s coverage.




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                                                             August   2020 to August 31, 2020




Daily ledger balances
Date                         Balance ($)   Date                         Balance($)   Date                     Balance ($)

08/01                        5,892.27      08/10                        2,971.37     08/21                     3,397.91
08/03                        7,361.46      08/14                        1,893.35     08/24                     2,921.77
08/04                        7,862.22      08/17                          339.54     08/27                    97,454.23
08/06                       76,913.51      08/18                        2,115.89     08/28                     3,608.79
08/07                        3,370.30      08/20                       89,683.34     08/31                     5,655.20




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P.O. Box 15284
Wilmington, DE 19850
                                                                                              Customer service information


                                                                                              1.888.BUSINESS (1.888.287.4637)

                                                                                              bankofamerica.com
  THE WILLIAMSBURG HOTEL BK LLC
                                                                                              Bank of America, N.A.
  DBA THE WILLIAMSBURG HOTEL
                                                                                              P.O. Box 25118
  PAYROLL ACCOUNT                                                                             Tampa, FL 33622-5118
  679 DRIGGS AVE
  BROOKLYN, NY 11211-4023




       Please see the Important Messages - Please Read section of your statement for important details that could impact you.




Your Business Advantage Checking
Preferred Rewards for Bus Platinum Honors
for September 1, 2020 to September 30, 2020                                             Account number: 4830 7648 2703
THE WILLIAMSBURG HOTEL BK LLC                             DBA THE WILLIAMSBURG HOTEL        PAYROLL ACCOUNT

Account summary
Beginning balance on September 1, 2020                                  $5,655.20   # of deposits/credits: 11
Deposits and other credits                                             413,594.24   # of withdrawals/debits: 17
Withdrawals and other debits                                          -413,552.69   # of items-previous cycle¹: 0
Checks                                                                      -0.00   # of days in cycle: 30
Service fees                                                                -0.00   Average ledger balance: $15,966.77
Ending balance on September 30, 2020                                  $5,696.75     ¹Includes checks paid,deposited items&other debits




PULL: E CYCLE: 60 SPEC: E DELIVERY: E TYPE:   IMAGE: I BC: NY                                                                 Page 1 of 8
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THE WILLIAMSBURG HOTEL BK LLC ! Account # 4830 7648 2703       of 189
                                                           September 1, 2020 to September 30, 2020


IMPORTANT INFORMATION:
BANK DEPOSIT ACCOUNTS
How to Contact Us - You may call us at the telephone number listed on the front of this statement.

Updating your contact information - We encourage you to keep your contact information up-to-date. This includes address,
email and phone number. If your information has changed, the easiest way to update it is by visiting the Help & Support tab of
Online Banking.

Deposit agreement - When you opened your account, you received a deposit agreement and fee schedule and agreed that your
account would be governed by the terms of these documents, as we may amend them from time to time. These documents are
part of the contract for your deposit account and govern all transactions relating to your account, including all deposits and
withdrawals. Copies of both the deposit agreement and fee schedule which contain the current version of the terms and
conditions of your account relationship may be obtained at our financial centers.

Electronic transfers: In case of errors or questions about your electronic transfers - If you think your statement or receipt is
wrong or you need more information about an electronic transfer (e.g., ATM transactions, direct deposits or withdrawals,
point-of-sale transactions) on the statement or receipt, telephone or write us at the address and number listed on the front of
this statement as soon as you can. We must hear from you no later than 60 days after we sent you the FIRST statement on
which the error or problem appeared.

    6   Tell us your name and account number.
    6   Describe the error or transfer you are unsure about, and explain as clearly as you can why you believe there is an error
        or why you need more information.
    6   Tell us the dollar amount of the suspected error.

For consumer accounts used primarily for personal, family or household purposes, we will investigate your complaint and will
correct any error promptly. If we take more than 10 business days (10 calendar days if you are a Massachusetts customer) (20
business days if you are a new customer, for electronic transfers occurring during the first 30 days after the first deposit is
made to your account) to do this, we will provisionally credit your account for the amount you think is in error, so that you will
have use of the money during the time it will take to complete our investigation.

For other accounts, we investigate, and if we find we have made an error, we credit your account at the conclusion of our
investigation.

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errors and unauthorized transactions on your account. If you fail to notify us in writing of suspected problems or an
unauthorized transaction within the time period specified in the deposit agreement (which periods are no more than 60 days
after we make the statement available to you and in some cases are 30 days or less), we are not liable to you and you agree to
not make a claim against us, for the problems or unauthorized transactions.

Direct deposits - If you have arranged to have direct deposits made to your account at least once every 60 days from the same
person or company, you may call us to find out if the deposit was made as scheduled. You may also review your activity online
or visit a financial center for information.


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                                                                                      Your checking account
THE WILLIAMSBURG HOTEL BK LLC ! Account # 4830 7648 2703 ! September 1, 2020 to September 30, 2020




Deposits and other credits
Date         Description                                                                                                    Amount

09/01/20     PAYCHEX-RCX    DES:PAYROLL     ID:88901400000081X INDN:WILLIAMSBURG HOTEL BK CO                                199.36
             ID:1161124166 CCD

09/03/20     Online Banking transfer from CHK 2855 Confirmation# 6218011621                                           102,777.92

09/03/20     Online Banking transfer from CHK 0102 Confirmation# 7518015056                                              1,538.46

09/10/20     PAYCHEX-RCX    DES:PAYROLL     ID:89021700000054X INDN:WILLIAMSBURG HOTEL BK CO                                227.73
             ID:1161124166 CCD

09/11/20     Online Banking transfer from CHK 2855 Confirmation# 1279447746                                           102,701.89

09/11/20     Online Banking transfer from CHK 0102 Confirmation# 1479451018                                              1,538.46

09/17/20     Online Banking transfer from CHK 2855 Confirmation# 5438242484                                           102,662.81

09/17/20     Online Banking transfer from CHK 0102 Confirmation# 5538232675                                              1,538.46

09/24/20     Online Banking transfer from CHK 2855 Confirmation# 7599799851                                            98,622.51

09/24/20     Online Banking transfer from CHK 0102 Confirmation# 5299802875                                              1,538.46

09/30/20     PAYCHEX-RCX    DES:PAYROLL     ID:89364200000049X INDN:WILLIAMSBURG HOTEL BK CO                                248.18
             ID:1161124166 CCD

Total deposits and other credits                                                                                $413,594.24



Withdrawals and other debits
Date         Description                                                                                                    Amount

09/04/20     PAYCHEX       DES:PAYROLL    ID:88957400000703X INDN:WILLIAMSBURG HOTEL BK CO                            -78,988.78
             ID:1161124166 CCD

09/04/20     PAYCHEX TPS    DES:TAXES      ID:88958700005725X INDN:WILLIAMSBURG HOTEL BK CO                           -24,522.32
             ID:1161124166 CCD

09/04/20     PAYCHEX CGS    DES:GARNISH     ID:COL0093805650 INDN:WILLIAMSBURG HOTEL BK CO                                  -84.00
             ID:1161124166 CCD

09/08/20     PAYCHEX EIB    DES:INVOICE    ID:X88963600011904 INDN:THE WILLIAMSBURG HOTEL CO                              -518.43
             ID:1161124166 CCD
                                                                                                            continued on the next page




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                                                             September 1, 2020 to September 30, 2020




Withdrawals and other debits - continued
Date        Description                                                                                 Amount

09/11/20    PAYCHEX - RCX DES:PAYROLL      ID:89043400000164X INDN:WILLIAMSBURG HOTEL BK CO         -78,165.70
            ID:1161124166 CCD
09/11/20    PAYCHEX TPS    DES:TAXES      ID:89043000002771X INDN:WILLIAMSBURG HOTEL BK CO          -25,201.21
            ID:1161124166 CCD

09/11/20    PAYCHEX-HRS     DES:HRS PMT    ID:35327449 INDN:THE WILLIAMSBURG HOTE CO                  -1,670.15
            ID:2555124166 CCD

09/11/20    PAYCHEX CGS    DES:GARNISH     ID:COL0093916267 INDN:WILLIAMSBURG HOTEL BK CO               -84.00
            ID:1161124166 CCD

09/14/20    PAYCHEX EIB    DES:INVOICE    ID:X89048100002488 INDN:THE WILLIAMSBURG HOTEL CO            -503.60
            ID:1161124166 CCD

09/18/20    PAYCHEX-RCX    DES:PAYROLL     ID:89138800000161X INDN:WILLIAMSBURG HOTEL BK CO         -78,101.30
            ID:1161124166 CCD

09/18/20    PAYCHEX TPS    DES:TAXES      ID:89137200002099X INDN:WILLIAMSBURG HOTEL BK CO          -25,229.06
            ID:1161124166 CCD

09/18/20    PAYCHEX CGS    DES:GARNISH     ID:COL0094034984 INDN:WILLIAMSBURG HOTEL BK CO               -84.00
            ID:1161124166 CCD

09/21/20    PAYCHEX EIB    DES:INVOICE    ID:X89141200016459 INDN:THE WILLIAMSBURG HOTEL CO            -512.87
            ID:1161124166 CCD

09/25/20    PAYCHEX - RCX DES:PAYROLL      ID:89247700000387X INDN:WILLIAMSBURG HOTEL BK CO         -75,566.50
            ID:1161124166 CCD

09/25/20    PAYCHEX TPS    DES:TAXES      ID:89247200001726X INDN:WILLIAMSBURG HOTEL BK CO          -23,723.90
            ID:1161124166 CCD

09/25/20    PAYCHEX CGS    DES:GARNISH     ID:COL0094146636 INDN:WILLIAMSBURG HOTEL BK CO               -84.00
            ID:1161124166 CCD

09/28/20    PAYCHEX EIB    DES:INVOICE    ID:X89249000014376 INDN:THE WILLIAMSBURG HOTEL CO            -512.87
            ID:1161124166 CCD

Total withdrawals and other debits                                                              -$413,552.69




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                                                                                                    Your checking account
THE WILLIAMSBURG HOTEL BK LLC ! Account # 4830 7648 2703 ! September 1, 2020 to September 30, 2020




Service fees
  Your Overdraft and NSF: Returned Item fees for this statement period and year to date are shown below.

                                             Total for this period                   Total year-to-date

  Total Overdraft fees                              $0.00                                 $70.00

  Total NSF: Returned Item fees                     $0.00                                 $35.00

  We want to help you avoid overdraft and returned item fees. Here are a few ways to manage your account and stay on top
  of your balance:
      - Set up Overdraft Protection in Online Banking to avoid declined transactions and save on overdraft fees
      - Sign up for Alerts (footnote 1) to get an email or text message when your balance becomes low
  Please call us or visit us if you have any questions or to discuss your options.
  (footnote 1) You may elect to receive alerts via text or email. Bank of America does not charge for this service but your mobile carrier's
  message and data rates may apply. Delivery of alerts may be affected or delayed by your mobile carrier2s coverage.




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                                                             September 1, 2020 to September 30, 2020




Daily ledger balances
Date                         Balance ($)   Date                  Balance($)   Date                  Balance ($)

09/01                        5,854.56      09/11                 5,404.43     09/24                105,335.84
09/03                      110,170.94      09/14                 4,900.83     09/25                  5,961.44
09/04                        6,575.84      09/17               109,102.10     09/28                  5,448.57
09/08                        6,057.41      09/18                 5,687.74     09/30                  5,696.75
09/10                        6,285.14      09/21                 5,174.87




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 Important Messages - Please Read
 We want to make sure you stay up-to-date on changes, reminders, and other important details that
 could impact you.

Our Deposit Agreement and Disclosures were updated to include recordkeeping requirements for Federal Deposit Insurance
Corporation (FDIC) insurance coverage. These requirements apply to deposit accounts opened on behalf of beneficial owners
(for example, as a trustee).

For more details, please review the 3Special Provisions for Pass-Through Accounts4 section of our Deposit Agreement at
bankofamerica.com/depositagreement.




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P.O. Box 15284
Wilmington, DE 19850
                                                                                              Customer service information


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                                                                                              bankofamerica.com
  THE WILLIAMSBURG HOTEL BK LLC
                                                                                              Bank of America, N.A.
  DBA THE WILLIAMSBURG HOTEL
                                                                                              P.O. Box 25118
  PAYROLL ACCOUNT                                                                             Tampa, FL 33622-5118
  679 DRIGGS AVE
  BROOKLYN, NY 11211-4023




Your Business Advantage Checking
Preferred Rewards for Bus Platinum Honors
for October 1, 2020 to October 31, 2020                                                 Account number: 4830 7648 2703
THE WILLIAMSBURG HOTEL BK LLC                             DBA THE WILLIAMSBURG HOTEL        PAYROLL ACCOUNT

Account summary
Beginning balance on October 1, 2020                                    $5,696.75   # of deposits/credits: 13
Deposits and other credits                                             475,700.31   # of withdrawals/debits: 23
Withdrawals and other debits                                          -475,320.78   # of items-previous cycle¹: 0
Checks                                                                      -0.00   # of days in cycle: 31
Service fees                                                                -0.00   Average ledger balance: $16,572.07
Ending balance on October 31, 2020                                    $6,076.28     ¹Includes checks paid,deposited items&other debits




PULL: E CYCLE: 60 SPEC: E DELIVERY: E TYPE:   IMAGE: I BC: NY                                                                 Page 1 of 6
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THE WILLIAMSBURG HOTEL BK LLC ! Account # 4830 7648 2703       of 189
                                                           October 1, 2020 to October 31, 2020


IMPORTANT INFORMATION:
BANK DEPOSIT ACCOUNTS
How to Contact Us - You may call us at the telephone number listed on the front of this statement.

Updating your contact information - We encourage you to keep your contact information up-to-date. This includes address,
email and phone number. If your information has changed, the easiest way to update it is by visiting the Help & Support tab of
Online Banking.

Deposit agreement - When you opened your account, you received a deposit agreement and fee schedule and agreed that your
account would be governed by the terms of these documents, as we may amend them from time to time. These documents are
part of the contract for your deposit account and govern all transactions relating to your account, including all deposits and
withdrawals. Copies of both the deposit agreement and fee schedule which contain the current version of the terms and
conditions of your account relationship may be obtained at our financial centers.

Electronic transfers: In case of errors or questions about your electronic transfers - If you think your statement or receipt is
wrong or you need more information about an electronic transfer (e.g., ATM transactions, direct deposits or withdrawals,
point-of-sale transactions) on the statement or receipt, telephone or write us at the address and number listed on the front of
this statement as soon as you can. We must hear from you no later than 60 days after we sent you the FIRST statement on
which the error or problem appeared.

    6   Tell us your name and account number.
    6   Describe the error or transfer you are unsure about, and explain as clearly as you can why you believe there is an error
        or why you need more information.
    6   Tell us the dollar amount of the suspected error.

For consumer accounts used primarily for personal, family or household purposes, we will investigate your complaint and will
correct any error promptly. If we take more than 10 business days (10 calendar days if you are a Massachusetts customer) (20
business days if you are a new customer, for electronic transfers occurring during the first 30 days after the first deposit is
made to your account) to do this, we will provisionally credit your account for the amount you think is in error, so that you will
have use of the money during the time it will take to complete our investigation.

For other accounts, we investigate, and if we find we have made an error, we credit your account at the conclusion of our
investigation.

Reporting other problems - You must examine your statement carefully and promptly. You are in the best position to discover
errors and unauthorized transactions on your account. If you fail to notify us in writing of suspected problems or an
unauthorized transaction within the time period specified in the deposit agreement (which periods are no more than 60 days
after we make the statement available to you and in some cases are 30 days or less), we are not liable to you and you agree to
not make a claim against us, for the problems or unauthorized transactions.

Direct deposits - If you have arranged to have direct deposits made to your account at least once every 60 days from the same
person or company, you may call us to find out if the deposit was made as scheduled. You may also review your activity online
or visit a financial center for information.


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                                                                                       Your checking account
THE WILLIAMSBURG HOTEL BK LLC ! Account # 4830 7648 2703 ! October 1, 2020 to October 31, 2020




Deposits and other credits
Date         Description                                                                                                Amount

10/01/20     Online Banking transfer from CHK 2855 Confirmation# 7259873840                                       103,381.07

10/01/20     Online Banking transfer from CHK 0102 Confirmation# 6459861390                                          1,538.46

10/05/20     PAYCHEX       DES:PAYROLL     ID:89214700004686X INDN:WILLIAMSBURG HOTEL BK CO                             626.28
             ID:1161124166 CCD

10/05/20     PAYCHEX       DES:PAYROLL     ID:89214700004687X INDN:WILLIAMSBURG HOTEL BK CO                             459.32
             ID:1161124166 CCD

10/05/20     PAYCHEX       DES:PAYROLL     ID:89214700004688X INDN:WILLIAMSBURG HOTEL BK CO                             276.39
             ID:1161124166 CCD

10/05/20     PAYCHEX       DES:PAYROLL     ID:89214700004690X INDN:WILLIAMSBURG HOTEL BK CO                             268.14
             ID:1161124166 CCD

10/05/20     PAYCHEX       DES:PAYROLL     ID:89214700004689X INDN:WILLIAMSBURG HOTEL BK CO                             105.03
             ID:1161124166 CCD

10/09/20     Online Banking transfer from CHK 2855 Confirmation# 3121613172                                        92,701.79

10/09/20     Online Banking transfer from CHK 0102 Confirmation# 3521615995                                          1,538.46

10/15/20     Online Banking transfer from CHK 2855 Confirmation# 1181442475                                        93,311.33

10/15/20     Online Banking transfer from CHK 0102 Confirmation# 2181446708                                          1,538.46

10/22/20     Online Banking transfer from CHK 2855 Confirmation# 1141554316                                        91,530.96

10/30/20     Online Banking transfer from CHK 2855 Confirmation# 3203191604                                        88,424.62

Total deposits and other credits                                                                            $475,700.31



Withdrawals and other debits
Date         Description                                                                                                Amount

10/02/20     PAYCHEX       DES:PAYROLL     ID:89403900000970X INDN:WILLIAMSBURG HOTEL BK CO                       -78,206.41
             ID:1161124166 CCD

10/02/20     PAYCHEX TPS    DES:TAXES      ID:89401600001926X INDN:WILLIAMSBURG HOTEL BK CO                       -24,942.97
             ID:1161124166 CCD
                                                                                                        continued on the next page




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Withdrawals and other debits - continued
Date        Description                                                                                              Amount

10/02/20    PAYCHEX CGS    DES:GARNISH        ID:COL0094261592 INDN:WILLIAMSBURG HOTEL BK CO                         -84.00
            ID:1161124166 CCD
10/05/20    PAYCHEX EIB    DES:INVOICE      ID:X89407000044401 INDN:THE WILLIAMSBURG HOTEL CO                       -510.39
            ID:1161124166 CCD

10/09/20    Zelle Transfer Conf# f78dc96f5; Kirschner, Stephanie                                                    -466.00

10/09/20    PAYCHEX       DES:PAYROLL       ID:89502500000119X INDN:WILLIAMSBURG HOTEL BK CO                     -71,341.22
            ID:1161124166 CCD

10/09/20    PAYCHEX TPS    DES:TAXES        ID:89500700005227X INDN:WILLIAMSBURG HOTEL BK CO                     -21,724.27
            ID:1161124166 CCD

10/09/20    PAYCHEX CGS    DES:GARNISH        ID:COL0094378095 INDN:WILLIAMSBURG HOTEL BK CO                         -84.00
            ID:1161124166 CCD

10/13/20    PAYCHEX EIB    DES:INVOICE      ID:X89503900015634 INDN:THE WILLIAMSBURG HOTEL CO                       -608.16
            ID:1161124166 CCD

10/16/20    PAYCHEX       DES:PAYROLL       ID:89626300000347X INDN:WILLIAMSBURG HOTEL BK CO                     -72,613.12
            ID:1161124166 CCD

10/16/20    PAYCHEX TPS    DES:TAXES        ID:89626900002192X INDN:WILLIAMSBURG HOTEL BK CO                     -21,982.87
            ID:1161124166 CCD

10/16/20    PAYCHEX-HRS     DES:HRS PMT       ID:35643402 INDN:THE WILLIAMSBURG HOTE CO                            -1,519.61
            ID:2555124166 CCD

10/16/20    PAYCHEX CGS    DES:GARNISH        ID:COL0094491441 INDN:WILLIAMSBURG HOTEL BK CO                         -84.00
            ID:1161124166 CCD

10/19/20    PAYCHEX EIB    DES:INVOICE      ID:X89628100016961 INDN:THE WILLIAMSBURG HOTEL CO                       -583.85
            ID:1161124166 CCD

10/20/20    PAYCHEX TPS    DES:TAXES        ID:89652600030502X INDN:WILLIAMSBURG HOTEL BK CO                       -2,167.13
            ID:1161124166 CCD

10/23/20    PAYCHEX       DES:PAYROLL       ID:89721700000052X INDN:WILLIAMSBURG HOTEL BK CO                     -67,408.02
            ID:1161124166 CCD

10/23/20    PAYCHEX TPS    DES:TAXES        ID:89719400004886X INDN:WILLIAMSBURG HOTEL BK CO                     -21,357.27
            ID:1161124166 CCD

10/23/20    PAYCHEX CGS    DES:GARNISH        ID:COL0094608730 INDN:WILLIAMSBURG HOTEL BK CO                         -84.00
            ID:1161124166 CCD

10/26/20    Zelle Transfer Conf# 311680835; Shepansky, Moshe                                                       -1,280.31

10/26/20    PAYCHEX EIB    DES:INVOICE      ID:X89723900016415 INDN:THE WILLIAMSBURG HOTEL CO                       -549.11
            ID:1161124166 CCD

10/30/20    PAYCHEX - RCX DES:PAYROLL         ID:89820400000147X INDN:WILLIAMSBURG HOTEL BK CO                   -66,859.82
            ID:1161124166 CCD

10/30/20    PAYCHEX TPS    DES:TAXES        ID:89814500006778X INDN:WILLIAMSBURG HOTEL BK CO                     -20,780.25
            ID:1161124166 CCD

10/30/20    PAYCHEX CGS    DES:GARNISH        ID:COL0094722499 INDN:WILLIAMSBURG HOTEL BK CO                         -84.00
            ID:1161124166 CCD

Total withdrawals and other debits                                                                           -$475,320.78




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THE WILLIAMSBURG HOTEL BK LLC ! Account # 4830 7648 2703 ! October 1, 2020 to October 31, 2020




Service fees
  Your Overdraft and NSF: Returned Item fees for this statement period and year to date are shown below.

                                             Total for this period                   Total year-to-date

  Total Overdraft fees                              $0.00                                 $70.00

  Total NSF: Returned Item fees                     $0.00                                 $35.00

  We want to help you avoid overdraft and returned item fees. Here are a few ways to manage your account and stay on top
  of your balance:
      - Set up Overdraft Protection in Online Banking to avoid declined transactions and save on overdraft fees
      - Sign up for Alerts (footnote 1) to get an email or text message when your balance becomes low
  Please call us or visit us if you have any questions or to discuss your options.
  (footnote 1) You may elect to receive alerts via text or email. Bank of America does not charge for this service but your mobile carrier's
  message and data rates may apply. Delivery of alerts may be affected or delayed by your mobile carrier2s coverage.




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Daily ledger balances
Date                         Balance ($)   Date                           Balance($)   Date                      Balance ($)

10/01                      110,616.28      10/15                        103,474.06     10/22                     96,054.44
10/02                        7,382.90      10/16                          7,274.46     10/23                      7,205.15
10/05                        8,607.67      10/19                          6,690.61     10/26                      5,375.73
10/09                        9,232.43      10/20                          4,523.48     10/30                      6,076.28
10/13                        8,624.27




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                                                                                                                 OMB Control Number 3245-0407
                                    Loan Forgiveness Application
                                                        Pg 135Revised
                                                                 of 189June 16, 2020                                 Expiration Date: 10/31/2020

                                                  PPP Loan Forgiveness Calculation Form

                              Business Legal Name (“Borrower”)                                   DBA or Tradename, if applicable
      The Williamsburg Hotel BK LLC
                                      Business Address                                 Business TIN (EIN, SSN)            Business Phone
       679 Driggs Ave                                                               XX-XXXXXXX                       ( ) 652 -- 9292
                                                                                                                    (917)
                                                                                           Primary Contact                E-mail Address
       Brooklyn                                             NY   11211-4023
                                                                                    Toby Moskovits                  toby@heritage-equity.com

      SBA PPP Loan Number: 92179071-04                             Lender PPP Loan Number: 102055402658

      PPP Loan Amount: 1,438,000.00                                 PPP Loan Disbursement Date: 4/19/2020

      Employees at Time of Loan Application: ___________
                                             130                    Employees at Time of Forgiveness Application: 100

      EIDL Advance Amount: 10,000.00                               EIDL Application Number: 3301714870

      Payroll Schedule: The frequency with which payroll is paid to employees is:

        X Weekly
        ☐                ☐ Biweekly (every other week)             ☐ Twice a month           ☐ Monthly             ☐ Other

      Covered Period: 4/19/2020                          to 10/3/2020

      Alternative Payroll Covered Period, if applicable: 4/20/2020                        to 10/4/2020

      If Borrower (together with affiliates, if applicable) received PPP loans in excess of $2 million, check here: ☐

      Forgiveness Amount Calculation:

      Payroll and Nonpayroll Costs
      Line 1. Payroll Costs (enter the amount from PPP Schedule A, line 10):                                       1,474,497.33

      Line 2. Business Mortgage Interest Payments:                                                                 0.00

      Line 3. Business Rent or Lease Payments:                                                                     0.00

      Line 4. Business Utility Payments:                                                                           94,071.69

      Adjustments for Full-Time Equivalency (FTE) and Salary/Hourly Wage Reductions
      Line 5. Total Salary/Hourly Wage Reduction (enter the amount from PPP Schedule A, line3):                    81,442.45

      Line 6. Add the amounts on lines 1, 2, 3, and 4, then subtract the amount entered in line5:                  1,487,126.57

      Line 7. FTE Reduction Quotient (enter the number from PPP Schedule A, line13):                               1.00

      Potential Forgiveness Amounts
      Line 8. Modified Total (multiply line 6 by line 7):                                                          1,487,126.57

      Line 9. PPP Loan Amount:                                                                                     1,438,000.00

      Line 10. Payroll Cost 60% Requirement (divide line 1 by 0.60):                                               2,457,495.55

      Forgiveness Amount
      Line 11. Forgiveness Amount (enter the smallest of lines 8, 9, and 10):                                      1,438,000.00




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                                                                                                                  OMB Control Number 3245-0407
                                     Loan Forgiveness Application
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    By Signing Below, You Make the Following Representations and Certifications on Behalf of the Borrower:

    The authorized representative of the Borrower certifies to all of the below by initialing next to each one.

               The dollar amount for which forgiveness is requested:
                   • was used to pay costs that are eligible for forgiveness (payroll costs to retain employees; business mortgage interest
                        payments; business rent or lease payments; or business utility payments);
                   • includes all applicable reductions due to decreases in the number of full-time equivalent employees and
                       salary/hourly wage reductions;
                   • includes payroll costs equal to at least 60% of the forgiveness amount;
                   • if a 24-week Covered Period applies, does not exceed 2.5 months’ worth of 2019 compensation for any owner-
                        employee or self-employed individual/general partner, capped at $20,833 per individual; and
                   • if the Borrower has elected an 8-week Covered Period, does not exceed 8 weeks’ worth of 2019 compensation for
                        any owner-employee or self-employed individual/general partner, capped at $15,385 per individual.

               I understand that if the funds were knowingly used for unauthorized purposes, the federal government may pursue recovery
               of loan amounts and/or civil or criminal fraud charges.

               The Borrower has accurately verified the payments for the eligible payroll and nonpayroll costs for which the Borrower is
               requesting forgiveness.

               I have submitted to the Lender the required documentation verifying payroll costs, the existence of obligations and service
               (as applicable) prior to February 15, 2020, and eligible business mortgage interest payments, business rent or lease
               payments, and business utility payments.

               The information provided in this application and the information provided in all supporting documents and forms is true
               and correct in all material respects. I understand that knowingly making a false statement to obtain forgiveness of an
               SBA-guaranteed loan is punishable under the law, including 18 U.S.C. 1001 and 3571 by imprisonment of not more than
               five years and/or a fine of up to $250,000; under 15 U.S.C. 645 by imprisonment of not more than two years and/or a fine
               of not more than $5,000; and, if submitted to a Federally insured institution, under 18 U.S.C. 1014 by imprisonment of not
               more than thirty years and/or a fine of not more than $1,000,000.

               The tax documents I have submitted to the Lender are consistent with those the Borrower has submitted/will submit
               to the IRS and/or state tax or workforce agency. I also understand, acknowledge, and agree that the Lender can share
               the tax information with SBA’s authorized representatives, including authorized representatives of the SBA Office of
               Inspector General, for the purpose of ensuring compliance with PPP requirements and all SBAreviews.

               I understand, acknowledge, and agree that SBA may request additional information for the purposes of evaluating the
               Borrower’s eligibility for the PPP loan and for loan forgiveness, and that the Borrower’s failure to provide information
               requested by SBA may result in a determination that the Borrower was ineligible for the PPP loan or a denial of the
               Borrower’s loan forgiveness application.
     ______ If the Borrower has checked the box for FTE Reduction Safe Harbor 1 on PPP Schedule A, the Borrower was unable
            to operate between February 15, 2020 and the end of the Covered Period at the same level of business activity as
            before February 15, 2020 due to compliance with requirements established or guidance issued between March 1, 2020
            and December 31, 2020, by the Secretary of Health and Human Services, the Director of the Centers for Disease Control
            and Prevention, or the Occupational Safety and Health Administration, related to the maintenance of standards of sanitation,
            social distancing, or any other work or customer safety requirement related to COVID-19.

     The Borrower’s eligibility for loan forgiveness will be evaluated in accordance with the PPP regulations and guidance issued by SBA
     through the date of this application. SBA may direct a lender to disapprove the Borrower’s loan forgiveness application if SBA
     determines that the Borrower was ineligible for the PPP loan.

                                                                                               2/28/2021 | 10:32 AM PST
    _____________________________________________________                                      ____________________________
    Signature of Authorized Representative of Borrower                                         Date

    _____________________________________________________
    Toby Moskovits                                                                             ____________________________
                                                                                               CEO
    Print Name                                                                                 Title


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                                                                PPP Schedule A

    PPP Schedule A Worksheet, Table 1 Totals
    Line 1. Enter Cash Compensation (Box 1) from PPP Schedule A Worksheet, Table 1:                                1,156,273.46

    Line 2. Enter Average FTE (Box 2) from PPP Schedule A Worksheet, Table 1:                                      78.50

    Line 3. Enter Salary/Hourly Wage Reduction (Box 3) from PPP Schedule A Worksheet, Table 1:                     81,442.45
            If the average annual salary or hourly wage for each employee listed on the PPP
            Schedule A Worksheet, Table 1 during the Covered Period or the Alternative Payroll
            Covered Period was at least 75% of such employee’s average annual salary or hourly
            wage between January 1, 2020 and March 31, 2020, check here ☐ and enter 0 on line 3.

    PPP Schedule A Worksheet, Table 2 Totals
    Line 4. Enter Cash Compensation (Box 4) from PPP Schedule A Worksheet, Table 2:                                296,409.97


    Line 5. Enter Average FTE (Box 5) from PPP Schedule A Worksheet, Table 2:                                      10.50

    Non-Cash Compensation Payroll Costs During the Covered Period or the Alternative Payroll Covered Period
    Line 6. Total amount paid or incurred by Borrower for employer contributions for employee health insurance: 0.00

    Line 7. Total amount paid or incurred by Borrower for employer contributions to employee retirement plans: 0.00

    Line 8. Total amount paid or incurred by Borrower for employer state and local taxes assessed on employee
             compensation:                                                                                    21,813.90

    Compensation to Owners
    Line 9. Total amount paid to owner-employees/self-employed individual/general partners:                        0.00
            This amount may not be included in PPP Schedule A Worksheet, Table 1 or 2. If there is
            more than one individual included, attach a separate table that lists the names of and
            payments to each.

    Total Payroll Costs
    Line 10. Payroll Costs (add lines 1, 4, 6, 7, 8, and 9):                                                       1,474,497.33

    Full-Time Equivalency (FTE) Reduction Calculation
    If you satisfy any of the following three criteria, check the appropriate box, skip lines 11 and 12, and enter 1.0 on line 13; otherwise,
    complete lines 11, 12, and 13:

    No reduction in employees or average paid hours: If you have not reduced the number of employees or the average paid hours of
    your employees between January 1, 2020 and the end of the Covered Period, check here ☐.

    FTE Reduction Safe Harbor 1: If you were unable to operate between February 15, 2020, and the end of the Covered Period at the
    same level of business activity as before February 15, 2020 due to compliance with requirements established or guidance issued
    between March 1, 2020 and December 31, 2020, by the Secretary of Health and Human Services, the Director of the Centers for Disease
    Control and Prevention, or the Occupational Safety and Health Administration related to the maintenance of standards for sanitation,
    social distancing, or any other worker or customer safety requirement related to COVID-19, check here ☐X.

    FTE Reduction Safe Harbor 2: If you satisfy FTE Reduction Safe Harbor 2 (see PPP Schedule A Worksheet), check here ☐.

    Line 11. Average FTE during the Borrower’s chosen reference period:

    Line 12. Total Average FTE (add lines 2 and 5):

    Line 13. FTE Reduction Quotient (divide line 12 by line 11) or enter 1.0 if any of the above criteria aremet: ___________________
                                                                                                                  1.00


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                                          PPP Borrower Demographic Information Form (Optional)

    Instructions

        1.   Purpose. Veteran/gender/race/ethnicity data is collected for program reporting purposes only.
        2.   Description. This form requests information about each of the Borrower’s Principals. Add additional sheets if necessary.
        3.   Definition of Principal. The term “Principal” means:
             • For a self-employed individual, independent contractor, or a sole proprietor, the self-employed individual, independent
                 contractor, or sole proprietor.
             • For a partnership, all general partners and all limited partners owning 20% or more of the equity of the Borrower, or any
                 partner that is involved in the management of the Borrower’s business.
             • For a corporation, all owners of 20% or more of the Borrower, and each officer and director.
             • For a limited liability company, all members owning 20% or more of the Borrower, and each officer and director.
             • Any individual hired by the Borrower to manage the day-to-day operations of the Borrower (“key employee”).
             • Any trustor (if the Borrower is owned by a trust).
             • For a nonprofit organization, the officers and directors of the Borrower.
        4.   Principal Name. Insert the full name of the Principal.
        5.   Position. Identify the Principal’s position; for example, self-employed individual; independent contractor; sole proprietor;
             general partner; owner; officer; director; member; or key employee.



     Principal Name                                                            Position
      Toby Moskovits                                                           CEO
     Veteran           1=Non-Veteran; 2=Veteran; 3=Service-Disabled Veteran; 4=Spouse of Veteran; X=Not                      X
                       Disclosed
     Gender            M=Male; F=Female; X=Not Disclosed                                                                     X
     Race (more than 1 1=American Indian or Alaska Native; 2=Asian; 3=Black or African-American; 4=Native                    X
     may be selected) Hawaiian or Pacific Islander; 5=White; X=Not Disclosed
     Ethnicity         H=Hispanic or Latino; N=Not Hispanic or Latino; X=Not Disclosed                                       X

                             Disclosure is voluntary and will have no bearing on the loan forgiveness decision




    Paperwork Reduction Act – You are not required to respond to this collection of information unless it displays a currently valid OMB Control
    Number. The estimated time for completing this application, including gathering data needed, is 20 minutes. Comments about this time or the
    information requested should be sent to Small Business Administration, Director, Records Management Division, 409 3rd St., SW, Washington DC
    20416, and/or SBA Desk Officer, Office of Management and Budget, New Executive Office Building, Washington DC 20503. PLEASE DO NOT
    SEND FORMS TO THESE ADDRESSES.

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                               EXHIBIT K
1/13/2021   21-22108-rdd        Doc 100BankFiled  09/03/21
                                            of America             Entered
                                                       | Online Banking         09/03/21
                                                                        | Accounts            18:40:43
                                                                                   | Account Details           Main Document
                                                                                                     | Account Activity
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TWH Secondary 2855: Account Activity Transaction Details



                            Post date:          06/24/2020

                               Amount:          -9,121.83

                                    Type:       Other payment

                         Description:           CON ED OF NY DES:INTELL CK
                                                ID:622010002602008 INDN:96 W
                                                DEVELOPMENT LLC CO ID:2462467002 PPD

                   Merchant name:               CONSOLIDATED EDISON ENERGY


                          Transaction           Home & Utilities: Utilities
                            category:




https://secure.bankofamerica.com/myaccounts/details/deposit/search.go?adx=148a8267f6fb58293016ec88f164c35bcbbf7e0c07d14803ec091b7021ef…   1/1
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TWH Secondary 2855: Account Activity Transaction Details



                            Post date:          07/15/2020

                               Amount:          -20,000.00

                                    Type:       Other payment

                         Description:           CON ED OF NY DES:INTELL CK
                                                ID:622010002602008 INDN:96 W
                                                DEVELOPMENT LLC CO ID:2462467002 PPD

                   Merchant name:               CONSOLIDATED EDISON ENERGY


                          Transaction           Home & Utilities: Utilities
                            category:




https://secure.bankofamerica.com/myaccounts/details/deposit/search.go?adx=148a8267f6fb58293016ec88f164c35bcbbf7e0c07d14803ec091b7021ef…   1/1
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TWH Secondary 2855: Account Activity Transaction Details



                            Post date:          07/28/2020

                               Amount:          -16,544.76

                                    Type:       Other payment

                         Description:           CON ED OF NY DES:INTELL CK
                                                ID:622010002602008 INDN:96 W
                                                DEVELOPMENT LLC CO ID:2462467002 PPD

                   Merchant name:               CONSOLIDATED EDISON ENERGY


                          Transaction           Home & Utilities: Utilities
                            category:




https://secure.bankofamerica.com/myaccounts/details/deposit/search.go?adx=148a8267f6fb58293016ec88f164c35bcbbf7e0c07d14803ec091b7021ef…   1/1
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                                                       | Online Banking         09/03/21
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                                                                                   | Account Details           Main Document
                                                                                                     | Account Activity
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TWH Secondary 2855: Account Activity Transaction Details



                            Post date:          08/26/2020

                               Amount:          -8,216.30

                                    Type:       Other payment

                         Description:           CON ED OF NY DES:INTELL CK
                                                ID:622010002602008 INDN:96 W
                                                DEVELOPMENT LLC CO ID:2462467002 PPD

                   Merchant name:               CONSOLIDATED EDISON ENERGY


                          Transaction           Home & Utilities: Utilities
                            category:




https://secure.bankofamerica.com/myaccounts/details/deposit/search.go?adx=148a8267f6fb58293016ec88f164c35bcbbf7e0c07d14803ec091b7021ef…   1/1
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                                                       | Online Banking         09/03/21
                                                                        | Accounts            18:40:43
                                                                                   | Account Details           Main Document
                                                                                                     | Account Activity
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TWH Secondary 2855: Account Activity Transaction Details



                            Post date:          09/03/2020

                               Amount:          -7,500.00

                                    Type:       Other payment

                         Description:           CON ED OF NY DES:INTELL CK
                                                ID:622010002602008 INDN:96 W
                                                DEVELOPMENT LLC CO ID:2462467002 PPD

                   Merchant name:               CONSOLIDATED EDISON ENERGY


                          Transaction           Home & Utilities: Utilities
                            category:




https://secure.bankofamerica.com/myaccounts/details/deposit/search.go?adx=148a8267f6fb58293016ec88f164c35bcbbf7e0c07d14803ec091b7021ef…   1/1
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TWH Secondary 2855: Account Activity Transaction Details



                            Post date:          09/15/2020

                               Amount:          -15,000.00

                                    Type:       Other payment

                         Description:           CON ED OF NY DES:INTELL CK
                                                ID:622010002602008 INDN:96 W
                                                DEVELOPMENT LLC CO ID:2462467002 PPD

                   Merchant name:               CONSOLIDATED EDISON ENERGY


                          Transaction           Home & Utilities: Utilities
                            category:




https://secure.bankofamerica.com/myaccounts/details/deposit/search.go?adx=148a8267f6fb58293016ec88f164c35bcbbf7e0c07d14803ec091b7021ef…   1/1
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TWH Secondary 2855: Account Activity Transaction Details



                            Post date:          06/26/2020

                               Amount:          -8,328.52

                                    Type:       Other payment

                         Description:           NATIONAL GRID NY DES:UTILITYPAY
                                                ID:00021027370 INDN:The Williamsburg
                                                Hotel CO ID:9177976004 CCD

                   Merchant name:               NATIONAL GRID


                          Transaction           Home & Utilities: Utilities
                            category:




https://secure.bankofamerica.com/myaccounts/details/deposit/search.go?adx=148a8267f6fb58293016ec88f164c35bcbbf7e0c07d14803ec091b7021ef…   1/1
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                                                       | Online Banking         09/03/21
                                                                        | Accounts            18:40:43
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TWH Secondary 2855: Account Activity Transaction Details



                            Post date:          07/17/2020

                               Amount:          -8,116.51

                                    Type:       Other payment

                         Description:           NATIONAL GRID NY DES:UTILITYPAY
                                                ID:00021027370 INDN:The Williamsburg
                                                Hotel CO ID:9177976004 CCD

                   Merchant name:               NATIONAL GRID


                          Transaction           Home & Utilities: Utilities
                            category:




https://secure.bankofamerica.com/myaccounts/details/deposit/search.go?adx=148a8267f6fb58293016ec88f164c35bcbbf7e0c07d14803ec091b7021ef…   1/1
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                                                                        | Accounts            18:40:43
                                                                                   | Account Details           Main Document
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TWH Secondary 2855: Account Activity Transaction Details



                            Post date:          09/08/2020

                               Amount:          -1,243.77

                                    Type:       Other payment

                         Description:           NATIONAL GRID NY DES:UTILITYPAY
                                                ID:00021027370 INDN:The Williamsburg
                                                Hotel CO ID:9177976004 CCD

                   Merchant name:               NATIONAL GRID


                          Transaction           Home & Utilities: Utilities
                            category:




https://secure.bankofamerica.com/myaccounts/details/deposit/search.go?adx=148a8267f6fb58293016ec88f164c35bcbbf7e0c07d14803ec091b7021ef…   1/1
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                               EXHIBIT M
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From:                            NYC DEV <nycdevmanager@gmail.com>
Sent:                            Wednesday, February 24, 2021 8:25 PM
To:                              Toby Moskovits; Matt Peeler
Subject:                         Re: PPP Loan Clarification - The Williamsburg Hotel BK, LLC
Attachments:                     Heritage Neighborhood Developer.pdf



Matt,

As further clarification to what Toby wrote earlier, let me explain a bit more -

Both Toby and I are second and third generation local members of the local business community. We have
dedicated ourselves to the local community and local employment, and have done a lot of good in the
community. With the first round of PPP we kept our business running, and the hotel management business isn’t
yet out of the danger zone. As you know, the hotel industry in NYC has been decimated, but as a hotel
management company we have worked hard to keep our team of employees intact, as much as possible, hoping
for better days in the near future.

The Williamsburg Hotel BK LLC represents the small business entrepreneur that this program is intended to
help, and it represents the 90 employees in housekeeping, front desk, restaurant cooks and servers and all
departments who rely on us for their paycheck. COVID has not been easy for anyone, and has been particularly
devastating to the NYC hospitality and restaurant business. The employees of The Williamsburg Hotel BK LLC
need all the help they can get from the PPP program. The fact that the ownership entity of the building, 96
Wythe Acquisition LLC, has legal problems with their large corporate bank, has no meaning nor any bearing to
the paychecks that provide food and sustenance to the 90 employees of The Williamsburg Hotel BK LLC.

We have faced extreme COVID challenges and continue to push forward with our business, keeping our
employees at work and working hard to grow the hotel management business. We do not want to have to
furlough or fire many of the 90 employees, but if we don't get the PPP loan now, we will have to let people go.
The PPP loan came into being to prevent this type of situation. We were hoping to get this PPP funding, which
would help us keep the core team of The Williamsburg Hotel BK LLC management company, and maybe even
expand, until the hospitality market comes back and NYC revives. If you look at the first PPP loan that The
Williamsburg Hotel BK LLC received, all of it went to pay people's salaries and to cover payroll. None of it
went for other purposes.

The Williamsburg Hotel BK LLC needs this second round of PPP to keep its employees, to be able to pay their
payroll, and to survive and help people pay their food and bills. The legal proceedings of an unrelated entity, 96
Wythe Acquisitions LLC, which has no connection to the management or to the 90 employees living wages in
any way at all, should not influence whether The Williamsburg Hotel BK LLC employees will continue to have
employment and earn a living.

I am attaching an overview of our work in the community and appreciate your help wrapping this up.
Please see attached.

Thank you -
Yechial Michael Lichtenstein


                                                          1
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On Wed, Feb 24, 2021 at 3:31 PM Toby Moskovits <toby@heritage-equity.com> wrote:
 Dear Matt,

The Williamsburg Hotel BK is a hotel management company. It is a stand alone management company that
has employed during the past 4 years between 90 and at some times 200 people.

The Williamsburg Hotel BK is a hotel brand known as The Williamsburg Hotel, which has a second planned
hotel in Brooklyn, and the brand is also in talks with owners of property in Wynwood Miami about building a
Williamsburg Hotel there. The Williamsburg Hotel BK LLC is engaged as well in talks with other hotel
owners about managing their hotels under The Williamsburg Hotel brand, and is a stand alone business that
has no connection to the ownership of the building at 96 Wythe Avenue.

The entity 96 Wythe Acquisition LLC, which owns the building at 96 Wythe Avenue in Brooklyn, has had a
long running dispute with its lender Benefits Street. This dispute has been ongoing since 2018, and has no
connection nor any bearing on the management of the hotel, which is done by the Williamsburg Hotel BK
LLC.

The only nexus between these two very distinct companies is that the owners of The Williamsburg Hotel BK
LLC, who own The Williamsburg Hotel brand, are also the owners of the 96 Wythe Acquisition LLC entity.
Toby Moskovits and Yechial Michael Lichtenstein are owners of both of these unrelated entities.

The Williamsburg Hotel BK is a successful company that has managed to continue operations through the
difficult COVID period and is looking forward to expanding during the next year or two. The Williamsburg
Hotel BK has not declared bankruptcy and it’s operations remain unaffected by this filing of 96 Wythe
Acquisition.

I hope this clarifies this matter. We need the PPP funds in order to get through this difficult period and to help
us pay the salaries of the 90 people that rely on us for their living wages.

We appreciate your help with this and look forward to closing the second draw loan.

Best,
Toby


         On Feb 24, 2021, at 1:29 PM, Matt Peeler <matt.peeler@liveoak.bank> wrote:



         Hi Toby,



         After an internal review of your 2nd draw PPP loan request for the Williamsburg Hotel BK,
         LLC, our risk department discovered the following article that will require a formal written
         response: https://commercialobserver.com/2021/02/heritage-equity-partners-williamsburg-
         hotel-files-for-bankruptcy/



         Please review and respond to the following items:
                                                        2
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                                          Pg 153 of 189
    1. Please explain the article recently posted by the Commercial Observer related to
        Heritage Equity Partners, Toby Moskovits and the Williamsburg Hotel.
    2. Toby & Michael - Please explain your personal involvement in the bankruptcy, amount
        of planning time, and impact on the Williamsburg Hotel BK, LLC.
    3. Please provide the ownership structure of 96 Wythe Acquisition LLC and Heritage
        Equity Partners LLC (or simply “Heritage Equity Partners”).
    4. What is the relationship between 96 Wythe Acquisition LLC and the Williamsburg
        Hotel BK, LLC? Is there any common ownership or management?
    5. What is the relationship between Heritage Equity Partners LLC (or Heritage Equity
        Partners) and the Williamsburg Hotel BK, LLC? Is there any common ownership or
        management?
    6. What is the relationship between 96 Wythe Acquisition LLC and Heritage Equity
        Partners LLC (or Heritage Equity Partners)? Is there any common ownership or
        management?
    7. Is there a hotel company-management company structure in place?
    8. Is it true that Heritage Street Partners defaulted on a loan in 2019 with Benefit Street
        Partners that was tied to the Williamsburg Hotel?
    9. Please provide a copy of the 2019 business tax return for the Williamsburg Hotel BK,
        LLC.
    10. If possible, please also provide a copy of the 2020 business tax return for the
        Williamsburg Hotel BK, LLC.
    11. Please provide a copy of the bankruptcy (chapter 11) filings.



 This information will be provided back to our risk department for further consideration. Let me
 know if you have any questions.



 Thank you,


 Matt



 ____________________________

 Matt Peeler

 VP, Distributed Energy Finance



 O. 910.338.3374

 E. matt.peeler@liveoak.bank | liveoakbank.com

 1741 Tiburon Drive | Wilmington, NC 28403

                                               3
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                               EXHIBIT N
                                                21-22108-rdd                   Doc 100               Filed 09/03/21 Entered 09/03/21 18:40:43                                                        Main Document
Form                                          1065                                                             Pg 156 of 189
                                                                                                    U.S. Return of Partnership Income
                                                                                                                                                                                                                              OMB No. 1545-0123


Department of the Treasury
                                                                    For calendar year 2019, or tax year beginning                                      , 2019, ending                         , 20             .                  2019
Internal Revenue Service                                                             Go to www.irs.gov/Form1065 for instructions and the latest information.
A        Principal business activity                                          Name of partnership                                                                                                                   D    Employer Identification num.

                                                                               THE WILLIAMSBURG HOTEL BK LLC
    HOTEL                                                                                                                                                                                                                     XX-XXXXXXX
B        Principal product or service                                         Number, street, and room or suite no. If a P.O. box, see instructions.             STE 184                                            E    Date business started
                                                                   Type
    SERVICE                                                         or         1274 49TH STREET                                                                                                                               02-08-2016
C        Business code number                                      Print      City or town, state or province, country, and ZIP or foreign postal code                                                              F     Total assets
                                                                                                                                                                                                                          (see instructions)


    721110                                                                     BROOKLYN, NY 11219                                                                                                                   $                  976,879
G Check applicable boxes:                                                   (1)         Initial return     (2)         Final return       (3)           Name change         (4)        Address change              (5)           Amended return
H Check accounting method:                                                  (1)         Cash               (2)         Accrual            (3)           Other (specify)
I Number of Schedules K-1. Attach one for each person who was a partner at any time during the tax year                                                                                              2
J Check if Schedules C and M-3 are attached                                                         ................................................
K Check if partnership:                                             (1)        Aggregrated activities for section 465 at-risk purposes                    (2)       Grouped activities for section 469 passive activity purposes
Caution: Include only trade or business income and expenses on lines 1a through 22 below. See the instructions for more information.
         1 a Gross receipts or sales                                           ..............................
                                                                                                         1a      20,034,954
                                                 b Returns and allowances . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1b
                                                 c Balance. Subtract line 1b from line 1a . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                  1c             20,034,954
                                               2 Cost of goods sold (attach Form 1125-A) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                       2
    Income




                                                                                                                                                                                                                                   2,420,491
                                               3 Gross profit. Subtract line 2 from line 1c   ..................................                                                                                   3              17,614,463
                                               4 Ordinary income (loss) from other partnerships, estates, and trusts (attach statement) . . . . . . . . . . . . .                                                  4
                                               5 Net farm profit (loss) (attach Schedule F (Form 1040 or 1040-SR))       .....................                                                                     5
                                               6 Net gain (loss) from Form 4797, Part II, line 17 (attach Form 4797) . . . . . . . . . . . . . . . . . . . . . .                                                   6
                                               7 Other income (loss) (attach statement) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                      7
                                               8 Total income (loss). Combine lines 3 through 7        ..............................                                                                              8              17,614,463
                                               9 Salaries and wages (other than to partners) (less employment credits) . . . . . . . . . . . . . . . . . . . . .                                                   9
                                              10 Guaranteed payments to partners . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
         (see instructions for limitations)




                                                                                                                                                                                                                   10
                                              11 Repairs and maintenance . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                         11
                                              12 Bad debts       ................................................                                                                                                  12
                                              13 Rent . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                        13
                                              14 Taxes and licenses . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . Wks   . . . Tax/Lic
                                                                                                                                                  ........                                                         14              2,210,807
                                              15 Interest (see instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                     15
                                              16 a Depreciation (if required, attach Form 4562) . . . . . . . . . . . . . . . . . . . . . 16a
                                                 b Less depreciation reported on Form 1125-A and elsewhere on return . . . . . . . . . 16b                                                                    16c
    Deductions




                                              17 Depletion (Do not deduct oil and gas depletion.)        .............................                                                                             17
                                              18 Retirement plans, etc. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                      18
                                              19 Employee benefit programs . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                         19
                                              20 Other deductions (attach statement) . . . . . . . . . . . . . . . . . . . . . . . . . Statement
                                                                                                                                            . . . . . . . .#4
                                                                                                                                                            ...                                                    20             15,308,958
                                              21 Total deductions. Add the amounts shown in the far right column for lines 9 through 20     ...........                                                            21             17,519,765
                                              22 Ordinary business income (loss). Subtract line 21 from line 8 . . . . . . . . . . . . . . . . . . . . . . . .                                                     22                 94,698
                                              23 Interest due under the look-back method - completed long-term contracts (attach Form 8697) . . . . . . . . .                                                      23
                                              24 Interest due under the look-back method - income forecast method (attach Form 8866) . . . . . . . . . . . .
    Tax and Payment




                                                                                                                                                                                                                   24
                                              25 BBA AAR imputed underpayment (see instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                         25
                                              26 Other taxes (see instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                    26
                                              27 Total balance due. Add lines 23 through 26        ................................                                                                                27
                                              28 Payment (see instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                      28
                                              29 Amount owed. If line 28 is smaller than line 27, enter amount owed      .....................                                                                     29
                                              30 Overpayment. If line 28 larger than line 27, enter overpayment        ......................                                                                      30
                                                     Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements, and to the best of my knowledge
                                                     and belief, it is true, correct, and complete. Declaration of preparer (other than partner or limited liability company member) is based on all information of
                                                     which preparer has any knowledge.
Sign                                                                                                                                                                                                       May the IRS discuss this return
Here                                                                                                                                                                                                       with the preparer shown below?
                                                                                                                                                                                                           See instructions.
                                                                                                                                                                                                                                 X Yes            No
                                                         Signature of partner or limited liability company member                                                         Date

                                                     Print/Type preparer's name                                  Preparer's signature                                      Date                       Check              if     PTIN
Paid     Daniel Norensberg                                                                                                                                                  02-24-2021                self-employed              P00285846
Preparer Firm's name    NORENSBERG & ASSOCIATES INC                                                                                                                                         Firm's EIN
Use Only Firm's address 343 PAUL PLACE
                                                                            West Hempstead, NY 11552                                                                                        Phone no.     (516)314-7580
For Paperwork Reduction Act Notice, see separate instructions.                                                                                                                                                                  Form 1065 (2019)
EEA
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                                                                  Pg 157 of 189
Form 1065 (2019)           THE WILLIAMSBURG HOTEL BK LLC                                                                                          XX-XXXXXXX                  Page 2
Schedule B                Other Information
 1        What type of entity is filing this return? Check the applicable box:                                                                                          Yes      No
      a       Domestic general partnership                          b          Domestic limited partnership
      c       Domestic limited liability company                    d          Domestic limited liability partnership
      e       Foreign partnership                                   f          Other
 2        At the end of the tax year:
      a   Did any foreign or domestic corporation, partnership (including any entity treated as a partnership), trust, or tax-
          exempt organization, or any foreign government own, directly or indirectly, an interest of 50% or more in the profit,
          loss, or capital of the partnership? For rules of constructive ownership, see instructions. If "Yes," attach Schedule
          B-1, Information on Partners Owning 50% or More of the Partnership             ...............................                                                          X
      b   Did any individual or estate own, directly or indirectly, an interest of 50% or more in the profit, loss, or capital of
          the partnership? For rules of constructive ownership, see instructions. If "Yes," attach Schedule B-1, Information
          on Partners Owning 50% or More of the Partnership         .......................................                                                                       X
 3        At the end of the tax year, did the partnership:
      a   Own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all classes of
          stock entitled to vote of any foreign or domestic corporation? For rules of constructive ownership, see instructions.
          If "Yes," complete (i) through (iv) below    ..............................................                                                                             X
                             (i) Name of Corporation                                   (ii) Employer Identification           (iii) Country of             (iv) Percentage
                                                                                              Number (if any)                    Incorporation           Owned in Voting Stock




      b   Own directly an interest of 20% or more, or own, directly or indirectly, an interest of 50% or more in the profit, loss,
          or capital in any foreign or domestic partnership (including an entity treated as a partnership) or in the beneficial
          interest of a trust? For rules of constructive ownership, see instructions. If "Yes," complete (i) through (v) below                   ...........                      X
                                                                                 (ii) Employer                                                                    (v) Maximum
                             (i) Name of Entity                                                               (iii) Type of            (iv) Country of
                                                                                  Identification                                                             Percentage Owned in
                                                                                                                   Entity                Organization
                                                                                 Number (if any)                                                            Profit, Loss, or Capital




 4        Does the partnership satisfy all four of the following conditions?                                                                                            Yes       No
      a   The partnership's total receipts for the tax year were less than $250,000.
      b   The partnership's total assets at the end of the tax year were less than $1 million.
      c   Schedules K-1 are filed with the return and furnished to the partners on or before the due date (including
          extensions) for the partnership return.
      d   The partnership is not filing and is not required to file Schedule M-3       ................................                                                           X
          If "Yes," the partnership is not required to complete Schedules L, M-1, and M-2; item F on page 1 of Form 1065;
          or item L on Schedule K-1.
 5        Is this partnership a publicly traded partnership, as defined in section 469(k)(2)?          ..........................
 6        During the tax year, did the partnership have any debt that was canceled, was forgiven, or had the terms modified
          so as to reduce the principal amount of the debt?     .........................................
 7        Has this partnership filed, or is it required to file, Form 8918, Material Advisor Disclosure Statement, to provide
          information on any reportable transaction?         ...........................................
 8        At any time during calendar year 2019, did the partnership have an interest in or a signature or other authority over
          a financial account in a foreign country (such as a bank account, securities account, or other financial account)?
          See instructions for exceptions and filing requirements for FinCEN Form 114, Report of Foreign Bank and
          Financial Accounts (FBAR). If "Yes," enter the name of the foreign country
 9        At any time during the tax year, did the partnership receive a distribution from, or was it the grantor of, or
          transferor to, a foreign trust? If "Yes," the partnership may have to file Form 3520, Annual Return To Report
          Transactions With Foreign Trusts and Receipt of Certain Foreign Gifts. See instructions                 ......................
10a       Is the partnership making, or had it previously made (and not revoked), a section 754 election?            ...................
          See instructions for details regarding a section 754 election.
      b   Did the partnership make for this tax year an optional basis adjustment under section 743(b) or 734(b)? If "Yes,"
          attach a statement showing the computation and allocation of the basis adjustment. See instructions                   ................
EEA                                                                                                                                                          Form 1065 (2019)
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Form 1065 (2019)            THE WILLIAMSBURG HOTEL BK LLC                                                                            XX-XXXXXXX           Page 3
 Schedule B                 Other Information (continued)
      c   Is the partnership required to adjust the basis of partnership assets under section 743(b) or 734(b) because of a                         Yes     No
          substantial built-in loss (as defined under section 743(d)) or substantial basis reduction (as defined under section
          734(d))? If “Yes,” attach a statement showing the computation and allocation of the basis adjustment. See
          instructions      ...........................................................
 11       Check this box if, during the current or prior tax year, the partnership distributed any property received in a like-
          kind exchange or contributed such property to another entity (other than disregarded entities wholly owned by the
          partnership throughout the tax year)      ...........................................
 12       At any time during the tax year, did the partnership distribute to any partner a tenancy-in-common or other
          undivided interest in partnership property?      ............................................
 13       If the partnership is required to file Form 8858, Information Return of U.S. Persons With Respect To Foreign
          Disregarded Entities, (FDEs) and Foreign Branches (FBs), enter the number of Forms 8858 attached. See
          instructions     .............................................
 14       Does the partnership have any foreign partners? If "Yes," enter the number of Forms 8805, Foreign Partner's
          Information Statement of Section 1446 Withholding Tax, filed for this partnership        ...........
 15       Enter the number of Forms 8865, Return of U.S. Persons With Respect to Certain Foreign Partnerships, attached
          to this return     ...........................................                                                         0
 16a      Did you make any payments in 2019 that would require you to file Form(s) 1099? See instructions . . . . . . . . . . . . . . . . . . .
      b   If "Yes," did you or will you file required Form(s) 1099? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 17       Enter the number of Form(s) 5471, Information Return of U.S. Persons With Respect To Certain Foreign
          Corporations, attached to this return  .................................
 18       Enter the number of partners that are foreign governments under section 892 .............
 19       During the partnership’s tax year, did the partnership make any payments that would require it to file Form 1042
          and 1042-S under chapter 3 (sections 1441 through 1464) or chapter 4 (sections 1471 through 1474)?            .................
 20       Was the partnership a specified domestic entity required to file Form 8938 for the tax year? See the Instructions
          for Form 8938      ..........................................................
 21                                                                     ...............
          Is the partnership a section 721(c) partnership, as defined in Regulations section 1.721(c)-1T(b)(14)?
 22       During the tax year, did the partnership pay or accrue any interest or royalty for which the deduction is not allowed
          under section 267A? See instructions          ..............................................                                                      X
                                                                  .................... $
          If “Yes,” enter the total amount of the disallowed deductions
 23       Did the partnership have an election under section 163(j) for any real property trade or business or any farming
          business in effect during the tax year? See instructions     .......................................
 24                                                                               ............................
          Does the partnership satisfy one or more of the following? See instructions
      a   The partnership owns a pass-through entity with current, or prior year carryover, excess business interest
          expense.
      b   The partnership’s aggregate average annual gross receipts (determined under section 448(c)) for the 3 tax years
          preceding the current tax year are more than $26 million and the partnership has business interest.
      c   The partnership is a tax shelter (see instructions) and the partnership has business interest expense.
          If “Yes” to any, complete and attach Form 8990.
 25       Is this partnership electing out of the centralized partnership audit regime under section 6221(b)? See instructions     ...........              X
          If "Yes," the partnership must complete Schedule B-2 (Form 1065). Enter the total from Schedule B-2, Part III,
          line 3   ..............................................
          If "No," complete Designation of Partnership Representative below.
Designation of Partnership Representative (see instructions)
Enter below the information for the partnership representative (PR) for the tax year covered by this return.
Name of PR      TOBY MOSKOVITS
U.S. address of PR     137 55 71ST AVE                                                                             U.S. phone number of
                       FLUSHING NY 11367                                                                           PR
If the PR is an entity, name of the designated individual for the PR
U.S. address of                                                                                                    U.S. phone number of
designated individual                                                                                              designated individual
 26                                                                             ...........................
          Is the partnership attaching Form 8996 to certify as a Qualified Opportunity Fund?                                                                X
          If "Yes," enter the amount from Form 8996, line 14      ......................... $
 27       Enter the number of foreign partners subject to section 864(c)(8) as a result of transferring all or a portion of an
          interest in the partnership or of receiving a distribution from the partnership      .............
 28       At any time during the tax year, were there any transfers between the partnership and its partners subject to the
          disclosure requirements of Regulations section 1.707-8?         ......................................
EEA                                                                                                                                           Form 1065 (2019)
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Form 1065 (2019)                             THE WILLIAMSBURG                        Pg 159 of 189
                                                                           HOTEL BK LLC                                                               XX-XXXXXXX              Page 4
Schedule K                                  Partners' Distributive Share Items                                                                                     Total amount
                               1       Ordinary business income (loss) (page 1, line 22)        ...........................                                1                94,698
                               2       Net rental real estate income (loss) (attach Form 8825)       .........................                             2
                               3a      Other gross rental income (loss)     .  . . . . .  . . . . .  . . . . . . . . . . . . 3a
                                   b   Expenses from other rental activities (attach statement)      . . . . . . . . . . . . 3b
                                   c   Other net rental income (loss). Subtract line 3b from line 3a     .......................                           3c
                               4       Guaranteed payments:         a Services        4a                           b Capital        4b
                                       c Total. Add lines 4a and 4b     .....................................                                              4c
       Income (Loss)




                               5       Interest income    . . . . . . . .....................................                                              5
                               6       Dividends and dividend equivalents:   a Ordinary dividends .....................                                    6a
                                       b Qualified dividends          6b                            c Dividend equivalents          6c
                               7       Royalties     ...............................................                                                       7
                               8       Net short-term capital gain (loss) (attach Schedule D (Form 1065))      ...................                         8
                               9a      Net long-term capital gain (loss) (attach Schedule D (Form 1065))     . . ..................                        9a
                                   b   Collectibles (28%) gain (loss)      . . . . . . . . . . . . . . . . . . . . . . . . 9b
                                   c   Unrecaptured section 1250 gain (attach statement)         . . . . . . . . . . . . . 9c
                              10       Net section 1231 gain (loss) (attach Form 4797)       . . . . . . . . . . . . ................                      10
                              11       Other income (loss) (see instructions) Type                                                                         11
                              12                                         ...............................
                                       Section 179 deduction (attach Form 4562)                                                                            12
 Employ- Deductions




                              13 a     Contributions    .............................................                                                     13a
                                   b   Investment interest expense .....................................                                                  13b
                                   c   Section 59(e)(2) expenditures:        (1) Type                                                      (2) Amount     13c(2)
                                   d   Other deductions (see instructions)        Type                                                                    13d
                              14 a     Net earnings (loss) from self-employment         ...............................                                   14a               94,698
                                                                            ....................................
  Self-
  ment




                                   b   Gross farming or fishing income                                                                                    14b
                                   c   Gross nonfarm income         ........................................                                              14c          17,614,463
                              15 a     Low-income housing credit (section 42(j)(5))        ..............................                                 15a
                                   b   Low-income housing credit (other)         ..................................                                       15b
                                                                                                                                    .........
       Credits




                                   c   Qualified rehabilitation expenditures (rental real estate) (attach Form 3468, if applicable)                       15c
                                   d   Other rental real estate credits (see instructions)     Type                                                       15d
                                   e   Other rental credits (see instructions)     Type                                                                   15e
                                   f   Other credits (see instructions)    Type                                                                           15f
                              16 a     Name of country or U.S. possession
                                   b   Gross income from all sources         ....................................                                         16b
                                                                                .................................
       Foreign Transactions




                                   c   Gross income sourced at partner level                                                                              16c
                                       Foreign gross income sourced at partnership level
                                   d   Reserved for future use                                      e Foreign branch category       ...........           16e
                                   f   Passive category                           g General category                      h Other (attach statement)      16h
                                       Deductions allocated and apportioned at partner level
                                   i   Interest expense                                 j Other         ........................                          16j
                                       Deductions allocated and apportioned at partnership level to foreign source income
                                   k   Reserved for future use                                      l   Foreign branch category     ...........           16l
                                   m   Passive category                           n General category                         o Other (attach statement)   16o
                                   p   Total foreign taxes (check one):              Paid           ..................
                                                                                                    Accrued                                               16p
                                   q                                                          ........................
                                       Reduction in taxes available for credit (attach statement)                                                         16q
                                   r   Other foreign tax information (attach statement)   ............................
                              17 a     Post-1986 depreciation adjustment         ..................................                                       17a
Minimum Tax




                                                                  .........................................
(AMT) Items
 Alternative




                                   b   Adjusted gain or loss                                                                                              17b
                                   c   Depletion (other than oil and gas)     ...................................                                         17c
                                   d   Oil, gas, and geothermal properties - gross income  ...........................                                    17d
                                   e   Oil, gas, and geothermal properties - deductions   ............................                                    17e
                                   f   Other AMT items (attach statement)        ..................................                                       17f
                              18 a     Tax-exempt interest income       ......................................                                            18a
                                                                       .......................................
       Other Information




                                   b   Other tax-exempt income                                                                                            18b
                                   c   Nondeductible expenses          .......................................                                            18c
                              19 a     Distributions of cash and marketable securities    ............................                                    19a
                                   b   Distributions of other property    .....................................                                           19b
                              20 a     Investment income        ..........................................                                                20a
                                   b   Investment expenses        .........................................                                               20b
                                   c   Other items and amounts (attach statement)       ..............................
EEA                                                                                                                                                                 Form 1065 (2019)
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Form 1065 (2019)          Doc 100 HOTEL
                  THE WILLIAMSBURG  FiledBK
                                          09/03/21
                                            LLC                                 Entered 09/03/21 18:40:43                           Main Document
                                                                                                                                     XX-XXXXXXX                         Page 5
Analysis of Net Income (Loss)                                              Pg 160 of 189
 1       Net income (loss). Combine Schedule K, lines 1 through 11. From the result, subtract the sum of
         Schedule K, lines 12 through 13d, and 16p      ........................................                                                   1             94,698
 2       Analysis by                                           (ii) Individual     (iii) Individual                               (v) Exempt                     (vi)
                                           (i) Corporate                                                 (iv) Partnership
         partner type:                                               (active)            (passive)                                 Organization           Nominee/Other
     a General partners         ...                                  94,698
     b Limited partners         ...
Schedule L                 Balance Sheets per Books                                        Beginning of tax year                               End of tax year
                                 Assets                                                   (a)                    (b)                     (c)                     (d)
 1       Cash       ............................                                                                93,562                                           62,528
 2a      Trade notes and accounts receivable        .............                       353,139
     b   Less allowance for bad debts      .  . . . . ............                                             353,139
 3       Inventories    . .  . . . . . . . .  . . . . ............                                              90,751                                           97,758
 4       U.S. government obligations       .  . . . . . ...........
 5       Tax-exempt securities       . . . .  . . . . . ...........
 6       Other current assets (attach statement)      . . ..........
 7a      Loans to partners (or persons related to partners)   ........
     b   Mortgage and real estate loans       . . . . . . . . ........
 8       Other investments (attach statement)       . . . . . . .......
 9a      Buildings and other depreciable assets     . . . . . . .......                 321,747                                         719,059
     b   Less accumulated depreciation        ................                                                 321,747                                       719,059
10 a     Depletable assets       ......................
     b   Less accumulated depletion      ..................
11       Land (net of any amortization)    .................
12 a     Intangible assets (amortizable only)     ..............                          10,500                           10,500
     b   Less accumulated amortization        ................                                                10,500                                          10,500
13       Other assets (attach statement)      ................                   Statement #29               480,178Statement #29                             87,034
14       Total assets     .........................                                                        1,349,877                                         976,879
                          Liabilities and Capital
15       Accounts payable        .......................                                                       704,423                                       967,171
16       Mortgages, notes, bonds payable in less than 1 year    .......
17       Other current liabilities (attach statement) . . . . . . . . . . . .
18       All nonrecourse loans        .....................
19 a     Loans from partners (or persons related to partners)     ......
     b   Mortgages, notes, bonds payable in 1 year or more      .......
20       Other liabilities (attach statement) . . . . . . . . . . . . . . . . Statement         #32          669,994  Statement #32 1,124,554
21       Partners' capital accounts       ...................                                                (24,540)              (1,114,846)
22       Total liabilities and capital    ...................                                              1,349,877                  976,879
Schedule M-1                    Reconciliation of Income (Loss) per Books With Income (Loss) per Return
                             Note: The partnership may be required to file Schedule M-3. See instructions.
 1       Net income (loss) per books       ..........                    94,698 6 Income recorded on books this year not included
 2       Income included on Schedule K, lines 1, 2, 3c,                                  on Schedule K, lines 1 through 11 (itemize):
         5, 6a, 7, 8, 9a, 10, and 11, not recorded on                                 a Tax-exempt interest $
         books this year (itemize):
 3       Guaranteed payments (other than health                                      7 Deductions included on Schedule K, lines
         insurance)      ...................                                             1 through 13d, and 16p, not charged
 4       Expenses recorded on books this year                                            against book income this year (itemize):
         not included on Schedule K, lines 1                                          a Depreciation $
         through 13d, and 16p (itemize):
     a Depreciation $
     b Travel and entertainment $                                                    8 Add lines 6 and 7           ..............
                                                                                     9 Income (loss) (Analysis of Net Income
 5       Add lines 1 through 4         ............                       94,698         (Loss), line 1). Subtract line 8 from line 5          ...               94,698
Schedule M-2                    Analysis of Partners' Capital Accounts
 1       Balance at beginning of year ...........                  (5,316,781) 6 Distributions:            a Cash      ............
 2       Capital contributed:         ...........
                                 a Cash                                                                    b Property    ..........
                               b Property . . . . . . . .                            7 Other decreases (itemize):
 3       Net income (loss) per books . . . . . . . . . . .                94,698
 4       Other increases (itemize):
                                                                                     8 Add lines 6 and 7           ..............
 5       Add lines 1 through 4        .............                (5,222,083) 9 Balance at end of year. Subtract line 8 from line 5                     (5,222,083)
EEA                                                                                                                                                     Form 1065 (2019)
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Form       1125-A                                                Cost of Goods Sold
(Rev. November 2018)                                                                                                                       OMB No. 1545-0123
                                                       Attach to Form 1120, 1120-C, 1120-F, 1120S, or 1065.
Department of the Treasury
Internal Revenue Service                             Go to www.irs.gov/Form1125A for the latest information.
Name                                                                                                                             Employer identification number

THE WILLIAMSBURG HOTEL BK LLC                                                                                                     XX-XXXXXXX
 1     Inventory at beginning of year     ....................................                                              1
 2     Purchases      . .  . . . . . . .  ....................................                                              2                      2,420,491
 3     Cost of labor    .  . . . . . . .  ....................................                                              3
 4     Additional section 263A costs (attach schedule)      ...........................                                     4
 5     Other costs (attach schedule)      . . . . . . . . . ...........................                                     5
 6     Total. Add lines 1 through 5       . . . . . . . . . ...........................                                     6                      2,420,491
 7     Inventory at end of year    . . .  . . . . . . . . . . ..........................                                    7
 8     Cost of goods sold. Subtract line 7 from line 6. Enter here and on Form 1120, page 1, line 2 or the
       appropriate line of your tax return. See instructions      .........................                                 8                      2,420,491
 9a    Check all methods used for valuing closing inventory:
        (i)     Cost
        (ii)    Lower of cost or market
       (iii)    Other (Specify method used and attach explanation.)
  b    Check if there was a writedown of subnormal goods          .......................................
  c                                                                                         .............
       Check if the LIFO inventory method was adopted this tax year for any goods (if checked, attach Form 970)
  d    If the LIFO inventory method was used for this tax year, enter amount of closing inventory computed
       under LIFO      ...............................................                                                      9d
  e    If property is produced or acquired for resale, do the rules of section 263A apply to the entity? See instructions       ......           Yes              No
  f    Was there any change in determining quantities, cost, or valuations between opening and closing inventory? If "Yes,"
       attach explanation    ...................................................                                                                 Yes              No




For Paperwork Reduction Act Notice, see instructions                                                                              Form 1125-A (Rev. 11-2018)
EEA
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                                                                             Pg 162 of 189                                                                                       651119
Schedule K-1
                                                                       2019                                                Final K-1                      Amended K-1                      OMB No. 1545-0123
(Form 1065)                                                                                                        Part III              Partner's Share of Current Year Income,
Department of the Treasury
Internal Revenue Service                                   For calendar year 2019, or tax year                                           Deductions, Credits, and Other Items
                 beginning                    , 2019        ending                     , 20                    1            Ordinary business income (loss)         15 Credits

Partner's Share of Income, Deductions,                                                                                                             47,349
                                                                                                               2            Net rental real estate income (loss)
Credits, etc.            See page 2 of form and separate instructions.


   Part I               Information About the Partnership                                                      3            Other net rental income (loss)          16 Foreign transactions
  A     Partnership's employer identification number
  XX-XXXXXXX                                                                                                 4a Guaranteed payments for services
  B     Partnership's name, address, city, state, and ZIP code
  THE WILLIAMSBURG HOTEL BK LLC                                                                              4b Guaranteed payments for capital


  1274 49TH STREET STE 184                                                                                   4c Total guaranteed payments
  BROOKLYN, NY 11219
  C     IRS Center where partnership filed return           KANSAS CITY                                        5            Interest income
  D         Check if this is a publicly traded partnership (PTP)
   Part II              Information About the Partner                                                        6a Ordinary dividends
  E     Partner's SSN or TIN (Do not use TIN of a disregarded entity. See instr.)

  XXX-XX-XXXX                                                                                                6b Qualified dividends
  F     Name, address, city, state, and ZIP code for partner entered in E. See instr.
  TOBY MOSKOVITS                                                                                             6c Dividend equivalents                                17 Alternative minimum tax (AMT) items
  137 55 71ST AVE
  FLUSHING, NY 11367                                                                                           7            Royalties
  G X General partner or LLC                               Limited partner or other LLC
            member-manager                                 member
                                                                                                               8            Net short-term capital gain (loss)
  H1 X Domestic partner                                    Foreign partner
  H2        If the partner is a disregarded entity (DE), enter the partner's:                                9a Net long-term capital gain (loss)                   18 Tax-exempt income and
                                                                                                                                                                         nondeductible expenses
            TIN                           Name
  I1    What type of entity is this partner?                INDIVIDUAL                                       9b Collectibles (28%) gain (loss)
  I2    If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here
  J     Partner's share of profit, loss, and capital (see instructions):                                     9c Unrecaptured section 1250 gain
                                                                           Ending
                              Beginning
        Profit                 50.0000000              %                 50.0000000                %         10 Net section 1231 gain (loss)
        Loss                   50.0000000              %                 50.0000000                %                                                                19 Distributions
        Capital                50.0000000              %                 50.0000000                %         11 Other income (loss)
        Check if decrease is due to sale or exchange of partnership interest           ...
  K     Partner's share of liabilities:                                                                                                                             20 Other information
                                            Beginning                          Ending                        12 Section 179 deduction
        Nonrecourse      ....        $                               $
        Qualified nonrecourse                                                                                13 Other deductions
        financing       .....        $                               $
        Recourse        .....        $                               $

            Check this box if item K includes liability amounts from lower tier partnerships.
  L                          Partner's Capital Account Analysis
       Capital method: Tax Basis                                                                                                                                     Z      * STMT
                                                                                                             14 Self-employment earnings (loss)
        Beginning capital account     .....                $              (2,658,390)                       A                                      47,349
                                         ...
        Capital contributed during the year                $
        Current year net income (loss) . . . .             $                       47,349                   C                                 8,807,232
        Other increase (decrease) (attach explanation) $                                                     21                  More than one activity for at-risk purposes*
        Withdrawals & distributions    ......              $   (                                    )        22                  More than one activity for passive activity purposes*
        Ending capital account        .......              $              (2,611,041)                        *See attached statement for additional information.
                                                                                                        For IRS Use Only




  M     Did the partner contribute property with a built-in gain or loss?
            Yes     X   No     If "Yes," attach statement. See instructions.
  N         Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
       Beginning     .............                         $
       Ending       ..............                         $
For Paperwork Reduction Act Notice, see Instructions for Form 1065.                              www.irs.gov/Form1065                                                      Schedule K-1 (Form 1065) 2019
EEA
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                                         STATEMENT A - QBI Pass-through
                                                             Pg 163 of 189 Entity Reporting
                                                         Information Reported in Accordance with Section 199A-6
                                                                    Schedule K-1, Line 20, Code Z
                                                                                                                                                 2019
Name(s) as shown on return                                                                                                                     Tax ID Number
  THE WILLIAMSBURG HOTEL BK LLC                                                                                                                XX-XXXXXXX
Name(s) as shown on K1                                                                                                                         Tax ID Number
  TOBY MOSKOVITS                                                                                                                               XXX-XX-XXXX
                                                                                                                    Taxpayer Identification
   Line No.    Description of Trade or Business                                                                            Number                 PTP          Aggregated   SSTB
     1         THE WILLIAMSBURG HOTEL BK LLC                                                                       XX-XXXXXXX                                               No




  LINE NUMBER                   NO. 1              NO.                           NO.                         NO.                         NO.                         NO.

 Ordinary Business
 Income (Loss)
                                47,349

 Rental Income (Loss)


 Royalty Income (Loss)


 Section 1231 Gain (Loss)


 Other Income (Loss)


 Section 179


 Charitable Contributions


 Other Deductions


 W-2 Wages
 Unadjusted Basis
 Immediately After
 Acquisition

 Section 199A Dividends




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                                                                             Pg 164 of 189                                                                                       651119
Schedule K-1
                                                                       2019                                                Final K-1                      Amended K-1                      OMB No. 1545-0123
(Form 1065)                                                                                                        Part III              Partner's Share of Current Year Income,
Department of the Treasury
Internal Revenue Service                                   For calendar year 2019, or tax year                                           Deductions, Credits, and Other Items
                 beginning                    , 2019        ending                     , 20                    1            Ordinary business income (loss)         15 Credits

Partner's Share of Income, Deductions,                                                                                                             47,349
                                                                                                               2            Net rental real estate income (loss)
Credits, etc.            See page 2 of form and separate instructions.


   Part I             Information About the Partnership                                                        3            Other net rental income (loss)          16 Foreign transactions
  A     Partnership's employer identification number
  XX-XXXXXXX                                                                                                 4a Guaranteed payments for services
  B     Partnership's name, address, city, state, and ZIP code
  THE WILLIAMSBURG HOTEL BK LLC                                                                              4b Guaranteed payments for capital


  1274 49TH STREET STE 184                                                                                   4c Total guaranteed payments
  BROOKLYN, NY 11219
  C     IRS Center where partnership filed return           KANSAS CITY                                        5            Interest income
  D         Check if this is a publicly traded partnership (PTP)
   Part II            Information About the Partner                                                          6a Ordinary dividends
  E     Partner's SSN or TIN (Do not use TIN of a disregarded entity. See instr.)

  XXX-XX-XXXX                                                                                                6b Qualified dividends
  F     Name, address, city, state, and ZIP code for partner entered in E. See instr.
  MICHAEL LICHTENSTEIN                                                                                       6c Dividend equivalents                                17 Alternative minimum tax (AMT) items
  929 EAST 5TH STREET
  BROOKLYN, NY 11230                                                                                           7            Royalties
  G X General partner or LLC                               Limited partner or other LLC
            member-manager                                 member
                                                                                                               8            Net short-term capital gain (loss)
  H1 X Domestic partner                                    Foreign partner
  H2        If the partner is a disregarded entity (DE), enter the partner's:                                9a Net long-term capital gain (loss)                   18 Tax-exempt income and
                                                                                                                                                                         nondeductible expenses
            TIN                           Name
  I1    What type of entity is this partner?                INDIVIDUAL                                       9b Collectibles (28%) gain (loss)
  I2    If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here
  J     Partner's share of profit, loss, and capital (see instructions):                                     9c Unrecaptured section 1250 gain
                                                                           Ending
                              Beginning
        Profit                 50.0000000              %                 50.0000000                %         10 Net section 1231 gain (loss)
        Loss                   50.0000000              %                 50.0000000                %                                                                19 Distributions
        Capital                50.0000000              %                 50.0000000                %         11 Other income (loss)
        Check if decrease is due to sale or exchange of partnership interest           ...
  K     Partner's share of liabilities:                                                                                                                             20 Other information
                                            Beginning                          Ending                        12 Section 179 deduction
        Nonrecourse    ....          $                               $
        Qualified nonrecourse                                                                                13 Other deductions
        financing     .....          $                               $
        Recourse      .....          $                               $

            Check this box if item K includes liability amounts from lower tier partnerships.
  L                          Partner's Capital Account Analysis
       Capital method: Tax Basis                                                                                                                                     Z      * STMT
                                                                                                             14 Self-employment earnings (loss)
        Beginning capital account     .....                $              (2,658,391)                       A                                      47,349
                                         ...
        Capital contributed during the year                $
        Current year net income (loss) . . . .             $                       47,349                   C                                 8,807,231
        Other increase (decrease) (attach explanation) $                                                     21                  More than one activity for at-risk purposes*
        Withdrawals & distributions    ......              $   (                                    )        22                  More than one activity for passive activity purposes*
        Ending capital account        .......              $              (2,611,042)                        *See attached statement for additional information.
                                                                                                        For IRS Use Only




  M     Did the partner contribute property with a built-in gain or loss?
            Yes        No      If "Yes," attach statement. See instructions.
  N         Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)
       Beginning     .............                         $
       Ending       ..............                         $
For Paperwork Reduction Act Notice, see Instructions for Form 1065.                              www.irs.gov/Form1065                                                      Schedule K-1 (Form 1065) 2019
EEA
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                                         STATEMENT A - QBI Pass-through
                                                             Pg 165 of 189 Entity Reporting
                                                         Information Reported in Accordance with Section 199A-6
                                                                    Schedule K-1, Line 20, Code Z
                                                                                                                                                 2019
Name(s) as shown on return                                                                                                                     Tax ID Number
  THE WILLIAMSBURG HOTEL BK LLC                                                                                                                XX-XXXXXXX
Name(s) as shown on K1                                                                                                                         Tax ID Number
  MICHAEL LICHTENSTEIN                                                                                                                         XXX-XX-XXXX
                                                                                                                    Taxpayer Identification
   Line No.    Description of Trade or Business                                                                            Number                 PTP          Aggregated   SSTB
     1         THE WILLIAMSBURG HOTEL BK LLC                                                                       XX-XXXXXXX                                               No




  LINE NUMBER                   NO. 1              NO.                           NO.                         NO.                         NO.                         NO.

 Ordinary Business
 Income (Loss)
                                47,349

 Rental Income (Loss)


 Royalty Income (Loss)


 Section 1231 Gain (Loss)


 Other Income (Loss)


 Section 179


 Charitable Contributions


 Other Deductions


 W-2 Wages
 Unadjusted Basis
 Immediately After
 Acquisition

 Section 199A Dividends




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                                                                                  Execution Copy


                 ASSIGNMENT OF HOTEL MANAGEMENT AGREEMENT AND
                     SUBORDINATION OF HOTEL MANAGEMENT FEES

         THIS ASSIGNMENT OF HOTEL MANAGEMENT AGREEMENT AND
SUBORDINATION OF HOTEL MANAGEMENT FEES (as amended, restated, replaced,
supplemented or otherwise modified from time to time, this “Assignment”) is made as of the
13th day of December, 2017, by 96 WYTHE ACQUISITION LLC, a New York limited
liability company, having an address at 1274 49th Street, Suite 184, Brooklyn, New York 11219
(together with its successors and permitted assigns, “Borrower”), to BENEFIT STREET
PARTNERS REALTY OPERATING PARTNERSHIP, L.P., a Delaware limited partnership,
having an address at 142 West 57th Street, Suite 1201, New York, New York 10019 (together
with its successors and assigns, “Lender”), and is consented and agreed to by
WILLIAMSBURG HOTEL BK LLC, a New York limited liability company, having its
principal place of business at 1274 49th Street, Suite 184, Brooklyn, New York 11219 (together
with its successors and permitted assigns, “Manager”).

                                          RECITALS:

        A.     Borrower, by its Consolidation, Extension and Restatement of Notes Agreement
of even date herewith given to Lender (together with all extensions, renewals, modifications,
substitutions and amendments thereof, the “Note”), is indebted to Lender in the principal sum of
up to $68,000,000.00 advanced pursuant to that certain Loan Agreement, dated as of the date
hereof, between Borrower and Lender (as the same may be amended, restated, replaced,
supplemented or otherwise modified from time to time, the “Loan Agreement”), in lawful
money of the United States of America, with interest from the date thereof at the rates set forth in
the Loan Agreement and the Note (the indebtedness evidenced by the Loan Agreement and the
Note, together with such interest accrued thereon, shall collectively be referred to as the
“Loan”), principal and interest to be payable in accordance with the terms and conditions
provided in the Loan Agreement and the Note. Initially capitalized terms used but not defined
herein shall have the meanings set forth in the Loan Agreement.

        B.     The Loan is secured by, among other things, the Security Instrument, which
grants Lender a first lien on the Property.

       C.     Borrower and Manager have agreed that Manager will manage the Property on
terms set forth on Exhibit A attached hereto (the “Hotel Management Agreement”) and
Manager is entitled to certain hotel management fees (the “Hotel Management Fees”)
thereunder.

       D.   Lender requires as a condition to the making of the Loan that Borrower assign the
Hotel Management Agreement to Lender and that Manager subordinate its interest in the Hotel
Management Fees in lien and payment to the Security Instrument as set forth below.

                                         AGREEMENT

      For good and valuable consideration, the receipt and sufficiency of which are hereby
acknowledged, the parties hereto hereby agree as follows:



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        1.     Assignment of Hotel Management Agreement. As additional collateral security
for the Loan, Borrower hereby conditionally transfers, sets over and assigns to Lender all of
Borrower’s right, title and interest in and to the Hotel Management Agreement, said transfer and
assignment to automatically become a present, unconditional assignment, at Lender’s option, in
the event of a default under the Loan Agreement or any of the other Loan Documents and the
failure of Borrower to cure such default within any applicable grace period.

         2.     Subordination of Hotel Management Agreement. Manager hereby agrees that the
Hotel Management Agreement, the Hotel Management Fees and any and all liens, rights,
privileges and interests (whether choate or inchoate and including, without limitation, all
mechanic’s and materialmen’s liens under applicable law) owed, claimed or held by Manager in
and to the Property pursuant to the Hotel Management Agreement or otherwise, are and shall be
in all respects subordinate and inferior in lien, payment and terms to the lien, payment and terms
of the Security Instrument, the Note, the Loan Agreement and the other Loan Documents, and to
any renewals, extensions, modifications, assignments, replacements or consolidations thereof,
and to the rights, privileges and powers of Lender thereunder.

       3.      Estoppel. Each of Borrower and Manager represents and warrants that (a) the
Hotel Management Agreement is in full force and effect and has not been modified, amended or
assigned other than pursuant to this Assignment and constitutes the entire agreement between
Manager and Borrower with respect to management of the Property, (b) neither Manager nor
Borrower is in default under any of the terms, covenants or provisions of the Hotel Management
Agreement and neither Borrower or Manager knows of any event which, but for the passage of
time or the giving of notice or both, would constitute an event of default by either Borrower or
Manager under the Hotel Management Agreement, (c) neither Manager nor Borrower has
commenced any action or given or received any notice for the purpose of terminating the Hotel
Management Agreement, (d) the Hotel Management Fees and all other sums due and payable to
Manager under the Hotel Management Agreement have been paid in full, as of the date hereof,
and (e) Manager is aware that the Leases and the Rents relating to the Property have been
assigned to Lender pursuant to the Loan Documents.

        4.      Agreement by Borrower and Manager. Borrower and Manager hereby agree
(a) not to materially amend, modify, replace, substitute, cancel or terminate the Hotel
Management Agreement without Lender’s prior written consent which will not be unreasonably
withheld, delayed or conditioned and (b) that in the event of a default (continuing beyond any
applicable grace or cure period) under the Note, the Security Instrument, the Loan Agreement or
any of the other Loan Documents (each, an “Event of Default”) during the term of this
Assignment or upon the occurrence of any event which would entitle Lender to terminate, or
cause the termination of, the Hotel Management Agreement in accordance with the Loan
Agreement, Lender may require Borrower to terminate the Hotel Management Agreement and
require Manager to transfer its responsibility for the management of the Property to a Qualified
Manager in accordance with the terms of the Loan Agreement, effective as of the date set forth in
Lender’s notice to Manager. In such event, Manager shall apply all rents, security deposits,
issues, proceeds and profits of the Property in accordance with Lender’s written directions to
Manager. Notwithstanding anything to the contrary contained herein or in any other Loan
Document, so long as Manager is the initial Manager named herein, Lender shall not exercise its
rights under this Section 4 or Section 5 hereinbelow unless either (i) a monetary Event of Default

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(including failure to repay the Debt on the Maturity Date) has occurred and is continuing or (ii) a
Default or an Event of Default attributable or relating to, or arising from, any acts, omissions,
circumstances, conditions or events giving rise to liability under Article 12 of the Loan
Agreement has occurred.

        5.     Lender’s Right to Replace Manager. In addition to the foregoing, in the event that
Lender, in Lender’s reasonable discretion, at any time during the term of this Assignment,
determines that the Property is not being managed in accordance with generally accepted
management practices for properties similar in location, size, class, use, operation and value as
the Property, Lender may deliver written notice thereof to Borrower and Manager, which notice
shall specify with particularity the grounds for Lender’s determination. If Lender reasonably
determines that the conditions specified in Lender’s notice are not remedied to Lender’s
reasonable satisfaction by Borrower or Manager within thirty (30) days from receipt of such
notice or that Borrower or Manager have failed to diligently undertake correcting such
conditions within such thirty (30) day period, Lender may direct Borrower to terminate Manager
as manager of the Property and terminate the Hotel Management Agreement and to replace
Manager with a Qualified Manager in accordance with the terms of the Loan Agreement, in
which event Manager shall apply all rents, security deposits, issues, proceeds and profits of the
Property in accordance with Lender’s written directions to Manager.

        6.       Hotel Management Fees.

                (a)    Borrower and Manager hereby agree that Manager shall not be entitled to
        receive any Hotel Management Fees or other fee, commission or other amount payable to
        Manager under the Hotel Management Agreement from and after the occurrence of an
        Event of Default; provided, however, that notwithstanding anything to the contrary
        contained herein, Manager shall not be obligated to return or refund to Lender any Hotel
        Management Fees or other fee, commission or other amount received by Manager prior
        to the occurrence of the Event of Default, and to which Manager was entitled under the
        Hotel Management Agreement and this Assignment.

                (b)     Neither Manager nor any other Person shall be entitled to a termination
        fee, liquidated damages or any other fees or payments as a result of the replacement of
        Manager pursuant to the terms of this Assignment or the Loan Agreement.

                (c)    Manager agrees that, notwithstanding anything to the contrary contained
        in the Hotel Management Agreement, Manager shall not be entitled to receive
        compensation for its services conducted in connection with the Property in excess of
        three percent (3.0%) of gross rent collected from the Property.

        7.     Consent and Agreement by Manager. Manager hereby acknowledges and
consents to the terms and provisions of this Assignment and Article 8 and Section 4.20 of the
Loan Agreement. Manager agrees that it will act in conformity with the provisions of this
Assignment, such provisions of the Loan Agreement and Lender’s rights hereunder or otherwise
related to the Hotel Management Agreement. In the event that the responsibility for the
management of the Property is transferred from Manager in accordance with the provisions
hereof or otherwise, Manager shall fully cooperate in transferring its responsibility to a new


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management company and effectuate such transfer no later than thirty (30) days from the date
the Hotel Management Agreement is terminated. Further, Manager shall (a) not contest or
impede the exercise by Lender of any right it has under or in connection with this Assignment
and (b) give at least thirty (30) days prior written notice to Lender of its intention to terminate the
Hotel Management Agreement or otherwise discontinue its management of the Property. After
exercise of Lender’s rights under Section 1 of this Assignment, (i) Manager shall, subject to the
terms and conditions contained herein, continue to provide management services in accordance
with, and to the extent provided for in, the Hotel Management Agreement (and, if applicable,
shall continue to maintain the liquor licenses at the Property for and on behalf of Lender and
shall cooperate with Lender in any application by Lender to obtain new liquor licenses) and shall
take no further instruction from Borrower or any Person (other than Lender) in connection
therewith and (ii) neither Lender nor any successor owner of the Property shall be responsible or
liable for any representation or warranty made by Borrower under the Hotel Management
Agreement or for any act, omission or default by Borrower under the Hotel Management
Agreement which occurred prior to exercise of Lender’s rights under Section 1.

        8.     Termination. At such time as the Loan is paid in full and the Security Instrument
is released or assigned of record, this Assignment and all of Lender’s right, title and interest
hereunder with respect to the Hotel Management Agreement shall terminate.

        9.     Notices. All notices or other communications hereunder shall be in writing and
shall be given in accordance with Section 15.5 of the Loan Agreement. Any notice or other
communication to Manager shall be addressed as follows (or at such other address and Person as
shall be designated by Manager from time to time):

If to Manager:          Williamsburg Hotel BK, LLC
                        1274 49th Street, Suite 184,
                        Brooklyn, New York 11219

        10.     No Verbal Change. This Assignment, and any provisions hereof, may not be
modified, amended, waived, extended, changed, discharged or terminated verbally or by any act
or failure to act on the part of Borrower, Lender or Manager, but only by an agreement in writing
signed by the party against whom enforcement of any modification, amendment, waiver,
extension, change, discharge or termination is sought.

        11.     Liability. This Assignment shall be binding upon and inure to the benefit of
Borrower and Lender and their respective successors and permitted assigns forever. Lender shall
have the right to assign or transfer its rights under this Assignment in connection with any
assignment of the Loan and the Loan Documents. Any assignee or transferee of Lender shall be
entitled to all the benefits afforded to Lender under this Assignment. Neither Borrower nor
Manager shall have the right to assign or transfer its rights or obligations under this Assignment
without the prior written consent of Lender, as provided in the Loan Agreement, and any
attempted assignment without such consent shall be null and void.

       12.    Inapplicable Provisions. If any provision of this Assignment is held to be illegal,
invalid or unenforceable under present or future laws effective during the term of this
Assignment, such provision shall be fully severable and this Assignment shall be construed and

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enforced as if such illegal, invalid or unenforceable provision had never comprised a part of this
Assignment, and the remaining provisions of this Assignment shall remain in full force and
effect and shall not be affected by the illegal, invalid or unenforceable provision or by its
severance from this Assignment, unless such continued effectiveness of this Assignment, as
modified, would be contrary to the basic understandings and intentions of the parties as
expressed herein.

         13.     Governing Law; Submission to Jurisdiction. The governing law and related
provisions set forth in Section 15.4 of the Loan Agreement are hereby incorporated by reference
as if fully set forth herein (with Borrower and Manager substituted in all places where Borrower
appears thereunder) and shall be deemed fully applicable to Borrower and Manager hereunder.
Borrower and Manager hereby certify that they have received and reviewed the Loan Agreement
(including, without limitation, Section 15.4 thereof). In the event of any conflict or
inconsistency between any of the other terms and conditions of this Agreement and this
Section 13, this Section 13 shall control.

        14.     Headings, etc. The headings and captions of the various paragraphs of this
Assignment are for convenience of reference only and are not to be construed as defining or
limiting, in any way, the scope or intent of the provisions hereof.

     15.  Waiver Of Trial By Jury. BORROWER, MANAGER AND LENDER
EACH HEREBY AGREES NOT TO ELECT A TRIAL BY JURY OF ANY ISSUE
TRIABLE OF RIGHT BY JURY, AND WAIVES ANY RIGHT TO TRIAL BY JURY
FULLY TO THE EXTENT THAT ANY SUCH RIGHT SHALL NOW OR HEREAFTER
EXIST WITH REGARD TO THIS ASSIGNMENT OR ANY OTHER LOAN
DOCUMENT, OR ANY CLAIM, COUNTERCLAIM OR OTHER ACTION ARISING IN
CONNECTION THEREWITH. THIS WAIVER OF RIGHT TO TRIAL BY JURY IS
GIVEN KNOWINGLY AND VOLUNTARILY BY BORROWER, MANAGER AND
LENDER, AND IS INTENDED TO ENCOMPASS INDIVIDUALLY EACH INSTANCE
AND EACH ISSUE AS TO WHICH THE RIGHT TO A TRIAL BY JURY WOULD
OTHERWISE ACCRUE. EACH PARTY IS HEREBY AUTHORIZED TO FILE A
COPY OF THIS PARAGRAPH IN ANY PROCEEDING AS CONCLUSIVE EVIDENCE
OF THIS WAIVER.

        16.     Duplicate Originals, Counterparts. This Assignment may be executed in any
number of duplicate originals and each duplicate original shall be deemed to be an original. This
Assignment may be executed in several counterparts, each of which counterparts shall be
deemed an original instrument and all of which together shall constitute a single Assignment.
The failure of any party hereto to execute this Assignment, or any counterpart hereof, shall not
relieve the other signatories from their obligations hereunder.

       17.     Number and Gender. Whenever the context may require, any pronouns used
herein shall include the corresponding masculine, feminine or neuter forms, and the singular
form of nouns and pronouns shall include the plural and vice versa.

       18.     Secondary Market. Lender may sell, transfer and deliver the Note and assign the
Security Instrument, this Assignment and the other Loan Documents to one or more investors in


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the secondary mortgage market and, in connection with such sale, Lender may retain or assign
responsibility for servicing the Loan, including the Note, the Security Instrument, this
Assignment and the other Loan Documents, or may delegate some or all of such responsibility
and/or obligations to a servicer including, but not limited to, any subservicer or master servicer.
All references to Lender herein shall refer to and include any such servicer to the extent
applicable.

        19.    Lender’s Reliance on Representations. Manager has executed this Agreement in
order to induce Lender to accept the Security Instrument and the Loan Documents and with full
knowledge that Lender shall rely upon the representations, warranties and agreements herein
contained, and that but for this Assignment and the representations, warranties and agreements
herein contained, Lender would not take such actions.

      20.    Management. Borrower and Manager hereby agree that Manager will perform the
management services for the Property set forth in the Hotel Management Agreement.

         21.     Manager Not Entitled to Gross Revenues. At all times during the term of the
Loan, all portions of the Rents, security deposits, issues, proceeds, profits and other revenues of
the Property collected by Manager, if any, shall be handled and applied in accordance with
Article 8 of the Loan Agreement. Manager acknowledges and agrees that all portions of the
Rents, security deposits, issues, proceeds, profits and other revenues of the Property collected by
it shall be solely in it is capacity as the agent for the Borrower, such monies are the sole property
of the Borrower, encumbered by the lien of the Security Instrument and other Loan Documents
in favor of Lender and Manager has no right to, or title in, such monies except as provided in the
Management Agreement, or at law or equity. In any bankruptcy, insolvency or similar
proceeding the Manager, or any trustee acting on behalf of the Manager, waives any claim to
such monies other than pursuant to the terms and conditions of the Management Agreement or at
law or equity.

        22.      Miscellaneous.

                (a)     Wherever pursuant to this Assignment (i) Lender exercises any right given
        to it to approve or disapprove any matter, (ii) any arrangement or term is to be
        satisfactory to Lender, or (iii) any other decision or determination is to be made by
        Lender, the decision of Lender to approve or disapprove such matter, all decisions that
        arrangements or terms are satisfactory or not satisfactory to Lender and all other
        decisions and determinations made by Lender, shall be in the sole and absolute discretion
        of Lender and shall be final and conclusive, except as may be otherwise expressly and
        specifically provided herein.

               (b)     Wherever pursuant to this Assignment it is provided that Borrower shall
        pay any costs and expenses, such costs and expenses shall include, but not be limited to,
        reasonable legal fees and disbursements of Lender.

              (c)     If more than one Person has executed this Assignment as “Borrower” or as
        “Manager,” the obligations of all such Persons hereunder shall be joint and several.



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       23.    Inconsistencies. In the event of any inconsistency between the terms and
conditions of this Assignment and the terms and conditions of the Hotel Management
Agreement, the terms and conditions set forth in this Assignment shall govern.

                       [NO FURTHER TEXT ON THIS PAGE]




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                                          EXHIBIT A

                           HOTEL MANAGEMENT AGREEMENT

          Manager a real estate development and management firm, shall perform all work in
connection with the on-site management of Property, including F&B operations. Manager will
employ at its expense all personnel and facilities necessary and appropriate to enable it to
perform the services required of it hereunder.


         All accounting duties, including the keeping of proper and complete books of account for
the Borrower shall be kept by or under the supervision of the Borrower. The Manager shall
assist in providing any information in its possession necessary or helpful for the accounting
function.


         Manager shall receive a management fee in the amount of 3.0% of the gross rents as of
January 1 of each year, payable on the first day of each month throughout the calendar year.


         The term of the management services required hereunder shall be for one year, and shall
automatically renew for an additional one-year term unless notice of termination is given by
Borrower or Manager at least thirty (30) days prior to the expiration of the then current term.
Thereafter, for successive one-year terms unless such notice of termination is given as provided
above.




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